Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 1 of 201 Page ID #:1



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 2   RICHARD F. WOLFE
     Supervising Deputy Attorney General
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 7    Fax:         (619) 645-2581
      E-mail: Douglas.Baxter@doj.ca.gov
 8   Attorneys for Defendants Dane Norem,
     Jeffrey McKee, and State of California
 9   (by and through the California Highway Patrol)
10                     IN THE UNITED STATES DISTRICT COURT
11                FOR THE CENTRAL DISTRICT OF CALIFORNIA
12
13
     DEVONTE STEPHENSON,                             Case No.:
14   individually and as successor in interest
     to Decedent LEROY STEPHENSON;                   NOTICE OF REMOVAL BY
15   LINDEN STEPHENSON, individually                 DEFENDANTS DANE NOREM
     and as successor in interest to Decedent        AND JEFFREY MCKEE
16   LEROY STEPHENSON; KEANDRE                       PURSUANT TO 28 U.S.C. § 1441(a)
     STEPHENSON, individually and as                 (FEDERAL QUESTION)
17   successor in interest to Decedent
     LEROY STEPHENSON,                               AND
18
                                    Plaintiffs, DEMAND FOR JURY TRIAL
19
                  v.
20
21   STATE OF CALIFORNIA; COUNTY
     OF RIVERSIDE; DANE NOREM;
22   JEFFREY MCKEE; MATT BORDEN;
     and DOES 1 through 100, inclusive,
23
                                  Defendants.
24
25
26   ///
27   ///
28   ///

                                                 1
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 2 of 201 Page ID #:2



 1         To the Clerk and Honorable Judges of the United States District Court
 2   for the Central District of California:
 3         PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. section 1441(a),
 4   Defendants Dane Norem and Jeffrey McKee (with the consent of Defendant State
 5   of California [by and through the California Highway Patrol]) remove to this Court
 6   the state court action described below:
 7                                STATE COURT ACTION
 8         1. On December 18, 2019, an action was commenced in the Superior Court of
 9   the State of California, County of Riverside, entitled Devonte Stephenson, et al. v.
10   State of California, state case number RIC1906137. This initial Complaint named
11   only the State of California as a defendant and did not contain any federal law
12   claims.
13         2. On February 2, 2021, the Riverside County Superior Court entered an order
14   permitting Plaintiffs to file a First Amended Complaint.
15         3. The First Amended Complaint was filed on February 8, 2021. The First
16   Amended Complaint newly named Dane Norem and Jeffrey McKee as Defendants
17   and added federal civil rights claims under 42 U.S.C. § 1983 that were not present
18   in the original Complaint. The First Amended Complaint also newly added the
19   County of Riverside and its employee Matt Borden as Defendants.
20                            RECORD FROM STATE COURT
21         4. A true and correct copy of the conformed First Amended Complaint that
22   was served on Defendants Dane Norem and Jeffrey McKee on March 17, 2021 for
23   this state court action is attached herewith as Exhibit 1.
24         5. A true and correct copy of the conformed Summons that was served on
25   Defendant Jeffrey McKee on March 17, 2021 for this state court action is attached
26   herewith as Exhibit 2.
27   ///
28   ///
                                               2
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 3 of 201 Page ID #:3



 1        6. A true and correct copy of the conformed Summons that was served on
 2   Defendant Dane Norem on March 17, 2021 for this state court action is attached
 3   herewith as Exhibit 3.
 4        7. Defendants Dane Norem and Jeffrey McKee have not been served with any
 5   other documents from the state court action.
 6        8. A true and correct copy of the conformed original Complaint for Damages
 7   for this state court action is attached herewith as Exhibit 4.
 8        9. A true and correct copy of the conformed Civil Case Cover Sheet for this
 9   state court action is attached herewith as Exhibit 5.
10        10. A true and correct copy of the conformed Certificate of Counsel for this
11   state court action is attached herewith as Exhibit 6.
12        11. A true and correct copy of the conformed Notice of Department
13   Assignment/Notice of Case Management Conference for this state court action is
14   attached herewith as Exhibit 7.
15        12. A true and correct copy of the conformed Declaration of Devonte
16   Stephenson Regarding Standing as Successor in Interest to Claims of Plaintiff’s
17   Decedent Leroy Stephenson for this state court action is attached herewith as
18   Exhibit 8. Redactions have been made in accordance with Central District Local
19   Rule 5.2-1 and Rule 5.2 of the Federal Rules of Civil Procedure.
20        13. A true and correct copy of the conformed Declaration of Linden
21   Stephenson Regarding Standing as Successor in Interest to Claims of Plaintiff’s
22   Decedent Leroy Stephenson for this state court action is attached herewith as
23   Exhibit 9. Redactions have been made in accordance with Central District Local
24   Rule 5.2-1 and Rule 5.2 of the Federal Rules of Civil Procedure.
25        14. A true and correct copy of the conformed Declaration of Keandre
26   Stephenson Regarding Standing as Successor in Interest to Claims of Plaintiff’s
27   Decedent Leroy Stephenson for this state court action is attached herewith as
28
                                                3
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 4 of 201 Page ID #:4



 1   Exhibit 10. Redactions have been made in accordance with Central District Local
 2   Rule 5.2-1 and Rule 5.2 of the Federal Rules of Civil Procedure.
 3         15. True and correct copies of the conformed papers filed by Defendant State
 4   of California (by and through the California Highway Patrol) for its Demurrer to the
 5   Complaint for this state court action are collectively attached herewith as Exhibit
 6   11. Redactions have been made in accordance with Central District Local Rule 5.2-
 7   1 and Rule 5.2 of the Federal Rules of Civil Procedure.
 8         16. True and correct copies of the conformed papers filed by Defendant State
 9   of California (by and through the California Highway Patrol) for its Motion to
10   Strike Portions of the Complaint for this state court action are collectively attached
11   herewith as Exhibit 12. Redactions have been made in accordance with Central
12   District Local Rule 5.2-1 and Rule 5.2 of the Federal Rules of Civil Procedure.
13         17. A true and correct copy of the conformed Plaintiffs’ Opposition to
14   Defendants’ Demurrer and Motion to Strike Portions of Plaintiffs’ Complaint for
15   this state court action is attached herewith as Exhibit 13.
16         18. A true and correct copy of the conformed Defendant’s Reply to Plaintiffs’
17   Opposition to Defendant’s Demurrer and Motion to Strike is attached herewith as
18   Exhibit 14.
19         19. A true and correct copy of the Superior Court’s conformed Order of
20   Dismissal of particular claims for this state court action is attached herewith as
21   Exhibit 15.
22         20. A true and correct copy of the conformed Defendant State of California by
23   and through the California Highway Patrol’s Answer to Plaintiffs’ Complaint for
24   this state court action is attached herewith as Exhibit 16.
25         21. A true and correct copy of the conformed Stipulation and Order for Leave
26   to File First Amended Complaint for this state court action is attached herewith as
27   Exhibit 17.
28   ///
                                               4
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 5 of 201 Page ID #:5



 1                      TIMELINESS OF NOTICE OF REMOVAL
 2         22. Defendants Dane Norem and Jeffrey McKee were served with the
 3   Summons and First Amended Complaint on March 17, 2021. These defendants
 4   were not parties to the action prior to the filing and service of the First Amended
 5   Complaint. Also, the First Amended Complaint was the first document that added
 6   federal law claims. The 30-day removal period under 28 U.S.C. section 1446(b)(1)
 7   runs from the date of service of the Summons and First Amended Complaint on
 8   Defendants Dane Norem and Jeffrey McKee. Since the service date was March 17,
 9   2021, the 30-day removal period ends on April 16, 2021. Therefore, this removal
10   notice is timely, as it is being filed on or before April 16, 2021.
11                              REMOVAL JURISDICTION
12         23. Plaintiffs’ First Amended Complaint added federal law claims under 42
13   U.S.C. § 1983 against Defendants Dane Norem and Jeffrey McKee. These federal
14   claims appear in counts 3 through 5 of the First Amended Complaint. (Ex. 1, ¶¶
15   43-59.) Specifically, count 3 invokes 42 U.S.C. § 1983 and alleges that Defendants
16   Norem and McKee acted under the color of state law and used excessive force
17   against Plaintiffs’ decedent Leroy Stephenson in violation of the Fourth
18   Amendment to the United States Constitution. (Ex. 1, ¶¶ 43-17.) In count 4,
19   Plaintiffs’ allege due process claims under the Fourteenth Amendment to the United
20   States Constitution and pursuant to 42 U.S.C. § 1983. They contend that
21   Defendants Norem and McKee unlawfully killed their father, Leroy Stephenson,
22   and thereby deprived them of their substantive right to a parent-child relationship.
23   (Ex. 1, ¶¶ 48-52.) Count 5 is a survivor claim under 42 U.S.C. § 1983 for alleged
24   deprivation of Leroy Stephenson’s life in violation of his substantive due process
25   rights under the Fourteenth Amendment to the United States Constitution. (Ex. 1,
26   ¶¶ 53-59.)
27   ///
28   ///
                                                5
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 6 of 201 Page ID #:6



 1          24. These federal claims are causes of action over which this Court has
 2   original jurisdiction under 28 U.S.C. §§ 1331 and 1343(a)(3). The action is
 3   therefore subject to removal to this Court pursuant to 28 U.S.C. § 1441(a).
 4          25. This Court has supplemental jurisdiction over Plaintiffs’ state law claims
 5   pursuant to 28 U.S.C. § 1367(a). The state law claims are based on the same
 6   alleged events and transactions that are raised by Plaintiffs in support of their
 7   claims that arise under the federal constitution and federal statute. (Ex. 1, ¶¶ 15-
 8   41.)
 9                                          VENUE
10          26. The state action was filed in the Riverside County Superior Court. The
11   primary events giving rise to the action are alleged to have occurred on and near the
12   Adams Street off-ramp on the westbound State Route 91 Freeway in the City and
13   County of Riverside, California. Therefore, venue in the Eastern Division of this
14   Court is proper pursuant to 28 U.S.C. §§ 84(c)(1) and 1391(a) and (b).
15                                    RELATED CASES
16          27. To the best of Defendants’ knowledge, there are no related cases pending
17   in this Court.
18          JOINDER/CONSENT BY OTHER DEFENDANTS IN REMOVAL
19          28. The only other named Defendants in this action that has been served with
20   the summons and the first amended complaint is Defendant State of California (by
21   and through the California Highway Patrol). Defendants have confirmed with
22   Plaintiffs’ counsel that, as of the time of filing this Notice of Removal, Plaintiffs
23   have not yet served the other named Defendants in this action – i.e., County of
24   Riverside and Matt Borden.
25                        NOTIFICATION TO ADVERSE PARTY
26          29. This Notice of Removal will be promptly served on Plaintiffs (through
27   their attorney of record), and a copy of the same will be filed with the Clerk of the
28   Superior Court of the State of California, County of Riverside.
                                                6
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 7 of 201 Page ID #:7



 1                                      CONCLUSION
 2        Accordingly, this action is subject to removal from state to federal court, and
 3   Defendants Dane Norem and Jeffrey McKee respectfully request that this civil
 4   action be removed from the Superior Court of the State of California, County of
 5   Riverside, to the Eastern Division of the United States District Court for the Central
 6   District of California.
 7                              DEMAND FOR JURY TRIAL
 8        Pursuant to Federal Rule of Civil Procedure 38(b), Defendants hereby make a
 9   demand for a jury trial on any issue triable of right by a jury.
10
11   Dated: March 24, 2021                          Respectfully submitted,
12                                                  MATTHEW RODRIQUEZ
                                                    Acting Attorney General of California
13                                                  RICHARD F. WOLFE
                                                    Supervising Deputy Attorney General
14
15
                                                    /s/ Douglas E. Baxter
16                                                  DOUGLAS E. BAXTER
                                                    Deputy Attorney General
17                                                  Attorneys for Defendants Dane
                                                    Norem, Jeffrey McKee, and State of
18                                                  California (by and through the
                                                    California Highway Patrol)
19
20
21
22
23
24
25
26
27
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28   82787517.docx

                                               7
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 8 of 201 Page ID #:8




                               EXHIBIT 1



                                    Ex. 1
                                    008
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 9 of 201 Page ID #:9




      STEVEN A. LERMAN & ASSOCIATES, INC,
                                                                                FILED
                                                                        Superior Court of California
  1   Steven A. Lennan (SBN 055839)                                        County of Riverside
      Nich~las Lerman, qq. (SBN 292656)            .. .                  .       2/8/2021
  2   Emmi: slermanlaw(~)'ahoo.C;!l.m; nlennanesc)ig]mrnrylawadvocates.com    M p      . d
      6033 West Century oulevard, Suite 740                                      · rec1a o
  3
      Los Angeles, California 90045                                        Electronically Filed
  4
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  5
      Gregory Peacock, Esq. (SBN 277669)
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  7
      Newport Beach, CA 92660
  a   Telephone: (949) 292-7478
      Email: gregorypeacock.esg@gmail.com
  9
 LO   Attorneys for Plaintiffii DEVONIB STEPHENSON, individually and as successor in interest to Decedent
      LEROY STEPHENSON; LINDEN STEPHENSON, individually and as successor in interest to Decedent
 t1   LEROY STEPHENSON; KEANDRE STEPHENSON, individually and as successor in interest to
      Decedent LEROY STEPHENSON.
 L2

 13
                           SUPERIOR COURT FOR THE STATE OF CALIFORNIA
 L4                                        COUNTY OF RIVERSIDE
 Ls   DEVONTE STEPHENSON, individually and as        ) Case No. RICI906137
 LG   successor in interest to Decedent LEROY        ) FIRST AMENDED COMPLAINT FOR
      STEPHENSON; LINDEN STEPHENSON,                 )
 17   individually and as successor in interest to   ) DAMAGES FOR:
      Decedent LEROY STEPHENSON; KEANDRE             )    1. Wrongful Death (Cal. Civil Proc. Code §
 LB   STEPHENSON, individually and as successor in   )       377.60)
 19
      intereBt to Decedent LEROY STEPHENSON.         )    2. Negligence (wrongful death);
                                                     )    3. Unreasonable Search and Seizure-
 20         Plaintiffs,                              )       Excessive Force (42 U.S.C. 42 § 1983);
                                                     )
 21                                                  )    4. Due Process - Interference with Familial
            vs.                                              Relationship (42 U.S.C. 42 § 1983);
                                                     )
 22
      STATE OF CALIFORNIA; COUNTY OF                 )    5. Due Process - Deprivation of Life Without
                                                             Due Process (42 U.S.C. 42 § 1983);
 23   RNERSJDE; DANE NOREM; JEFFREY                  )       Municipal Liability- Inadequate Training
                                                     )     6.
      MCKEE; MATT BORDEN; and DOES 1                            (42 u.s.c. 42 § 1983)
 24                                                  )
      through 100, inclusive,
 25
                                                     )
           Defendants.                                   JURY TRIAL DEMANDED
 26

 27

 28


                                      COMPLAJNT FOR DAMAGES
                                                 1




                                                     Ex. 1
                                                     009
     Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 10 of 201 Page ID #:10


·,



                       COMES NOW Plaintiffs Devonte Stephenson, Linden Stephenson and Keandre Stephenson, to
           1

        2      hereby allege and complain as follows:

        3                                                   PLAINTIFFS
           4
                       1. Plaintiff, DEVONTE STEPHENSON, is a surviving son of Decedent Leroy Stephenson, and
        5
               at all times mentioned herein was an individual residing in Los Angeles County, State of California.
           6

        7
               DEVONTE STEPHENSON, individually, is an "heir at law'' of Decedent Leroy Stephenson, as that

        8      term is defmed by the California Code of Civil Procedure Section 377.60(a) and elsewhere and has legal
        9      standing to maintain an action for wrongful death based upon the death of his father, Leroy Stephenson,
       LO
               under California Code of Civil Procedure Section 377.60. PlaintiffDEVONTE STEPHENSON may
       ll
               maintain causes of action under California's Wrongful Death Statutes and pursuant to California Civil
       l2

       l3      Code section 52.1.

       l4             2. Plaintiff, KEANDRE STEPHENSON, is a surviving son of Decedent Leroy Stephenson, and
       l5
               at all times mentioned herein was an individual residing in San Bernardino County, State of California.
       l6
               KEANDRE S1EPHENSON, individually, is an "heir at law'' of Decedent Leroy Stephenson, as that
       l7
               term is defined by the California Code of Civil Procedure Section 377.60(a) and elsewhere and has legal
       l8

       19      standing to maintain an action for wrongful death based upon the death of his father, Leroy Stephenson,

      20       under California Code of Civil Procedure Section 377.60. PlaintiffKEANDRE STEPHENSON may
       21
               maintain causes of action under California's Wrongful Death Statutes and pursuant to California Civil
      22
               Code section 52.1.
      23
                      3. Plaintiff, LINDEN STEPHENSON, is a surviving son of Decedent Leroy Stephenson, and at
      24

      25       all times mentioned herein was an individual residing in Los Angeles County, State of California.
      26       LINDEN STEPHENSON, individually, is an "heir at law" of Decedent Leroy Stephenson, as that term
      27
               is defined by the California Code of Civil Procedure Section 377.60(a) and elsewhere and has legal
      28


                                               COMPLAINT FOR DAMAGES
                                                          2



                                                             Ex. 1
                                                             010
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 11 of 201 Page ID #:11




           standing to maintain an action for wrongful death based upon the death of his father, Leroy Stephenson,
      1

      2    under California Code of Civil Procedure Section 377.60. Plaintiff LINDEN S1EPHENSON may

      3    maintain causes of action under California's Wrongful Death Statutes and pursuant to California Civil
      4
           Code section 52.1.
     5
                                                          DEFENDANTS
     6

     7
                   4. Defendant State of California is a municipal entity located in the State of California; within

     8     the territorial jurisdiction of this court.
     9             5. Defendant County of Riverside, hereinafter also referred to as "COUNTY", is a municipal
 LO
          entity located in the State of California; within the territorial jurisdiction of this court.
 ll
                   6. Defendant Dane Norem, hereinafter also referred to as ''NOREM", is, and at all times
 L2

 l3       complained of herein, was, a peace officer employed by the California Highway Patrol, acting as an

 l4       individual person under the color of state law, in his individual capacity and was acting in the course of
 LS
          and within the scope of his employment with the California Highway Patrol.
 l6
                  7. Defendant Jeffrey McKee, hereinafter also referred to as "MCKEE", is, and at all times
 l7
          complained of herein, was, a peace officer employed by the California Highway Patrol, acting as an
 LB

19        individual person under the color of state law, in his individual capacity and was acting in the course of

20        and within the scope of his employment with the California Highway Patrol.
21
                  8. Defendant Matthew Borden, hereinafter also referred to as "BORDEN", is, and at all times
22
          complained of herein, was, a peace officer/ investigator employed by COUNTY (Riverside County
23

24
          District Attorney's Office), acting as an individual person under the color of state law, in his individual

25        capacity and was acting in the course of and within the scope of his employment with the Riverside
26        County District Attorney's Office.
27
                  9. At all times complained of herein, DOES 1 through 20, inclusive, were peace officers
28


                                              COMPLAINT FOR DAMAGES
                                                         3



                                                              Ex. 1
                                                              011
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 12 of 201 Page ID #:12




       employed by the California Highway Patrol / State of California or the Riverside County District
   1

   2   Attorney's Office/ COUNTY. At all times complained of here, DOES 1 through 20, inclusive were

   3   acting under the color of state law and were acting within the course and scope of their employment wit
   4
       the California Highway Patrol/ State of California or the Riverside County District Attorney's Office /
   5
       COUNTY.
   6
                 10. Plaintiffs are informed and believe that Defendant DOES 1-20 are peace officers,
   7

   8   supervisors, and/or staff of the California Highway Patrol and/or State of California or the Riverside
   9   County District Attorney's Office/ COUNTY and are fictitiously named individuals whose true names
  LO
       are unknown at this time to Plaintiffs. The true names and capacities of DOES 1-20 are unknown to
  ll
       Plaintiffs, who therefore sue said defendants by such fictitious names and will amend this complaint to
  l2

  13
       allege their true names ad capacities when ascertained. Plaintiffs are informed and believe and based

  14   thereon alleges that each of the fictitious named defendants are responsible for the acts complained of
  15
       herein.
  16
                 11. At all relevant times herein, each of the Defendants was an agent, servant, or employee of
  l7
       each of the remaining Defendants acting under color of state and/or federal law, and was at all times
  18

  19   acting within the time, purpose or scope of said agency or employment with the California Highway

  20   Patrol/ State of California, and was acting with the express or implied knowledge, permission or
  21
       consent of the remaining Defendants, and each of them. Each of the Defendants held out the other as its
  22
       authorized representative and each of the Defendants ratified the conduct of its agents. At all times
  23
       herein mentioned, DOES 1-20 were and are Defendants whose identity is unknown at this time to who
  24

  25   supervised, controlled, or were in some manner responsible for the activities alleged herein and
  26   proximately caused Plaintiffs' damages.
  27

  28


                                          COMPLAINT FOR DAMAGES
                                                             4




                                                        Ex. 1
                                                        012
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 13 of 201 Page ID #:13




                             PROCEDURAL PRE-REQUISITES TO SUIT WERE SATISFIED
      1

     2             12. Plaintiffs filed government tort claims to the State of California and this action was filed
     3     within six months of the denial of said claims.

                   13. Plaintiffs have submitted their application to file a late claim against COUNTY snd
     5
           BORDEN, as Plaintiffs have only recently learned that BORDEN was involved in the incident
     6

     7
           complained of, within the last six months.

     8             14. Plaintiffs have contemporaneously filed declarations as successors in interest, establishing
     9    their right to bring this action as heirs.
 lO
                                                  FACTUAL ALLEGATIONS
 ll
                   15. On or about January 25, 2019, while walking on the Adams Avenue on-ramp to the 91
 l2

 l3       Freeway in Riverside, California, Decedent Leroy Stephenson was stopped by Defendants NOREM and

 l 4'     DOES 1 through 20, inclusive.
 l5
                  16. NOREM and DOES 1 through 20, inclusive, ordered Leroy Stephenson to go to the shoulder
 l6
          of the offramp.
 l7
                  17. Leroy Stephenaon initially complied and walked towards the shoulder. Leroy Stephenson
l8

19        then began walking down the off-ramp again.

20                18. Notwithstanding the fact that Decedent Leroy Stephenson was merely walking away,
21
          Defendant NOREM deployed his taser at :Mr. Stephenson which struck Mr. Stephenson and caused him
22
          to fall to the ground.
23
                  19. Defendant NOREM then got on top of:Mr. Stephenson and tased :Mr. Stephenson an
24

25        additional three times while Mr. Stephenson was on the ground.
26               20. Defendant BORDEN then apparently drove by and saw NOREM tasering Mr. Stephenson.
27
          BORDEN got out of his car and began assisting NOREM.
28


                                             COMPLAINT FOR DAMAGES
                                                                5



                                                             Ex. 1
                                                             013
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 14 of 201 Page ID #:14




              21. NOREM then placed Mr. Stephenson in handcuffs.
   1

   2          22. While Mr. Stephenson was on his belly with his hands cuffed behind his back, Defendant

   3   NOREM continued to press all of his body weight on to Mr. Stephenson's back.
   4
              23. While Mr. Stephenson was on his belly with his hands cuffed behind his back, and while
   5
       Defendant NOREM was pressing all of his weight on to Mr. Stephenson's back, Defendant BORDEN
   6
       decided to press Mr. Stephenson's shoulders down on to the ground.
   7

   8          24. Defendants NOREM and BORDEN were compressing Mr. Stephenson onto the ground

   9   notwithstanding the fact that Mr. Stephenson was not resisting and was merely laying on his stomach
  LO
       with his hands cuffed behind his back.
  ll
              25. Defendant MCKEE then arrived on scene and observed NOREM and BORDEN pressing Mr.
  L2

  l3
       Stephenson onto the asphalt.

  l4          26. Mr. Stephenson was still merely laying on his belly with his hands cuffed behind his back.
  15   Mr. Stephenson was not resisting and was not trying to get up.
  L6
              27. Defendant MCKEE approached Mr. Stephenson, crossed Mr. Stephenson's legs and pressed
  l7
       them towards Mr. Stephenson's buttocks.
  18

  19          28. Defendants NOREM, BORDEN and MCKEE continued to press Mr. Stephenson on to the

  20   ground until Mr. Stephenson stopped breathing and lost his pulse.
  21
              29. Mr. Stephenson ultimately died from the positional asphyxiation that Defendants NOREM,
  22
       BORDEN, MCKEE and DOES 1 through 20, inclusive caused.
  23
              30.    At no point dUiing the incident complained ofin this action, did Decedent
  24

  25   Leroy Stephenson act violently towards the defendants or anyone else. At no point did Decedent Leroy
  26   Stephenson do anything to justify the use of force against him.
  27

  28


                                        COMPLAJNT FOR DAMAGES
                                                   6



                                                      Ex. 1
                                                      014
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 15 of 201 Page ID #:15




                                                FIRST CAUSE OF ACTION
      1
                                                        Wrongful Death
     2                                         (Cal. Civil Proc. Code§ 377.60)
                                                 Under California State Law
     3                       (By Plaintiffs, against all Norem, Mckee and DOES 1 through 30)
     4
                   31.    Plaintiffs hereby realleges and incorporates by reference the allegations set forth in
     5
           paragraphs 1 through 30, inclusive, above, as if set forth in full herein.
     6
                   32.    NOREM, MCKEE and DOES 1 through 30, inclusive, while working as peace officers
     7
           for STATE OF CALIFORNIA, and acting within the course and scope of their duties, intentionally
     8
           killed Decedent Leroy Stephenson, and used unreasonable and excessive force against him.
     9
                  33.     NOREM, MCKEE and DOES 1 through 20, inclusive, had no legal justification for the
 LO
          level of force against Decedent Leroy Stephenson, and their use of force was an unreasonable and
 Ll
          nonprivileged use of force, and, under the circumstances, was outrageous, and constituted a breach of
 12
          said defendants' duties to use due care toward members of the public similarly situated.
 L3
                  34. NOREM, MCKEE and DOES 1 through 20, inclusive, while working as a peace officer for
 l4
          STATE OF CALIFORNIA and acting within the course and scope of their duties, intentionally killed
 LS
          Decedent Leroy Stephenson and used unreasonable and excessive force against him.
 16
                  35.     NOREM, MCKEE, and DOES 1 through 20, inclusive, had no legal justification for
 l7
          using the level of force used against Decedent Leroy Stephenson, and their use of force while carrying
 18
          out their duties as peace officers was an unreasonable and nonprivileged use of force.
 19
                  36.    As a direct and proxinlate result of the conduct of NOREM, MCKEE, and DOES 1
20
          through 20, inclusive, as alleged above, Decedent Leroy Stephenson sustained severe injuries, and
21
          ultimately terminal physical injuries, and died from said injuries.
22
                  37.    STATE OF CALIFORNIA is vicariously liable for the wrongful acts of NOREM,
23
          MCKEE, and DOES 1 through 20, inclusive, pursuant to sections 815.2(a), 820, 820.2, 820.8 of the
24
          California Government Code, as well as pursuant to Cal. Civil Proc. Code § 377.60.
25
                 38.     The actions of said defendants in unlawfully killing Decedent Leroy Stephenson, caused
26
          plaintiffs to suffer the loss of the society, comfort, solace, society and love of Decedent Leroy
27

28


                                            COMPLAINT FOR DAMAGES
                                                                7



                                                            Ex. 1
                                                            015
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 16 of 201 Page ID #:16




   1    Stephenson, as well as special damages such as funeral / burial expenses and other associated special
   2   damages.
   3
                                             SECOND CAUSE OF ACTION
   4
                                                        Negligence
   5                                           Under California State Law
                                                 (Cal. Civil Code § 1714)
   6                       (By Plaintiffs, against all Norem, Mckee and DOES 1 through 30)
   7
               39.     Plaintiff hereby realleges and incorporate by reference the allegations set forth in
   8
       paragraphs 1 through 38, inclusive, above, as if set forth in full herein.
   9
               40.     Police officers, including Defendants, have a duty to use reasonable care to prevent harm
  LO
       or injury to others. This duty includes using appropriate tactics, giving appropriate commands, giving
  ll
       warnings, and not using any force unless necessary, using less than lethal options, and only using deadly
  l2
       force as a last resort.
  l3
               41.     Defendants breached this duty of care. Upon information and belief, the actions and
  l4
       inactions of defendants were negligent and reckless, including but not limited to:
  LS
               (a) the failure to properly and adequately assess the need to detain, arrest, and use force or dead!
  l6
               force against Decedent Leroy Stephenson;
  l7           (b) the negligent tactics and handling of the situation with Decedent Leroy Stephenson, includin ·
  l8           negligent use of force;
  19           (c) the negligent detention, arrest, and use of force, including deadly force, against Decedent
  20           Leroy Stephenson;

  21
                (e) the failure to properly train and supervise employees, both professional and non-
               professional, including NOREM, MCKEE, and DOE Officers;
  22
               (t) the failure to ensure that adequate numbers of employees with appropriate education and
  23
              training were available to meet the needs of and protect the rights of Decedent Leroy
  24
               Stephenson;
  25
               (g) the negligent handling of evidence and witnesses; and
  26
               (h) the negligent communication of information during the incident.
  27
              42.      The actions of said defendants in unlawfully killing Decedent Leroy Stephenson, caused
  28
       plaintiffs to suffer the loss of the society, comfort, solace, society and love of Decedent Leroy
                                         COMPLAINT FOR DAMAGES
                                                    8




                                                       Ex. 1
                                                       016
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 17 of 201 Page ID #:17




      1    Stephenson, as well as special damages such as funeral / burial expenses and other associated special
      2    damages.
      3
                                               THIRD CAUSE OF ACTION
      4
                                             VIOLATION OF 42 U.S.C. § 1983
      5                                   Violation of Fourth Amendment Rights -
                                      Excessive/Unreasonable Use of Force on Person
      6       (By all Plaintiffs, Against NOREM, MCKEE, BORDEN, and DOES 1 through 20, inclusive)
     7
                  43.     Plaintiff hereby realleges and 1·e-incorporates by reference the allegations set forth in
     B
          paragraphs 1 through 42 inclusive, above, as if set forth in full herein.
     9
                  44.   As mentioned above and in addition to the above and foregoing, Defendants NOREM,
 LO
          MCKEE, BORDEN and DOES 1 through 20, inclusive, seized Leroy Stephenson in an unreasonable
 Ll
          manner, when they unreasonably compressed his body into the ground while he was on his belly;
 12
          handcuffed behind his back; all inunediately after he was tasered four times. None of the force used
 L3
          against Leroy Stephenson, as Ms. Stephenson was not resisting and was merely laying on his stomach
 14
          with his hands cuffed behind his back.
 LS
                  45.    The actions of Defendants NOREM, MCKEE, BORDEN and DOES 1 through 20,
 L6
          inclusive, as complained above herein, constituted a violation of Leroy Stephenson's rights under the
 L7
          Fourth Amendment to the United States Constitution to be free from the use of unlawful and
 18
          unreasonable and excessive force upon his person.
 19
                 46.     Plaintiffs bring this claim as successors-in-interest to Leroy Stephenson, and seeks
 20
          survival damages, including physical and mental pre-death pain and suffering, loss of life, and loss of
 21
          enjoyment oflife, and wrongful death dantages for the violation of Leroy Stephenson's rights. Leroy
          Stephenson incurred other special and general damages and expenses in an aniount to be proven at trial.
23
                 47.     The actions by said defendants were committed maliciously, oppressively and in reckless
24
          disregard of Leroy Stephenson's constitutional rights, sufficient for an award of punitive / exemplary
25
          damages against all defendants and each of them, save for Defendant STATE OF CALIFORNIA and
26
          COUNTY, in an amount to be proven at trial.
27

28


                                            COMPLAINT FOR DAMAGES
                                                      9



                                                            Ex. 1
                                                            017
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 18 of 201 Page ID #:18




   1
                                          FOURTH CAUSE OF ACTION
   2
                                         VIOLATION OF 42 U.S.C. § 1983
   3       LOSS OF PARENT-CHILD RELATIONSHIP WITHOUT DUE PROCESS OF THE LAW
                         UNDER THE FOURTH AND FOURTEENTH AMENDMENTS
   4       (By all Plaintiffs, Against NOREM, MCKEE, BORDEN and DOES 1 throngh 20, inclusive)
   5
               48.     Plaintiff hereby realleges and incoiporates by reference the allegations set forth in
   6
       paragraphs 1 through 47, inclusive, above, as if set forth in full herein.
   7

               49.     The unlawful killing of plaintift's deceased, Leroy Stephenson, by NOREM, MCKEE,
   8

   9   BORDEN and DOES l through 20, inclusive, deprived Plaintiffs and Leroy Stephenson of their Parent
  LO   Child Relationship, guaranteed to them under the Fourteenth Amendment to the United States
  ll
       Constitution
  l2
               50.    The use of unreasonable force upon Leroy Stephenson that resulted in the unlawful
  l3

  l4
       killing of him by NOREM, MCKEE, BORDEN and DOES 1 through 20, inclusive, was done

  l5   intentionally, was done in a manner that constituted the use of unreasonable force, and was done in a
  l6
       manner that constituted a deliberate indifference to and reckless disregard of Leroy Stephenson's life
  17
       and to said Child-Parent Relationship, and constituted outrageous behavior that is shocking to the
  LB
       conscience.
  19

  20          51.     The unlawful killing of Leroy Stephenson, by NOREM, MCKEE, BORDEN and DOES

  21   1 through 20, inclusive, above-referenced, also caused Plaintiffs to suffer the loss of Leroy Stephenson's
  22
       society, solace and comfort, companionship, as well as caused her to suffer great mental, emotional and
  23
       distress, pain and suffering in an amount to be shown at trial.
  24
              52.     The unlawful killing of Leroy Stephenson by NOREM, MCKEE, BORDEN and DOES 1
  25

  26   through 20, inclusive, above-referenced, was done maliciously and in reckless disregard of Plaintiffs'
  27   constitutional rights, sufficient for an award of punitive damages against said defendants (save STATE
  28
       OF CALIFORNIA and COUNTY); all in an amount to be shown at trial.
                                         COMPLAINT FOR DAMAGES
                                                   10



                                                       Ex. 1
                                                       018
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 19 of 201 Page ID #:19




                                            FIFTH CAUSE OF ACTION
      1
                                          VIOLATION OF 42 U.S.C. § 1983
     2        DEPRNATION OF LIFE WITHOUT DUE PROCESS OF LAW UNDER THE FOURTEENTH
                                                 AMENDMENT 1
      3         (By Plaintiffs, Against NOREM, MCKEE, BORDEN and DOES 1 through 20, inclusive)
     4
                      53.       Plaintiff hereby realleges and re-incorporates by reference the allegations set forth in
     5
              paragraphs 1 through 52 inclusive, above, as if set forth in full herein.
     6
                      54.      As shown above, Decedent Leroy Stephenson the victim of excessive force and was
     7
              unlawfully and unjustifiably killed, with malice, by NOREM, MCKEE, BORDEN and DOES 1 through
     B
              20, inclusive.
     9
                     55.        The unlawful killing of Decedent Leroy Stephenson was done without the due process of
 LO
          the laws of the United States of America and the State of California.
 Ll
                     56.        Said denial of Decedent Leroy Stephenson's right not to be deprived of his life without
 L2
          due process of law caused Decedent Leroy Stephenson to suffer severe physical
 L3
                     57.       The actions of Defendants NOREM, MCKEE, BORDEN and DOES I through 20,
 L4
          inclusive, as complained above herein, constituted a violation of Decedent Leroy Stephenon's rights
 LS
          under the Fourth Amendment to the United States Constitution to be free from the use of unlawful and
 L6
          unreasonable and excessive force upon his person.
 L7
                     58.       Plaintiffs bring this claim as successor-in-interest to Decedent Leroy Stephenson, and
 LB
          seeks survival damages, including physical and mental pre-death pain and suffering, loss of life, and loss
19
          of enjoyment of life, and wrongful death damages for the violation of Decedent Leroy Stephenson's
20
          rights. Decedent Leroy Stephenson incurred other special and general damages and expenses in an
21
          amount to be proven at trial.
22
                     59.       The actions by said defendants were committed maliciously, oppressively and in reckless
23
          disregard of Decedent Leroy Stephenson's constitutional 1ights, sufficient for an award of punitive/
24
          exemplary damages against all defendants and each of them, in an amount to be proven at trial.
25

26

27

2a        1 And as otherwise provided for under the United States Constitution as those other rights retained by
          the People (U.S. Const. Amend. 9)
                                                 COMPLAINT FOR DAMAGES
                                                           11



                                                                 Ex. 1
                                                                 019
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 20 of 201 Page ID #:20




                                                SIXTH CLAIM FOR RELIEF
                                                       (42 u.s.c. § 1983)
      1

      2                                       Municipal Liability-Failure to Train
                                                (Against Defendant COUNTY)
      3
                  60. Plaintiff hereby realleges and incorporates by reference the allegations set forth in
      4
          paragraphs 1 through 59, inclusive, above, as if set forth in full herein.
      5
                  61. Defendant BORDEN and DOES 1 through 20, inclusive, acted under the color oflaw.
      6
                  62. The acts of Defendants BORDEN and DOES 1 through 20, inclusive, deprived Leroy
   7
          Stephenson and Plaintiffs of their particular rights under the United States Constitution.
   8
                  63. The training policies of COUNTY were not adequate to train its peace officers to handle the
   9
          usual and recurring situations with which they must deal. Specifically, COUNTY has failed to train their
  LO
          peace officers on how to prevent themselves from causing a subject to suffer from positional
  ll
          asphyxiation.
  l2
                  64. Defendant COUNTY was deliberately indifferent to the obvious consequences of its failure
  l3
          to train its officers adequately.
  L4
                  65. The failure of COUNTY to provide adequate training caused the deprivation of Leroy
  L5
          Stephenson's and Plaintiffs' rights by BORDEN and DOES 1 through 20, inclusive; that is, Defendants'
  L6
          failure to train is so closely related to the deprivation of Leroy Stephenson's and Plaintiffs' rights as to
  L7
          be the moving force that caused the ultimate injury.
  L8
                  66. On information and belief, COUNTY failed to train BORDEN and DOES I through 20,
  19
          inclusive, properly and adequately.
  20
                 67. By reason of the aforementioned acts and omissions, Leroy Stephenson and Plaintiffs have
  21
          suffered loss oflove, companionship, comfo1t, care, society, training, guidance, and past and future
  22
          support. The aforementioned acts and omissions also cause Plaintiffs' pain and suffering, loss of
  23
          enjoyment of life and death.
  24
                 68. Accordingly, Defendants COUNTY is liable to Plaintiffs for compensatory damages under
  25
          42 u.s.c. § 1983.
 26
                 69.      Plaintiffs bring this claim as successor-in-interest to Leroy Stephenson, and seek survival
 27
          damages, including physical and mental pre-death pain and suffering, loss of life, arid loss of enjoyment
 28


                                              COMPLAINT FOR DAMAGES
                                                        12



                                                           Ex. 1
                                                           020
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 21 of 201 Page ID #:21


                                                                           .,..- -




  1   of life, and wrongful death damages for the violation of Leroy Stephenson's rights. Plaintiffs incurred

  2   other special and general damages and expenses in an amount to be proven at trial.

  3
             WHEREFORE, plaintiffs pray for judgment as follows:
  4
                     a) For a judgment against all defendants for compensatory damages,
  5

  6                  b) For ajudgment against all defendants, save defendant State of California and County

  7                      of Riverside, for punitive damages;
  8
                     c) For an award ofreasonable attorney's fees and costs;
  9
                     d) For a trial by jury; and
 lO
                     e) For such other and further relief as this honorable court deems just and equitable.
 ll

 l2

 l3

 l4

 l5

 l6

 l7

 l8

 19

 20

 21

 22

 23

 24

 25

 26

 27

 28


                                       COMPLAINT FOR DAMAGES
                                                          13



                                                      Ex. 1
                                                      021
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 22 of 201 Page ID #:22




                                             PROOF OF SERVICE
 2                       STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
 3
                                              C.C.P. §1013(A)(3)
 4
            I am employed in the County of Los Angeles, State of California. I am over the age of 18
5
     and not a party to the within action; my business address is 6033 W. Century Bl. #740, Los
 6   Angeles, CA 90045.
 7           On Jan. 11, 2021, I served the foregoing PLAINTIFF'S FIRST AMENDED
     COMPLAINT FOR DAMAGES on all interested parties in this action by placing (x) the
 8
     original ( ) a true copy thereof enclosed in sealed envelopes addressed as follow:
 9

10   Richard Wolfe, Supervising DAG
     Tim Van Hendel, DAG
11   State of California
12
     600 W. Broadway, Suite 1800
     San Diego, CA 92101
13   PO Box 85266
     San Diego, CA 92186-5266
14
     Phone: (619) 738-9095
1s   Fax: (619) 645-2581
     Attys for Defendant State of California, by and through the CA Highway Patrol
16
     (X) By Regular U.S. Mail
17   (X) By email: douglas.baxt!.ll."@doj.cagov; tim.vandenheuvel@doj.ca.gov
1s   (X) By Fax: above fax number

19   (   I deposited such envelope in the mail at Los Angeles, California. The envelope was mailed
         )
     with postage thereon fully prepaid.
20

21
     (X) As follows: I am "readily familiar" with the -firm's practice of collection and processing
     correspondence for mailing. Under that practice it would be deposited with U.S. postal service
22   on that same day with postage thereon fully prepaid at Los Angeles, California in the ordinary
     course of business. I am aware that on motion of the party served, service is presumed invalid if
23
     postal cancellation date or postage meter is more than one day after date of deposit for mailing in
24   affidavit.

25            Executed on Jan. 11, 2021 in Los Angeles, California.
              I declare under penalty of perjury under the laws of the State of California that the above
26
     is true and correct.
27

28




                                                       Ex. 1
                                                       022
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 23 of 201 Page ID #:23




                                EXHIBIT 2



                                     Ex. 2
                                     023
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 24 of 201 Page ID #:24




                                .SUMMONS
                           (CITACION JUDICIAL)
  NOTICE TO DEFl!NJ>ANT:
  {AVIBOALDEMANDA()O):
  STATE OF QAUFORNIA; and DOES 1fkn,ugh 100, lnclWl'le
                                                                                                   DEC 18 2019

                                                                                                M. Preciado
                                                                                                                         n




                               urnter:O CCP4111.10(~n)                             0   OOP 416.60(,nlnor)
                                    0    CCP 4111.20 (defllncl oorpOIBlion)        D   OOP416.70(con&ervalae)
                                    D    CCP 416.40 (&s80Clalkln or partnerchip)   0   CCP 416.90 (alilllonzad person)
                                    D    oll1er fspsolfy):
.~-                        4. [Qg,bvpersonaidellvelyon(da/0) ~ -l"7-tj
                                                  SUMMONS




                                                            Ex. 2
                                                            024
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 25 of 201 Page ID #:25




                                EXHIBIT 3



                                     Ex. 3
                                     025
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 26 of 201 Page ID #:26




                                     .SUMMONS
                               (CITACION JUDICIAL)
  NO'JlCE TO Dl!FENDANT:
  {AVISO AL oeMANIW;)O):
  STATE OF QAUFORNIA; Md DOES 1tinQgh 100, inCIU8lYe

 YOU AREBl!ING SUl!D BY PLAINTIFF:                        =::=:=.i~n
 tl.0 EST.A DE/MANDANDO EL OSMANZ>AN'Jl!il: STEPHENSON; LINDEN STEPHENSON,
                                                                                                  a         DEC"l 8 2019
          JndMduallY and •• Sllt:OG$11Mln lnlsNStto Decedent LEROY STEPHENSON; KEANDRE
          STEPHElilSON, lndMduall)' and ao SlJCCe<ISOl' In ln!era&t ro o..oedent LEROY STEl'HENSON.     M. Preciado
                                                                                                                                n




                                                                                          CASE NUMBER:     ilmMI tM Caso}:          I
                                                                                                       ?aDl.tit:53= .




                                    under.Q OOP416.10(corporaUOn)                          D     OCP418.60{mlnol)
                                        0 CCP41&.20 (detfunctoorporatlon)                  0     COP416,70(tonaeMtee)
                                          D CCP41&AO (ll!i$0Clatlon orpartneNhip)          0     CCl'416,90(aulllonzedperson)
                                          D   olllerfspsclfy}:
                                   ~ . by personal delivery on (datl>)   :?:, - \J -1,\
                                                      .    SUMMONS




                                                                    Ex. 3
                                                                    026
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 27 of 201 Page ID #:27




                                EXHIBIT 4




                                     Ex. 4
                                     027
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 28 of 201 Page ID #:28




                                                     lJ         ORIGINAL
     .         STEVEN A. LERMAN & ASSOCIATES, INC.
    1        · Steven A. Lennan (SBN 055839)
              .Nicholas Lerman, Esq. (SBN 292656)
    2
             ··Email: slermanlaw@yahoo.com; nlermanesg@injurylawadvocates.com
               6033 West Century Boulevard, Suite 740                         ·
    3
               Los Angeles, California 90045
    4
              .Telephone: (310) 659-8166                                        fil!L~©
                                                                            SUPERIOR COURT OF CALIFORNIA
                 Fax: (310) 285-0779                                                     COUNfY OF RIVERSIDE

    5
         ·Gregory Peacock, Esq. (SBN 277669)                                              DEC 1 S 2019
   ·6 '. :LAW OFFICE OF GREGORY PEACOCK

    7·
          4425 Jamboree Road, Suite 130                                                M.Pre@
         .Newport :Seach, CA 92660
    8 ' Telephone: (949) 292-7478
         .Email: gregorypeacockesg@groail.com
    9

   LO :          '.Attorneys for Plaintiffs DEVONTE STEPHENSON, individually and as successor in interest to Decedent
                 LEROY STEPHENSON; LINDEN STEPHENSON, individually and as successor in interest to Decedent
   Ll            LEROY STEPHENSON; KEANDRE STEPHENSON, individually and as successor in interest to
                 Decedent LEROY STEPHENSON.
   l2 ;

   L3    1
                                       SUPERIOR COURT FOR THE STATE OF CALIFORNIA
   L4 ·
                                                          COUNTY OF RIVERSIDE
   Ls        :   DEVONTE STEPHENSON, individually and as         ) Case No. ·\_2-, \, ~ { ~ Ole( D       T
   L6            successor in interest to Decedent LEROY         ) COMPLAINT FOR DAMAGES FOR·
                 STEPHENSON; LINDEN STEPHENSON,                  )                                      .
   L7            individually and as successor in interest-to    )    I. Battery (wrongful death)
                 Decedent LEROY STEPHENSON; KEANDRE              )    2. False Arrest/ False Imprisonment
   LB.           STEPHENSON, individually and as successor in    )    3. Violation of Cal. Civil Code §52.1
  19             interest to Decedent LEROY STEPHENSON.          )    4. Negligence (wrongful death)
                                                                 )
                       Plaintiffs,
                                                                 ~
  20
                                                                      JURY TRIAL DEMANDED
  21.
                       vs.                                       )
  22 :                                                           )
                 STATE OF CALIFORNIA; and DOES 1                 ))
  23             through 100, inclusive,                         ))
                                                                 )
 • 24
                      Defendants.                                )
                                                                 )

  26
                        COMES NOW Plaintjffs Devonte Stephenson, Linden Stephenson and Keandre Stephenson, to
  27

  28             hereby allege and complain as follows:

                                                 COMPLAINT FOR DAMAGES
                                                            .         r


                                                                Ex. 4
                                                                028
        Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 29 of 201 Page ID #:29



                                                          e
                                                                                PLAINTIFFS
               ·1

                   2                      l. Plaintiff, DEVONTE STEPHENSON, is a surviving son of Decedent Leroy

.,.,,
                   3           Stephenson, and at all time~ mentioned ~erein was an individual residing in Los Angeles County, State
                   4
                       , of California. DE:VONTE STEPHEN~ON, individually, is an ''heir at law" of Decedent Leroy
                   5
                               Stephens~ri, as that term is defined by the California C~de of C.ivil Procedure Section 377 .60(a) and
                   6

                   7
                               elsewhere and has "legal standing to maintai11 an action for wrongful death based upon the death of his

                   B       . father, Leroy Stephenson, "QD.der <californiaCode of Civil Procedure Section 377.60. Plaintiff
                   9
                               DEVONTE
                                 .
                                       STEPHENSON may maintain causes of action under California's
                                                                                        .
                                                                                                   Wrongful Death Statutes
               LO
                               and pursuant to California Civil Code section 52.1.
               Ll      ! '.                                  ,.
                                          2.. Pl~tiff; KEANDRE STEPHENSON, is a surviving son of Decedent Leroy
               L2

               L3
                               Stephenson, and at all times mentioned herein was an individual residing in San Bernardino County,

               L4      ! State ofCaljfornia. KEANDRE STEPHENSON, indiviqually, is an "heir at law"·ofDecedent Leroy
               LS
                               Stephenson, as that term is define4by the California Code of Civil Procedure Section 377.60(a) and
               L6
                               elsewhere and has legal standing to maintain an action for wrongful death based upon the death of his
               L7
                           . father, Leroy Stephenson, under California Code of Civil Procedure Section 377.60. Plaintiff
               LB '

               19              ~ANDRE STEPHENSON may maintain: causes of action under California's. Wrongful Death Statutes

               20 ,i: 'and             pursuant to California Civil Code section 52.1.
                       I
               21:
                                          3. Plaintiff, LINDEN STEPHENSON, is a surviving son of Decedent Leroy
               22,
                               Stephenson,
                                  .   .
                                           and atI all
                                                   ,
                                                       times mentioned herein was an individual re$iding in Los Angeles County, State
               23

                       1
                               ,ofCalifontla. LINDEN STEPHENSON, individually,_is an ''heir at law" of Decedent Leroy Stephenson,
               24
                               I                                  •
        .. .   25                  as that tennis defined by the California Code of Civil Procedure Section 377.60(a) and elsewhere and
                               I


               26          ·   ;has iegal stand~g to maint~n an action for wrongful death based upon the death of his father, Leroy
               27
               .       :
                               .
                                   Stephenson, under c'alifomia Code. ofCivii Procedure Section 377.60. Plaintiff LINDEN
               28


                                                                      COMPLAINT FOR DAMAGES
                                                                                         2




                                                                               Ex. 4
                                                                               029
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 30 of 201 Page ID #:30



                                               e
                     . STEPHENSON may maintain causes         of action under California's Wrongful Death Statutes and pursuant
    1

    ,2           '   to California Civil Code section 52.1.

    3                                                              DEFENDANTS
  .4
                             4, Plaintiffs are informed and believe that Defendant STATE.OF CALIFORNIA,
    5
                     :is a government entity, located withinthe j~sdiction of this Court.
    6

    7
                             5. At-all times complained of herein, DOES 1 through 20, inclusive, were peace

    8                officers employed by the California Highway Patrol / State of California. At all times complained of
    9
              ·      :,here, DOES 1 through 20, inclusive w~re acting 11t1der the color of state law and were acting within the
   LO
              ·:, course and scope of their. employment with the California Higll.way ~atrol / State of California.
   Ll
                             6. Plaintiffs are informed and believe that Defendant DOES 1-20 are peace
   L2

   LJ                ·officers, ~upervisors, and/or staff of the California Highway Patrol and/or State of California and are

 . L4        · :fictitiously named      individuals whose true names are unknown at this time to Plaintiffs. The true names
   LS
                     and capacities of DOES 1-20.a,re~own to Plaintiffs, who therefore sue said defendants by such
  LG
         · : . :{ictitious names and wm amend. this complaint to allege their true names ad capacities when ascertained;
             I                                                •

   L7
                     P!aintiffs are informed and believe and based thereon alleges that each of the fictitious named
   LS    ii
  19 .·:             defendants are responsible for the acts complained of herein ..

  20                         7. At all relevapt times herein, each of the Defendants was an agent, servant, or
  21
                     employee of each of the remaining Defendants acting under color of state and/or federal law, and was at
  22     1

                     all times acting within ~e time, purpose or scope of said agency or employment with the California
  23
                     Highway Patrol / State of Caiifornia, and was acting with the express or implied knowledge, permission
  24

  25                 or conse~t of the remaining Defendants, and each of them. Each of the Defendants held out the other as

 \ 26                its authorized representative and each of the Defendants ratified the conduct of its agents. At all times
  27
                     herein mentioned, DOES 1-20 were and are Defendants whose identity is unknown at .this time to who
  28


                                                       COMPLAINT FOR DAMAGES
                                                                  3



                                                                     Ex. 4
                                                                     030
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 31 of 201 Page ID #:31


          .,
           I

                                          e.
      1
               supenri~ed, controlled; or. were in some manner responsible for the ~cti:-7ities ~leged herein and

      2        proximately caused Plaintiffs' damages.      .
     3.                            PROCEDURAL PRE-REQUISITES TO SUIT WERE SATISFIED
     4,
                       8. Plaintiffs filed governmetJ-t tort claims to the State of California and this action
   . 5
          , · is b~g filed within six months of ~e denial of said claims.
      6,


      7
                    . 9. Plaintiffs have contemporaneously filed declarations as successors in interest,

      a ,establishing their right to bring this action as heirs.
     9
                                                      FACTUAL ALLEGATIONS
    LO
                       10. On or about January 25; 2019, while walking llear the Adams Avenue on-
   ..l l '
               ~amp to the 91 Freeway mRiverside; California, Defendants DOES 1 through 20, itlclusive, while _actin
    l2

    L3         _within the course and scope of their duties as peace officers of the California Highway Patrol,

    l4         approached Decedent Leroy Stephenson.
    ts
                       11. Decedent Leroy Stephenson
                                           '
                                                     was
                                                      ... not acting unlawfully and there w~ no
    l6
               ·reason for believe that criminality was afoot. ·
    L7
                       12.        Notwithstanding the fact that De~edent Leroy Stephenson was merely
    LB

    19         walking, ~OES 1 through 20, inclusive, attempted to speak with Decedent Leroy Stephenson.

    20                 13.        When Decedent Leroy ~tephens~n d~d not stop and continued to walk away
    21
               ..fr9m the of;ticers, Defep.dants DOES· 1 through 20, inclusive, began tasering Decedent Leroy Stephenson
                                                                                                                      .
    22
               'multiple times.
    23

                       14.    Decedent Leroy Stephenson went dQwh to the ground where DOES 1
    24

    25         through 20, inclusive, continued to taser him. While on the ground, Defendant DOES 1 through 20,
    26         inclusive, began punching and striking Decedent Leroy Stephenson.
    27 ·
                       15.    At no point ~uring the incident complained of in this action, did D~cedent
    28

                                                   CO:MPLAINT FOR DAMAGES
                                                                        4



                                                                Ex. 4
                                                                031
 Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 32 of 201 Page ID #:32



                                                                                          e
                  ·Leroy Stephenson act violently towards the defendants or anyone else. At no point did Decedent Leroy
       1

      •::t        \Stephenson do      anything to justify ~he use of force against him.
                  ',
       3                     16.      Decedent Leroy Stephenson was taken to the hospital where he ultimately
       4
                 · died ~ a result of the unlawful use of force used against him, by Defendants DOES 1 through 20,
       5
                   inclusive.
       6


       7
                                                           FIRST CAUSE OF ACTION
                                                                Wrongful Death
       8                                                 (Cal. Civil Proc. Code§ 377.60)
                                                           Under California State Law
       9
             :         (By Plaintiffs, a·gainst Defendants STATE OF CALIFORNIA and DOES 1 through 20, inclusive)
      LO

      Ll :
                            17.      Pfa.intiffhereby realleges and incorporates by reference ~e alle~ations set forth in
                 . paragraphs 1 through 16, inclusive, above, as if set forth in full herein.
      L2
                            18.      DOES 1 through 2?, inclusive; while working as peace officers for STATE OF
      L3

                  CALIFORNIA, and acting within the course and scope of their duties, intentionally killed Decedent
      L4                                                      .       .
                  Leroy Stephenson, and used unreasonable and excessive force against him.
      LS

      L6 '
                            19.      DOES l through 20, inclusive, had no legal justification for using force against Decedent
                 , Leroy Stephenson, and their use of force while carrying out their duties as peace officers was an
      L7 ,
                  unreasonable and·nonprivileged use of force, and, under the cireumstances, was outrageous, and
      LB ·
                  constituted a breach of said defendants' duties to use due care toward members of the public similarly
     19 .
                  situated.
     20

     21
                            20.    DOES 1 through.20, inclusive, while working as a :peace officer for STATE OF
                  CALIFORNIA, and acting within the coutse and scope of their duties, intentiomµly killed Decedent
     22
                  Leroy Stephenson and used unreasonable and excessive force against him.
     23
                            21.      DOES 1 through 20, inclusive, had no legal Justification for using force against Decedent
     24

'• ·. 25
                  Leroy Stephe~sop.,     and their use offorce while carrying out their duties as peace officers· was an
                  unreasonable and nonprivileged use of force.
     26

     27

     28


                                                       COMPLAINT FOR DAMAGES
                                                                  5



                                                                     Ex. 4
                                                                     032
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 33 of 201 Page ID #:33



                                          e·                                         e
   . l.              ' 22.        As a direct and proximate result of the conduct of DOES 1 through 20, inclusive, as
                                                                                           '
    2          alleged above, Decedent Leroy Stephenson sustained severe, and ultimately tenninal physical injurie~,
    3         .and died from said injuries.
    4                   23.       STATE OF CALIFORNIA is vicariously liable for the wrongful acts of DOES I through
    s          20, inclusive, pursuant to sections 815.2(a), 820, 820.2, 820.8 of the California Government Co.de, as
    6     :    well as pursuant to Cal. Civil Proc. Code § 377.60.
    7         :         24.       Th~ ·conduct of DOES 1 through 20, in.elusive, was malicioµs, wanton, oppressive, and
          t;
    a 'accompl.ished with a conscious disregar9 for the rights of plaintiff and Decedent Leroy Stephenson,
    9     '   .entitling plaintiffs;-individually, to an award of exemplary and puniti".'e damages, against defendants
   10 :       DOES 1 through 20, inclusive1•
                                                                                                     '
   11                   25.       The actions of said defendants in unlawfully killing Decedent Leroy Stephenson, caused
   L2     :    plaintiffs to suffer the loss of the society, comfort, solace, society and love of Decedent Leroy
  . L3         Stephenson, as well as special damages such as fup,eral / burial expenses and other associateµ special
   L4          damages.
   15                   26.       The actions by said defendants wete committed maliciously, oppressively and in reckless
                              .                                    .                            .
   LG         ·disregard ofPLAINTIFFS' constitutional rights, sufficient for an award of punitive/ exemplary
   17          damages against all defendants and each of them, save for defendant STATE OF CALIFORNIA, in an
   LB         ·amount to be proven at t:rj.al.
                                                   SECOND CAUSE OF ACTION
   19
                                                  False Arrest I False Imprisonment
   20                                                Under California State Law ,
                  (By Plaintiffs, against Defendants STATE OF CALIFORNIA and DOES 1 through 20, inclusive)
   ;n
                                                                                                                          r
   22                   27.       Plaintiff hereby realleges and incorporates by reference the allegations set forth in
   23     :   paragraphs I through 26, inclusive, above, as if set forth in full herein.
   24                   28.       Defendants-DOES 1 through 20, inclusive, did not have probable cause or reasonable
   2s     :    s4spicion to believe that Dec~dent L~oy Stephenson had committed a crime, or that criminality was
   26          afoot.
   27

   28
               1 But not   defendant STATE OF CALIFORNIA.
                                                    COMPLAINT FOR DAMAGES
                                                               6



                                                                Ex. 4
                                                                033
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 34 of 201 Page ID #:34




                                                                                            e
     l                     29..    Defendants DOES 1 through 20, inclusive, restrained, brutalized and deprived Decedent
    2          .Leroy Stephenson of his liberty.
                           30.     Defendants DOES 1 through 20, inclusive, intentionally deprived De<;edent Leroy
    4              Stephenson of
                              . his freedom
                                          .
                                            ofmovement'by
                                                   .
                                                          use ofphysicalforce
                                                                 .            and violence.
                                                                                      ..
    5                              Decedt1nt Leroy Stephenson did not consent to said deprivation of his freedom of
    6         ·.   movement by Deferi.d~ts DOES 1 through 20, ·inclusive, or to the use of force and violence upon him.
    7                      32. · ·Decedent Leroy Stephenson suffered:hann because ofsaid deprivation of_~~ freedom of
    a              movement by Defendants DOES 1 through 20, inclusive.
    9                      33.     The actions committed by Defen9ants DOES 1 through 20~ inclusive, as complained of
   LO          ·herein, constituted a false arrest I false imprisonment of Decedent Leroy Stepb,enso:p. under California
         1
   Ll     •        state law.                                                                                 I.

   L2 .                    ~4.     Defenda..11ts DOES 1 throug..11. 20, inclusive, are liable to Plaintiffs for said false arrest I
   L3 ·;:      'false imprisonment, pursuan~ to CaL Governrnent Code§§ 8~5;2(a), 815.6, 820; 820.2,. 820.8, and
   L4    ··.·otherwise pursuant to the comrnon-~aw.
   LS                      35.    Plaintiffs bring this claim as successors-in-interest to Decedent Leroy Stephenson, and
   L6 , ;          seek s'[Jt'Vival ·damages, including physical and mental pain and suffering, loss of life; and loss of
   L7 :            enjoyment oflif~, and. wrongful death damages for the violation-ofDecedent Leroy Stephenson's rights.
   LS          Decedent Leroy Stephenson incurred other special :µid gener~ damages and expenses.
  19                      36.     The actions by said defendants were committed Qlaliciously, oppressively and in reckless
  20               disregard of Plain,tiffs' ~dDecedent'~·eon$titutional:rights,. sufficient for an award of punitive I
  21 . ,           exemplary damages against all defendants and e~ch of them, save fqr Defendant STATE qF
  ,22 '.           CALIFORNIA.'
  23           II I
  24           Ill
 . 25          ,;; I
  26           Ill
  27          'I I I
  28 ·         II I                                                   ....,


                                                       COMPLAINT FOR DAMAGES
                                                                  7



                                                                     Ex. 4
                                                                     034
        Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 35 of 201 Page ID #:35



                                                   e                                          e
                                                            THmD CAUSE OF ACTION
         \.    11
                 I                                                    Negligence
               2                                             Under California State Law
                                                               (Cal. ~ivil Code§ 1714)
               3          (By Plaintiff~, against Defendants STATE OF CALIF~RNIA and DOES 1 through 20, inclusive)
               4
                                 37.     Pla1nti:ff hereby realleges and incorporate by reference the allegations set forth in
               5

                         paragraphs 1 through 36, inclusive, above, as if set forth in full herein.
               6

                                 38.     Polic~ officers, .including Defendants, have a duty to use reasonable care to prevent hann
               7
                         or injury to others. This duty includes using appropriate tactics, giving appropriate commands, giving
               8
                    · , warnings, and not using any force unless necessary, using less than lethal options, and only using deadly
               9 I,                                                                   J

                         force as a last resort.
              LO     ,     '
                                 39.     Defendants breached this duty of care. Upon ·information and belief, the actions and
              Ll
                         ina~tions of defendants were negligent and reckless, including but not limited to:
              L2
                                 (a) the failure to properly and adequately assess the need to detaiµ, arrest,· and use force or deadi ·
              13
                                 force against Decedent Leroy Stephenson;
              L4                 {b) the negligent tactics and handling of the situation with Decedent Leroy Stephenson, including
              LS                 force negligence;
              -L6                (c) the neglige1,1t· detention, arrest, and use of force, including deadly force, against Decedent
              L7                 Leroy Stephenson;

              LB
                                  (e) the failure to properly train and supervise employees, both professional and non~
                                 professional, including DOE Officers;
              19
                                 (f) the failure to ensure that adequate numbers of employees with appropriate education and
              20
                                 training were avail~ble to meet the needs of and protect the rights of Decedent Leroy
              21
                                 Stephenson;
              22
                                 (g) the negligent handling of evidence and witnesses; and
              23
                                 (h) the negligent communication of information during the incident.
              24

              25.
                                 40.     As a direct and proximate result of defendants' conduct as alleged above, and other
                         ·undiscovered negligent conduct, Decedent Leroy Stephenson was caused to suffer severe pain and
              26
                         suffering and ultimately died. Also as a direct and proximate result of defendants' conduct as alleged
              27
                     •;.above, Plaintiffs suffered emotional distress aQ.d mental anguish, and incurred substantial medical bills
              28
;
    I                    ·and costs and other special damages, in an amount to be proven at trial.
                                                            COMPLAINT FOR DAMAGES
                                                                     ,8



                                                                        Ex. 4
                                                                        035
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 36 of 201 Page ID #:36



                                        e                                                                                /




       1
                                                FOURTH CAUSE OF ACTION
                                                           Battery
       2                                          Under California State Law.
              (By _Plaintiffs, against Defendants STATE OF CALIFORNIA and DOES! through 20, inclusive)
       3

   4
                     41.     Plaintiffs hereby reallege and incorporate by reference the allegations set forth in
   5
             paragraphs 1 through 40, inclusive, above, as if set forth in full herein.
   6
                     42.     DOES 1 through 20, inclusive, while work4ig as peace officers for STATE OF
   7
             :CALIFORNIA, and acting within the course and scope of their duties, intentionally killed Decedent
   8
             Leroy Stephenson and used unreasonable anci excessive force against him.
   9
                     43.     As a result of the actions DOES 1 through 20,inclusive, Decedent Leroy Stephenson
  LO
             suffe~ed severe pain and suffering, loss ofenjoyment·oflife, and ultimately ~ied of his injuries. DOES 1
  Ll
             through 20, inclusive, had no legal justification for using force against Decedent Leroy Stephenson, and
  L2
             their use of force while carrying out their duties as peace officers was an unreasonable and
  L3
            :•nonprivileged use of force.
  L4
                     44;     DOES 1 through 20, inclusive, while working as a peace office~ for STATE OF
  LS
            :CALIFORNIA, and aGting within the 90urse and scope of their duties, intentionally killed Decedent
  L6
             Lerc,>y Stephenson and used·unreasonable and excessive force against.him.
  L7
                     4§.     As a result'of the actions of DOES 1 through 20, inelusive, Decedent Leroy Stephenson
  LB
             suffered severe. pain and suffering. DOES 1 through 20, inclusive, had no lega.l justification for using
  19
             forc.e against Decedent Leroy Stephenson, and their use of force while carrying out their duties as peace
  20
             officers was an unreasonable and nonprivileged use of force:
  21:                                       I
                     46.     As a direct and pro~ate result of the conduct of DOES 1 through 20, inclusive, as
  22
             alleged above, Decedent Leroy Stephenson sustained inJuries and died from his injuries and also lost his
  23
           ,. earning capacity. Decedent Leroy Stephenson also incurred substantial me~ical bills and costs, loss of
  24
             life, and loss of enjoyment of life.
  25
                    47.      STATE OF CALIFORNIA is vicariously liable for the wrongful acts of DOES 1 through
  26
             20, inclusive, pursuant to sections 815.2(a) and 820 of the California Government Code.
  27
                    48.     The conduct of DOES 1 through 20, inch1sive, was malicious, wanton, oppressive, and
  28
             accomplished with a conscious disregard for the rights of plaintiffs and Decedent Leroy Stephenson,

                                                COMPLAINT FOR DAMAGES
                                                                   9



                                                             Ex. 4
                                                             036
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 37 of 201 Page ID #:37




    1     entitling Plaintiffs, individually, and as successors-in-interest to Decedent Leroy Stephenson, to ·an
    2     award of exemplary and punitive damages, saye S'.fATE OF CALIFORNIA.
    3              49 .. · The actions by said defendants were committed maliciously, oppressively and.in reckless
    4     disregard of Decedent Leroy Stephenson's arid Plaintiffs' rights, sµfficientfor·an award ofpwritive /
    5     exemplary~amages against all defendants and each of them, save for defendant STATE OF
           .   ,

   . 6    CALIFORNIA, in an amount to be proven at trial.
                                                  FIFrH CAUSE OF ACTION
    7
                                          ·Violation of: Cal. Civil Code § 52.1
    8           ..                            Under California State Law
           (By Plaintiffs, against Defendants STATE OF CALIFORNIA and DO:ES 1 through 20, inclusive)
    9
                   50.    Plaintiffhereby realleges and incorporates by reference the allegations set forth in
   LO
          paragraphs 1 through 49, inclusive; above, as if set forth in :(till herein.
   l1
                   51.    On infonnation and belief, Defendants DOES 1 through 20, inclusive while working for
   12
          the STATE OF CALIFORNIA and acting within the course and·scope of their duties, intentionally
   13
          committed acts of violence against Decedent Leroy Stephenson.
   14
                   52.    ,Defe11d4t1ts DOES 1 through 20, inclusive, interfered with Decedent Leroy Stephenson ts
   LS
          civil rights to Be free from unreasonable searches· and seizures, to due proeess, to equal protection of the
   16
          -laws, to inedic~ care, t~ be free .from state actions that shock the_ conscience, and to life, liberty, and
   L7
          property.
   LS
                   53.    On information and belief, defendants intentionally and spitefully committed the above
   19
          acts to discourage MUNTEAN from exercising his civil rights, to retaliate against him for invoking such
   20 .
          rights, or to prevent him from exercising such rights, which they were fully eµtitled to eajoy.
   21
                   54.    On infonnation and belief, Decedent Leroy Stephenson _reasonably believed and
   22
          understood that the violent acts committed by Defendants DOES I through 20, inclusive were intended
   23 •
          t~ discourage him from exercising the above civil rights, to retali~te against him, or invoking such
   24
          rights, or to preve11t him from exercising such rights.
   25
                   55.    A~ a proximate and direct result of defendants' actions, Decedent Leroy Stephenson
   26
          suffered loss of life, and lCJSS of enjoyment of life, and wrongful death damages for the violation of
   27'
          Decedent Leroy Stephenson's rights. Decedent Leroy Stephenson and Plaintiffs incurred other special
   28
          and general damages and expenses in an amount to be proven at trial.
                                              COMPLAINT FOR DAMAGES
                                                        10



                                                          Ex. 4
                                                          037
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 38 of 201 Page ID #:38



                                e                                         e
   1          56.     The actions by said defendants ~ere committed maliciously, oppressively and in reckless
   2   disregard of Plaintiffs' and Decedent Leroy Stephenson's constitutional rights, sufficient for an award o
   3   punitive/ exemplary damages against all defendants and each of them, save for defendant STATE OF
   4   CALIFORNIA, in·an amount to be proven at trial.
            57.  In addition, as a result of the actions of Defendants DOES· 1 through 20, inclusive, as
   5
       complained of herein, constituted a violation of California.Civil Code§ 52.1, and, therefore, plaintiffs
   6
       are entitled an award of treble compensatory damages against said.defendants, and each of them.
   7

   8
              WHEREFORE, plaintiffs pray forjudginertt as follows:
   9
                      a) For a judgment.against all defendants for compensatory damages;
  10

  ll                  b) For a judgment against all defendants, save defendant State of California, for punitive

  12                       damages;
  13
                      c) For an award of reasonable attorney's fees and costs;
 .14
                      d) For a trial by jury; and
  LS
                      e) For such other and further relief as this .
  16

  17   Dated: 12/13/2019

  18

  19

  20

  21

  22

  23




  25

  26

  27

  28


                                         COMPLAINT FOR DAMAGES
                                                   11



                                                       Ex. 4
                                                       038
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 39 of 201 Page ID #:39




                                EXHIBIT 5



                                     Ex. 5
                                     039
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 40 of 201 Page ID #:40




                                                    e               D
    AUORNEY OR PARTY WITHOUT AlTORNEY /Na.J1181, Staro Bar number, snd addross):
  i:-steven Lennan and Associates, SBN 050839
                                                                                   ORIGINAL           e                     FOR COURT USE ONLY
                                                                                                                                                      CM-010

      Nlcholas Lerman, Esq. SBN 292656
      6033 W. Century Blvd. Suite 740
      Los Angeles, CA 90045
            TELEPHONENO.:         310/659-8166            )        FAXNO,:   310/285-077
    AnoRNEY FOR /NamoJ:  Plaintiff Devonte Stephenson et al
  · SUPERIOR COURT OF cALIFORNLA. couNTY OF Riverside
        smeeT AOoREss: 4050 Main St.
        MA1L1N~ ADDREss: Same
       c1TYANDZ1Pcooe: Riverside, CA 92501
                                                                                                                       DEC 18 2019
           BRANCH NAME: RIVERSIDE HISTORIC COURT
     CASE NAME:
     DEVONTE STEPHENSON et al V STATE OF CALIFORNIA
                                                                                                                  M.Pr@
                                                                                                         CASE NUMBER:
         CIVIL CASE COVER SHEET                                        Complex Case Designation
   0       Unlimlted
           (Amount
                             Limited
                             {Amount
                                    D                    Counter  D           Jolnder  D                        r-v JG l'4 O t al ?:)-:-
           demanded          demanded Is          Filed wiU1 first appearance by defendant JUDGE:
           exceeds $25,000)  $25,000 or less)          (Cal. Rules of Court, rule 3.402)     DEPT:
                                 Items 1-6 be/ow must be completed (see Instructions on page 2).
  1. Check one box below for the case type that best descrloes this case:
       Auto Tort                                               Contract                           Provisionally Complex Civil Litigation
       D      Auto (22)                                        D Breach of contracVwarranty (06) (Cal. Rules of Court, rules 3.400-3.403)
       D      Un!nsured motorist (46)                          D Rule 3.740 collecllons (09)      D          AnUtrustrrrade regulation (03)
     Other PIIPD/WD (Personal Injury/Property             O Other colleotlons (09)                    0 Construction defect {10)
     Damage/Wrongful Death) Tort                               D Insurance coverage (18)          D          Mass tort (40)
       D      Asbestos (04)                                    D Other contract (37)              D          Securities litigation (28)
  , D         Product liability (24)                      Roal Property                           D          Envlronmentalffoxlo tort (30)
    DrT1 Medical malpractice (45)                              D Eminent domain/Inverse'          D          Insurance coverage claims arising from the
     t...i..J Other PI/PD/VVD {23)                               condemnation (14)                           above listed provisionally complex case
      Non-PUPD/WD (Other) Tort                                 DWrongful evlc!ion (33)                       types (41)
       D      Bus!ness tort/unfair business practice (07)      D Other reat property (28)             Enforcement of Judgment
       D      Clvll rights (08)                           Unlawful Detainer                       D          Enforcement of Judgment (20)
       D      Defamation {13)                                  D Commercial {31)                      Miscellane~us Civil Complaint
       D      Freud {16)                                       D Residential (32)                 D          RICO (27)
       D      Intellectual property (19)                       D Drugs (38)                       D          Other compla!nt (not specified above) (42)
       D      Professional negligence (25)                Judicial Review                             Miscellaneous Civil Petition
       D      Othernon-PI/PD/WD tort (35)                      DAsset forfeiture (0 5)            D          Partnership and corporate governance (21)
     Employment                                                D                                  D
                                                                 Petillon re: arbitration award (11)         Other petition (not specified above) (43)
       D      Wrongful termination (36)                        DWrit of mandate (02)
       D      Other employment {15)                            DOther Judlclal review {39l
  2. This case ;LJ is               W' Is not complex unde~ rule 3.400 of the California Rules of Court. If the case ls complex, mark the
      factors requiring exceptional Judicial management:
      a.   D      Large number of separately represented parties             ·: d.   D  Large number of wltnesses
      b.   D      Extensive motion practice raising difficult or novel          e.   D  Coordination with related actions pend!ng in one or more courts
                  issues that will be time-consuming to resolve                         In other counties, states, or countries, or in a federal court
      c.   D      Substantial amount of documentary evidence                    f.   D  Substantial postjudgment judicial supervision

  3. Remedies sought (check all that apply): a.[Z] monetary b.O nonmonetary; declaratory or injunctive relief                             c. Opunitive
  4. Number of causes of action (specify): 4
  5. This case         Is  D            171
                                  rs not a class action suit.                                ,,..
  6. If there are any known related cases, file and serve a notice of related case. (You mayJse
 Date: Dec. 9, 2019
 Steven· Lerman, Esq
                                   (TYPE OR PRINT NAME)
                                                                                   NOTICE
    • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
      under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
      in sanctions.
    • File this cover sheet in addition to any cover sheet required by local court rule.                       1                    •
    • If this case Is complex·under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
      other parties to the action or proceeding.
    • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes onlv.
                       .                                                                                                                              jla e1of2

  Fo:/i:~t~~~~i~r~~11}~%1~""                                   CIVIL CASE COVER SHEET                       eai, Ruig:,rs~~!r~~e;,~i~ci!,2!~:i,t,1i~~~~!iJ."~;1°J
                                                                                                                        1

  ', CM-010 (Rov. July 1, 2007]                                                                                                              www.~urtlnfo.ca.gov




                                                                                   Ex. 5
                                                                                   040
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 41 of 201 Page ID #:41



                                                 e                                                          e                                        CM-010
                                               INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
    To Plaintiffs and Others Filing First Papers. If you are flllng a first paper (for example, a complaint) In a civil case, you must
    complete and file, along with your first paper, the Civil Case Covar Sheet contained on page 1. This information will be used to complle
    statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
    one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed In item 1,
   .check the more specific one. If the case has multiple ca1,1ses of action, check the box that best Indicates the primary cause of action.
    To assist you in completing the sheet, exa!llples of the case~ that belong under each case type In Item 1 are provided below. A cover
    sheet must be filed only with your lnitlal paper. Failure to file a cover sheet with the first paper filed In a civil case may subject a party,
    its counsel, or both to sanctions under rules 2.30 and 3.220 of the Callfomla Rules of Court. ·
    To Parties In Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
    owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
    which property, services, or money was acq!Jlred on crei:lit. A collectlons case does not include an action seeking the following: (1) tort
    damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
    attachment. The identlflcation of a case as a rule 3.740 collections case on. this form means that It will be exempt from the general
    time-for-service requirements and case management rules, unless a d~fendant files a responsive pleading. A rule 3.740 collections
    case wlll be subject to the requirements for service and obtaining a judgment In rule 3.740.
    To Parties in Complex Cases, In complex cases only, parties must also use the Civil Case Caver Sheet to designate whether the
                                 a
    case is complex. If plaintiff believes the case Is complex under rule 3.400 of the California Rules of Court, this must be indicated by
    completing the appropriate boxes In items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
    complaint on all parties to the action. A defendant may file and serve no later than the time of Its first appearance. a joinder In the
    plaintiff's designation, a counter-designation that the case is not complex, or, if the plalntlff has made no designation, a designation that
    the case Is complex.                                      CASE TYPES AND EXAMPLES
   Auto Tort                                            Contract                                                Provlslonally Complex CIVIi Litigation (Cal.
       Auto (22}-Personal Injury/Property                 · Breach of Contr11ct/Warranly (06)                   Rules of Court Rules 3.400-3.403)
           Damage/Wrongful Death                                Breach of Rental/Lease                               Antitrust/Trade Regulation (03)
       Uninsured Motorist (46) (if the                              Confract (not unlawful detainer                  Construction Defect (10)
           case Involves an uninsured                                    or wrongful evlcUon)                         Clalms Involving Mass Tort (40)
           motorist claim subject to                             ContractJWarranty Breach-Seller                    . Securities Litigation (28)
           arbitration, check this item                               Plaintiff (not fraud or negllgence)             Envlronmentalffoxlc Tort (30)
           Instead of Auto)                                      Negligent Breach of Contract/                        Insurance Coverage Claims
   Other PUPO/WO (Personal Injury/                                    Warranty                                          (arising from provisionally complex
   Property Damage/Wrongful Death)                            , Other Breach of Contract/Warranty                       case type fisted above) (41)
   Tort               ·                                     ,Collections (e.g., money owed, open                 Enforcement of Judgment
           Asbestos (04)                                         book accounts) (09)                                Enforcement of Judgment (20)
              Asbestos Property Damage                           Collection Case-Seller Plaintiff                        Abstract of Judgment (Out of
              Asbestos Personal Injury/                          Other Promissory Note/Collections                             County)
                   Wrongful Death                                     Case                                               Confession of Judgment (non·
           Product Llablllty (not asbestos or                Insurance Coverage (not provislonally                        ·    dtimesUc relations)
               toxic/environmental) (24)                         complex) (18)                                           Sister Slate Judgment
      Medical Malpractic~ (45)                                 Auto Subrogation                                          Administrative Agency Award
           Medical Malpractice-                                Other Coverage ·                                               (not unpaid taxes)
                Physicians & Surgeons                       Other Contract (37)                                          Petillon/Cei:tlflcallon of Entry of
           Other Professional Health Care                      Contractual Fraud                                            Judgment on Unpaid Taxes
                Malpractice .                                  Other Contract Dispute                                    Other Enforcement of Judgment
                                                                                                                              Case
      Other PI/PD/WD (23)                               Real.Property
           Premises Liability (e.g., slip                   Eminent Domain/Inverse                               Miscellaneous Civil Complaint
                and fall)                                      Condemnation (14)                                    RIC0.(27)
           Intentional Bodlly Injury/PD/WO                  Wrongful Eviction (33) .                                Other Complaint (not specified
                                                                                                                         above) (42)
                (e.g., assault, vandalism)                  Other Real Property (e.g., quiet title) (26)
                                                                                                                         Declaratory Relief Only
           lntentlonel Infliction of                           Writ of Possession of Real Property ·
                                                                                                                         Injunctive Relief Only (non-
                Emotional Distress                             Mortgage Foreclosure                                            harassment)
           Negligent Infliction of                             Quiet Title,
                                                                                                                          Mechanics Lien
                Emotional Distress                             Other Real Property (not eminent
                                                                                                                          Other Commerclal Complaint
           Other Pl/PD/WO                                        domain, /andlordllenant, or                                  Case (non-tortlnon-r;omp/ex)
   Non-PIIPD/WD (Other) Tort                                     foreclosure)                                             Other Civil Complaint
      Business Tort/Unfair Business                     Unlawful Detainer                                                     (non-tort/non-complex)
          PracUce (07).                                     Commercial (31)                                      Mlsc111laneous Clvll Petltlon
      Clvil Rights (e.g., discrimination,                   Resldentlal (32)                                         Partnership and Corporate
          false arrest) (not clvil                          Drugs (38) (ff the case Involves Illegal                     Governance (21}
       .       harassment) (06)                                 drugs, check this Item; otherwise,                   Other Petition (not specified
           Defamation (e.g., slander, libel)                    report as Commaroia/ or ResldenUal)                       above) (43)
                (13)                                    Judicial Review                                                  Civil Harassment
           Fraud (16)                                      Asset Forfeiture (05)                                         Workplace Violence
           Intellectual Property (19)                       Pet!Uon Re: Arbitration Award (11)                           Elder/Dependent Adult
           Professional Negligence (25)                     Writ of Mandate (02)                                              Abuse ·
               Legal MalpracUce                                 Writ-Administrative Mandamus                             Election Contest
               Other Professional Malpractice                   Writ-Mandamus on Limited Court                           Petition for Name Change
                   (not med/ca/ or /egaQ                            Case Malter                                          Petilton for Relief From Late
      Other Non-Pl/PD/WO Tort (35)                              Writ-Other Limited Court Case                                 Claim
   Employment                                                       Review                                               Other Civil PetlUon
      Wrongful Termination (36)                             Other Judicial Review (39)
      Other Employment (15)                                     Review of Health Officer Order
                                                                Notice of Appeal-Labor
                                                                    Commissioner Appeals
   CM-0'10 !Rev. July 1, 2007]                                                                                                                           Pago2of:z:
                                                            CIVIL CASE COVER SHEET




                                                                           Ex. 5
                                                                           041
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 42 of 201 Page ID #:42




                                EXHIBIT 6



                                     Ex. 6
                                     042
        Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 43 of 201 Page ID #:43



                                                            e                    D     ORIGINAL          e
                                                         SUPERIOR COURT OF CALIFORNIA, COUNTY OF RIVERSIDE

            0   BANNING 311 E. Ramsey.SL, Banning, CA 92220                    0 MURRIETA 30755·D Auld Rd., Suite 1226, Murrieta, CA 92563
            0   BLYTHE 265 N. Broadway, Blythe, CA 92225       '               0 PALM SPRINGS 3255 E. Tahqullz Canyon Way, Palm Springs, CA 92262
            0 CORONA 505 S. Buena VIS!a, Rm. 201, Corona, CA 92882             !EI RIVERSIDE 4050 Main St., Riverside, CA 92501
            0 HEMET 880 N. State St., Hemet, CA 92543                          D TEMECULA 41002 County Center Dr., #100, Temecula, CA 92591
            0 ' MORI:Jl;IO VALLEY 13800 Heacock SL, Ste. D20'1, Moreno Valley, CA 92553
                                                                                                                                                              RI-C:1032
           ATTORNEY OR PARTY WITHOUT ATTORNEY (Nam•, Sisto BarNumbor and Addrose)                                            FOR COURT USE ONLY
            Steven Lerman and Associates, SBN 055839
            Nicholas Lerman, Esq. SBN 292656
            6033 W. Century Blvd. Suite 740
            Los Angeles, CA 90045
                    TELEPHONE NO: 31 0/659-8166    FAX NO. (OpUMaQ:
                                                                                                                       fF ~ fL. ~
                                                                                                                  SUPERIOR'COURT OF CALIFORNIA
                                                                                                                                               [Q)
                E-MAIL ADDRESS (OpUonaQ:                                                                              coumy OF RIVERSIDE
                   ATIORNEYFoRfN•mo):PJaintiffs Devonte Stephenson, et al
                                                                                                                        DEC 18 2019
                         PLAINTIFF/PETITIONER:     DEVONTE STEPHENSON et al


                   DEFENDANT/RESPONDENT:           STATE OF CALIFORNIA, AND DOES 1 through 100


                                                                             CERTIFICATE OF COUNSEL

           The undersigned certifies that this matter should be tried or heard in the court Identified above for the reasons
           specified below:

                l8I       The action arose In the zip code of: .,._,._~9_25_0_4_ _ _ _ _ _ _ __


                D         The action concerns real property located in the zip code of:


                D         The Defendant resides In the zip code of:




           For more information on wh~re actions should be filed in the Riverside County Superior Courts, please refer
           to Local Rule 1.0015 at www.riverside.courts.ca.gov.


           I certlfy (or declare) under penalty of perjury under the laws of the State of California that the foregoing Is
           true and correct.



_ _ _ _Date .;.c12.. ;:. :/:;_91_20-=·1~9==-"""'-'-=---"-~~=-'-~---




              Steven Lerman
                   (TYPE OR PRINT NAME OF IJ ATTORN5Y IJ PARlY MAKING D!,CLARATION)
                                                                                                                                                          'Pae1of1
           Approved tor Mandatory Ua•                                                                                                                        Loca!Rula 1,0015
           RiveJSldo Superior Coull
                                                                              CERTIFICATE OF COUNSEL                          riversldo.o,ullo.ta.govnocallrmsRocallrms.shtml
           RI-CI032 [Rav. 08/15/13)
           (Reformatted 01/07/19)




                                                                                      Ex. 6
                                                                                      043
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 44 of 201 Page ID #:44




                                EXHIBIT 7



                                     Ex. 7
                                     044
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 45 of 201 Page ID #:45




                           SUPERIOR COURT OF CALIFORNIA, COUNTY OF RIVERSIDE
                                             4050 Main Street
                                           Riverside, CA 92501
                                        www. riverside. courts. ca. gov

                          NOTICE OF DEPARTMENT ASSIGNMENT FOR ALL PURPOSES
                             AND NOTICE OF CASE MANAGEMENT CONFERENCE

         STEPHENSON VS STATE OF CALIFORNIA

                                                             CASE NO. RIC1906137

         This case is assigned to the Honorable Judge Craig G. Riemer in Department 01 for all
         purposes, including tric1I.

         The Case Management Conference is scheduled for 05/18/20 at 8:30 In Department
         Oi.
           The plaintiff/cross-complainant shall serve a copy of this notice on. all
           defendants/cross-defendants who are named or added to the complaint and file proof of
           service.

           Any disqualification pursuant to CCP Section 170.6 shall be filed in accordance with that
           section. The court follows California Rules of Court, Rule 3.1308(a) (1) for tentative
           rulings (see Riverside Superior Court Local Rule 3316). Tentative Rulings for each law
           and motion matter are posted on the Internet by 3:00 pm on the court day immediately
           before the hearing at <http://www.riverside.courts.ca.gov/tentativerullngs.shtml>. ff you
           do not have internet access, you may obtain the tentative ruling by telephone at
           (760)904-5722.

           To request oral argument, not later than 4:30 pm on the court day before the hearing you
           must (1) notify the judicial secretary at (760)904-5722 and (2) inform all other parties. ff
           no request for oral argument is made by 4:30 pm, the tentative ruling will become the
           final ruling on the matter effective the date of the hearing.

           Requests for accommodations can be made by submitting Judicial Council form MC-41 O
           no fewer than five court days before the hearing. See Callfornta Rules of Court, rule
           1.100.

                                                CERTIFICATE OF MAILING

         I certify that I am currently employed by the Superior Court of California, County of
         Riverside, and that I am not a party to this action or proceeding. In my capacity, I am
         familiar with the practices and procedures used in connection with the mailing of
         correspondence. Such correspondence is deposited in the outgoing mail of the Superior
         Court. outgoing mall is delivered to and mailed by the United States Postal Service,
         postage prepaid, the same day in the ordinary course of business. l certify that I served
         a copy of the foregoing NOTICE on this date, by depositing said copy as stated above.




         Date: 12/18/19


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        1219119




                                                         Ex. 7
                                                         045
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 46 of 201 Page ID #:46




                                EXHIBIT 8




                                     Ex. 8
                                     046
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 47 of 201 Page ID #:47


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                                                   ~          [J       ORIGINAL
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                             Nicholas Lerman, E~. (SBN 292656)                   ·
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                             Telephone: (310) 659-8166
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                                                                                                        fF a fL w:     @
                     6
                        Gregory Peacock, Esq. (SBN 277669)                                          SUPERIOR COURT OF CALIFORNI~~~
                                                                                                        couury OF RIVERSIDE ~v
                       LAW OFFICE OF GREGORY PEACOCK
                    7  4425 Jamboree Road, Suite 130                                                    DEC 18 2019
                       Newport Beach, CA 92660
                    a Telephone: (949) 292-7478                                                      M.Pr~
                    9
                       Email: gregorypeacockesq@gmail.com

                L
                 O
                            Attorneys for Plaintiffs Devonte Stephenson, Linden Stephenson, and Keandre Stephenson           B
             ll
                                                 SUPERIOR COURT FOR THE STATE OF CALIFORNIA
            L2                                              COUNTY OF RIVERSIDE
            t
                3
                         DEVONTE STEPHENSON; individually and as ) Case No.             'i2l 0 ( qO 0 l 3T
                         successor in interesr to Decedent Leroy       ) DECLARATION OF DEVONTE STEPHENSON
           ". ~tep1!=n; LlNDEN STEP~SON,
           15
                                                                       ) REGARDING STANDING AS SUCCESSOR IN
                      lllChvidually and as successor m llllerest to   ) INTEREST TO CLAIMS OF PLAINTIFF'S
           t6        STEPHENSON, tndiVJdually and as successor m ) DECEDENT LEROY STEPHENSON
                     Decedent    Leroy~~~;          KEANDRE         . )
                     interest to Decedent Leroy Stephenson.           )
           L7
                                                                         )
       LS                       Plaintiffs,                              )
                                                                         )
     19                        vs.
                                                                         )
                                                                         )
 20                 STATE OF CALIFORNIA; and DOES l                     )
 21                 through 100, inclusive,                             )
                                                                        )
 22                           Defendants.
 23

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                 Ill
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27               Ill
28              Ill
                    DECLARATION OF DEVONTE STEPHENSON REGAIWING STANDJN(lt\S ${JCCE~~ORJN
                         INTEREST TO CLAIMS OF PLAINTIFF'S DECEDENT LE.ROYSTEJ>HENSON
                                                                            I   .   .                           -




                                                                        Ex. 8
                                                                        047
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 48 of 201 Page ID #:48




   ,. \

            l                        1) I am the successor in interest of Leroy Stephenson, deceased. All matters in this
            2
                     declaration are true of my own knowledge.
            3
                                     2) I am the legal and natural son of Decedent Leroy Stephenson.
            4

            5                        3) The decedent's name is Leroy Stephenson.

            6                       4) Leroy Stephenson died on January 25, 2019 in Riverside, California. A certified
            7
                     copy of the decedent's death certificate is attached as Exhibit "A" and incorporated by reference.
            8
                                     5) No proceeding is now pending in California for administration of the decedent's
            9

          LO        estate.

          ll                        6) I am the decedent's successor in interest, as defined in Code Civ. Proc.§

          L2         377.11, and succeed to the decedent's interest in this action.
          L3
                                    7) I am authorized to act on behalf of the decedent's successor in interest, as
          L4
                     defined in Code Civ. Proc.§ 377.11, with respect to ~he decedent's interest in this action.
          LS
                                     8) No other person has a superior right to commence the action or be substituted
          l6

          t1         for the decedent in the action, although Linden Stephenson and Keandre Stephenson, also have the right
          18        to proceed as successors in interest in this matter.
          19
                                     I declare under penalty of perjury under the laws of the State of California that the foregoing is
          20

          21
                    true and correct.

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          23
                    Dated:                                                                                                                   <V~.b~
                                                                                                                                              · Devonte Stepheisoi{                                              ·
   I      24

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                         DECLARATION OF DEVONTE STEPHENSON REGARDING STANDING AS SUCCESSOR IN
                              INTEREST TO CLAIMS OF PLAINTIFF'S DECEDENT LEROY SJ'EPHENSON
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                                                                                                                                  Ex. 8
                                                                                                                                  048
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 49 of 201 Page ID #:49




                               EXHIBIT A




                                     Ex. 8
                                     049
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 50 of 201 Page ID #:50




                                     Ex. 8
                                     050
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 51 of 201 Page ID #:51




                                     Ex. 8
                                     051
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 52 of 201 Page ID #:52




                                EXHIBIT 9




                                     Ex. 9
                                     052
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 53 of 201 Page ID #:53




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    Gregory Peacock, Esq. (SBN 277669)                                              DEC 18 2019
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  LO   Attorneys for Plaintiffs Devonte Stephenson, Linden Stephenson, and Keandre Stephenson

  Ll                         SUPERIOR COURT FOR THE STATE OF CALIFORNIA
                                        COUNTY OF RIVERSIDE
  L2
  LJ   DEVO~ ~TEPHENSON, individually and as       ) Case No. .~ \ C(_ 0 (p_ (               '7:)--t-
       successor m interest to Decedent Leroy      ) DECLARATION OF LINDEN STEPHENSON
  L4   ~tep~enson; LINDEN STEP~SON,.               ) REGARDING STANDING AS SUCCESSOR IN
  ts   mdtvtdually and as successor m mrerest to   ) INTEREST TO CLAIMS OF PLAINTIFF'S
       Decedent Leroy ~te~h~nson; KEANDRE . . ) DECEDENT LEROY STEPHENSON
  L
   6
       STEPHENSON, individually and as successor,m )
       interest to Decedent Leroy Stephenson.      )
  L7                                                  )
              Plaintiffs,                             )
  LB                                                  )
              vs.                                     )
 19
                                                      )
  20   STATE OF CALIFORNIA; and DOES 1                )
  21   through 100, inclusive,                        )
                                                      )
  22          Defendants.
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           DECLARATION OF LINDEN STEPHENSON REGARDING STANDING AS SUCCESSOR IN
            .  INTEREST TO CLAIMS OF PLAINTIFF'S DECEDENT LEROY STEPHENSON
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                                                    Ex. 9
                                                    053
  Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 54 of 201 Page ID #:54




.,··'.   ~




                                 1) I am the successor in interest of Leroy Stephenson, deceased. All matters in this
                  1

                  2    declaration are true of my own knowledge.
                  3              2) I am the legal and natural son of Decedent Leroy Stephenson.
                  4
                                 3) The decedent's name is Leroy Stephenson.
                  5
                                4) Leroy Stephenson died on January 25, 2019 in Riverside, California. A certified
                  6

                  7
                      copy of the decedent's death certificate is attached as Exhibit "A" and incorporated by reference.

              8                 5) No proceedingis now pending in California for administration of the decedent's

              9       estate.
             LO
                                6) I am the decedent's successor in interest, as defined in Code Civ. Proc. §
             11
                      377.11, and succeed to the decedent's interest in this action.
             12

             L3
                                7) I am authorized to act on behalf of the decedent's successor in interest, as

             L4       defined in Code Civ. Proc.§ 377.U, with respect to the decedent's interest in this action.
             LS
                                8) No other person has a superior right to commence the action or be substituted
             L6
                      for the decedent in the action, although-Devonte Stephenson and Keandre Stephenson, also have the
             L7
                      right to proceed as successors in interest in this matter.
             L8

             19                 I declare under penalty of perjury under the laws· of the State of California that the foregoing is
             20       true and correct.
             21

             22       Dated: \~ ,~ \ \~                                        ~ .
                                                                               Linden Stephenson
         23

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                        DECLARATION OF LINDEN STEPHENSON REGARDING STANDING AS SUCCESSOR IN
                            INTEREST TO CLAIMS OF PLAINTIFF'S DECEDENT LEROY STEPHENSON
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                                                                         054
    Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 55 of 201 Page ID #:55


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                                   EXHIBIT A




                                         Ex. 9
                                         055
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 56 of 201 Page ID #:56




                                     Ex. 9
                                     056
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 57 of 201 Page ID #:57




                                     Ex. 9
                                     057
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 58 of 201 Page ID #:58




                                EXHIBIT 10




                                    Ex. 10
                                     058
    Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 59 of 201 Page ID #:59



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      4
           Los Angeles, California 90045                                  SUPERIOR COURT OF CALIFORNIA
           Telephone: (310) 659-8166                                          coumv  OF RIVERSIDE

      5
           Gregory Peacock, Esq. (SBN 277669)
                                                                                      DEC 18 2019
      6    LAW OFFICE OF GREGORY PEACOCK
           4425 Jamboree Road, Suite 130                                           M.Pre~
      7
           Newport Beach, CA 92660
      B    Telephone: (949) 292-7478
           Email: gregorypeacockesq@gmaiJ.com
      9
     L     Attorneys for Plaintiffs Devonte Stephenson, Linden Stephenson, and Keandre Stephenson
      O

     ll                          SUPERIOR COURT FOR THE STATE OF CALIFORNIA
                                            COUNTY OF RIVERSIDE
     l2
     L3    DEVO~ ~TEPHENSON, individually and as )            Case No.    <1plc l°l
                                                                               D la l       O=t-
           successor minterest to Decedent ~ y            )   DECLARATION OF KEANDRE STEPHENSON
     t4    ~tep~enson; LINDEN STEP~SON,                   )   REGARDING STANDING AS SUCCESSOR IN
     ts    mdividually- and as-successor m intereSt to    )   INTEREST TO CLAIMS OF PLAINTIFF'S'
           Decedent Leroy ~te~h!nson; KEANDRE          .. )   DECEDENT LEROY STEPHENSON
     L
      6
           STEPHENSON; individually and as successor m )
           interest to Decedent Leroy Stephenson.         )
     17                                                   )       '




                  Plaintiffs,                             )
     L8                                                   )   '       '


                  vs.                                     )
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                                                          )
     20    STATE OF CALIFORNIA; and DOES l                )
           through 100, inclusive,                        )
     21                                                   )
     2'2          Defendants.
     23

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     28    Ill
             DECLARATION OF KEANDRE STEPHENSON REGARDING STANDING AS SUCCESSOR IN
                  INTEREST TO CLAIMS OF PLAINTIFF'S DECEDENT LEROY STEPHENSON
                                                                      1




                                                        Ex. 10
                                                         059
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 60 of 201 Page ID #:60



...

            1
                           1) lam the successor in interest of Leroy Stephenson, deceased. All matters in this
            2
                 declaration are true of my own knowledge.
           3
                           2) I am the legal and natural son of Decedent Leroy Stephenson.
           4

           5               3) The decedent's name is Leroy Stephenson.
           6               4) Leroy Stephenson died on January 2S, 2019 in Rive~side, California. A certified
           7
                ·copy of the decedent's death certificate is attached as Exhibit "A" and incorporated by reference.
           8
                          5) No proceeding is now pending in California for administration of the decedent's
           9

       LO       estate.

       Ll                 6) I am the decedent's successor in interest, as defined in Code Civ. Proc.§
       L2
                377.11, and succeed to the decedent's interest in this action.
       l3
                          7) I am authorized to act on behalf of the decedent's successor in interest, as
       l4
                defined in Code Civ. Proc.§ 377.11, with respect to the decedent's interest in this action.
       l5

       L6                 8) No other person has a superior right to commence the action or be substituted

       L7       for the decedent in the action, although Linden Stephenson and Devonte Stephenson, also have the right
      18
                to proceed as successors in interest in this matter.
      19

      20
                          I declare under penalty of perjury under the laws of the State of California that the foregoing is

      21        true and correct.

      22

      23
                Dated:                                               /411<Jk
                                                                    /2dre
                                                                                           &(__---...
                                                                                  Stephenson
      24

      25

      26

      27

      28

                 DECLARATION OF KEANDRE STEPHENSON REGARDING STANDING AS SUCCESSOR IN
                      INTEREST TO CLAIMS OF PLAlNTIFF'S DECEDENT LEROY STEPHENSON
                                                                        2




                                                                  Ex. 10
                                                                   060
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 61 of 201 Page ID #:61



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                               EXHIBIT A




                                    Ex. 10
                                     061
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 62 of 201 Page ID #:62




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                                     062
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 63 of 201 Page ID #:63




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                                    Ex. 10
                                     063
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 64 of 201 Page ID #:64




                                EXHIBIT 11




                                    Ex. 11
                                     064
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 65 of 201 Page ID #:65




            XAVIER BECERRA
            Attorney General of California
                                                                                     FILED
                                                                                Superior Court of California
        2   RICHARDF; WOLFE                                                        County of Riverside
            Supervising Deputy Attorney General                                         2/20/2020
        3   DOUGLAS E. BAXTER                                                           K. Garcia
            Deputy Attorney General
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        9   Attorneys for Defendant                                          Section 6103
            State of California, by and through the California
       10   Highway Patrol

       11                       SUPERIOR COURT OF THE STATE OF CALIFORNIA

       12                        COUNTY OF RIVERSIDE - RIVERSIDE DIVISION

       13
       14   DEVONTE STEPHENSON, individually                          Case No. RIC1906I37
            and as successor in interest to Decedent
       15   LEROY STEPHENSON; LINDEN                                DEFENDANT STATE OF CALIFORNIA,
            STEPHENSON, individua11y and as                         BY AND THROUGH THE CALIFORNIA
       16   successor in interest to Decedent LEROY                 HIGHWAY PATROL'S NOTICE OF
            STEPHENSON;KEANDRE                                      DEMURRER AND DEMURRER TO
       17   STEPHENSON, individually and as                       . PLAlt~TIFFS DEVONTE STEPHENSON,
            successor in interest to Decedent LEROY                 LINDEN STEPHENSON AND KEANDRE
       18   STEPHENSON,                                             STEPHENSON'S COMPLAINT

       19                                           Plaintiffs,       Date:        March 18, 2020
                                                                      Time:        8:30 a.1n.
      20                   V,                                         Dept:        1
                                                                      Judge:       The Honorable Craig G. Riemer
      21                                                              Trial Date: TBD
            STATE OF CALIFORNIA; and DOES 1                           Action Filed: December 18; 2019
      22    through 100, inclusive,

      23                                         Defendants.

      24

      25          TO ALLPARTIES AND THEIR COUNSEL OF RECORD: PLEASE TAKE NOTICE

      26    that on March 18, 2020 at 8:30 a.m., in Department 1 of the above entitled Court located at 4050

      27    Main Street, Riverside, CA 92501, defendant State of California by and through the California

      28    Highway Patrol, will, and hereby does, jointly and severally demur to the Complaint inthis
                                                                  1
                                      Defend ant's Notice of Demurrer and Demurrer to Plaintiffs' Comp laint (RIC 1906137)




                                                   Ex. 11
                                                    065
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 66 of 201 Page ID #:66




        l   matter and each purpo1ted cause of action stated therein by Plaintiffs' Devonte Stephenson,

        2   Linden Stephenson and Keandre Stephenson.

        3         This demurrer shall be based upon this notice of demurrer and demmTer, the points and

        4   authorities submitted concurrently, the request for judicial notice and certified Government Claim

        5   documents submitted therewith, and the Declaration of Douglas E. Baxter, in addition to all

        6   pleadings filed in this matter.

        7         FULFILLMENT OF MEET-AND-CONFER REQUIREMENT

        8         This demurrer is brought after defendant's counsel telephonically met and conferred with

        9   plaintiff's counsel on Febrnary 6, 2020, and February 11, 2020, in good faith pursuant to section

       10   430.41 of the Code of Civil Procedure to try to resolve the objections raised by the demurrer.

       11   After discussing the issues, the parties were unable to resolve the objections raised by the

       12   demurrer. (See Declaration of Douglas E. Baxter in Supp01t of DemmTer by Defendant State of

       13   California (by and through the California Highway Patrol, filed concurrently.)
       14- -~DEMURRER TO COMPLAINT

       15         General Demurrer: Plaintiffs' complaint against defendant State of California by and

       16   through the California Highway Patrol fails to state facts sufficient to state a cause of action.

       17   (Cal. Civ. Proc. Section 430.lO(e).)

       18         Demurrer as to Second Cause of Action: The second cause of action ("False

       19   Arrest/False Imprisonment") is barred in its entirety as against this defendant because plaintiffs

       20   do not adequately allege compliance with the Government Claims Act, and also because plaintiffs

       21   did not present a government claim for survival damages. Accordingly, the second. cause of

       22   action fails to state facts sufficient to constitute a cause of action as to defendant State of

       23   Califotnia by and through the California Highway Patrol. (Cal. Civ. Proc. Section 430.lO(e).)

       24         Demurrer as to Fourth Cause of Action: The fourth cause of action ("Battery") is barred

       25   in its entirety as against this defendant because plaintiffs do not adequately allege compliance

       26   with the Government Claims Act, and also because plaintiffs did not present a government claim

       27   for survival damages. Accordingly, the second cause of actfon fails to state facts sufficient to

       28
                                                                2
                                       Defendant's Notice of Demurrer and DemmTer to Plaintiffs' Complaint (RICI 906137)




                                                   Ex. 11
                                                    066
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 67 of 201 Page ID #:67




            constitute a cause of action as to defendant State of California by and through the California

       2    Highway Patrol. (Cal. Civ. Proc. Section430.10(e).)

       3          Demurrer as to Fifth Cause of Action: The fifth cause of action ("Violation of Cal. Civil

       4    Code § 52.1 ") is ban-ed in its entirety as against this defendant because plaintiffs do not

       5    adequately allege compliance with the Government Claims Act, and also because plaintiffs did

      · 6   not present a government claim for survival damages. Accordingly, the second cause ?faction

       7    fails to state facts sufficient to constitute a cai.1se of action as to defendant State of California by

       8    and through the California Highway Patrol. (Cal. Civ. Proc. § 430.10( e).)

       9          INFOR1VIATION REGARDING TENTATIVE RULINGS
      10          The Court will make a tentative ruling on the merits of this matter by 3:00 p.m. on the court

      11    day prior to the hearing. Tentative rulings Will be available on the Internet or by calling 1-760-

      12    904-5722. To view go to: http://www.riverside.courts.ca.gov and click on the tentative ruling

      13    link. The tentative ruling shall become the ruling of the Comi unless, by 4:30 p.m. on the court

      14    day before the scheduled hearing,    a party gives notice of intent to appear to all parties and the
      15    comi. The notice of intent to appear must be given either in person or by telephone. Where notice

      16    of intent to appear has been properly given, or upon djrection of the Comi, oral argument will be

      17    permitted.

      18    Dated: February 19, 2020                                  Respectfully Submitted,

      19                                                               XAVIER BECERRA
                                                                      Attotney General of California
      20                                                              RICHARD F. WOLFE
                                                                      Supervising Deputy Attorney General
      21

      22

      23
                                                                      TIM J. VANDENHEUVEL
      24                                                              Deputy Attorney General
                                                                      Attorneys for ·
      25                                                              State of California, by and through the
                                                                      California Highway Patrol
      26
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                                                     Ex. 11
                                                      067
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 68 of 201 Page ID #:68




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             E-mail: Tim.VandenHeuvel@doj.ca.gov                           No Fee Pursuant to Government Code
        9   Attorneys for Defendant                                        Section 6103
            State of California, by and through the
       10   Caltfornia Highway Patrol

       11                      SUPERIOR COURT OF THE STATE OF CALIFORNIA
       12                       COUNTY OF RIVERSIDE - RIVERSIDE DIVISION
      13
       14   DEVONTE STEPHENSON, individually                      Case No. RIC1906137
            and as successor in interest to Decedent
       15   LEROY STEPHENSON; LINDEN                              DEFENDANT STATE OF CALIFORNIA,
            STEPHENSON, individually and as                       BY AND THROUGH THE
       16   successor in interest to Decedent LEROY               CALIFORNIA HIGHWAY PATROL'S
            STEPHENSON;KEANDRE                                    MEMORANDUM OF POINTS AND
       17   STEPHENSON, individually and as                       AUTHORITIES IN SUPPORT OF
            successor in interest to Decedent LEROY               DEMURRER TO PLAINTIFFS'
      18    STEPHENSON,                                           DEVONTE STEPHENSON, LINDEN
                                                                  STEPHENSON AND KEANDRE
      19                                            Plaintiffs,   STEPHENSON'S COMPLAINT

      20                  v,                                      Date:        March 18, 2020
                                                                  Time:        8:30 a.m.
      21                                                          Dept:        1
            STATE OF CALIFORNIA; and DOES 1                       Judge:       The Honorable Craig G. Riemer
      22    through 100, inclusive,                               Trial Date: TBD
                                                                  Action Filed: December 18, 2019
      23                                         Defendants.

      24

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                 Defendant State of California's Memorandum of Points and Authorities in Support ofDemurrer to Complaint
                                                                                                         (RIC1906137)




                                                    Ex. 11
                                                     068
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 69 of 201 Page ID #:69




                                                                TABLE OF CONTENTS

        2                                                                                                                                              Page
        3   Introduction ..................................................................................................................................... 4
            Summary of Claims ................................................................................... :.................................... 4
        4
            Summary of Demurrer .................................................................................................................... 5
        5
            Discussion ....................................................................................................................................... 6
        6              I.         Any Cause of Action Based upon a Survival Claim Based on State Law is
                                  Barred by Plaintiffs' Failure to Present a Claim for Survival Damages ................. 6
        7              II.        Plaintiffs Second Cause of Action for "False Arrest/False Imprisonment"
                                  Should Be Dismissed Without Leave to Amend ..................... .-............................... 9
        8
                       III.       Plaintiffs Fourth Cause of Action for "Battery" Should Be Dismissed
        9                         Without Leave to Amend ...................................................................................... 11
                       IV.        Plaintiffs Fifth Cause of Action for "Violation of Cal. Civil Code § 52. l"
       10
                                  Should Be Dismissed Without Leave to Amend ................................................... 11
       11   Conclusion .................................................................................................................................... 12

       12

       13

       14

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                     Defendant State of California's Memorandum of Points and Authorities in Support of Demurrer to Complaint
                                                                                                              (RICl906137)




                                                                    Ex. 11
                                                                     069
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 70 of 201 Page ID #:70




        1                                                          TABLE OF AUTHORITIES

        2

        3   CASES

        4   Bay Area Rapid Transit Dist. v Superior Court
                  (1995) 38 Cal.App.4th 141 ....................................................................................................... 13
        5
            Medrano v Kern County Sherif.f's Qffice
        6
                  (2013) 921 F.Supp.2d 1009 ....................................................................................................... 13
        7
            Nelson v. County ofLos Angeles
        8         (2003) 113 Cal.App.4th 783 ............................................................................................. passim

        9   Quiroz v. Seventh Ave. Center
                  (2006) 140 Cal.App.4th 1256 ............................................................................................... 8, 11
       10
            State of California v. Superior Court (Rodde)
       11
                  (2004) 32 Cal.4th 1234 ............................................................................................................... 7
       12
            STATUTES
       13
            California Civil Code § 52.1 ............................................................................................. 6, 7, 12, 13
       14
            California Code of Civil Procedure
       15      § 377.34 ................................................................................................................................... 8, 9
               § 377.61 ................................................................................................................................... 8, 9
       16
               § 430.10, subd. (e) ..................................................................................................... 6, 11, 12, 13
       17
            California Government Claims Act
       18      § 945.4 ................................................................................................................................ passim
               § 950.2 ....................................................................................................................... 7, 11, 12, 13
       19
            California Government Code§ 910.8 .............................................................................................. 10
       20
            CONSTITUTIONAL PROVISIONS
       21
            United States ConstitutionFourth Amendment .............................................................................. 13
       22
            OTHER AUTHORITIES
       23

       24   5 Witkin, Summary of California Law (l 0th ed. 2005) Torts
               §§ 381-416 ....................... , .......................................... ,............................................................... 12
       25      §§ 434-440 ........................................................ ,......................................................................... 11

       26   Judicial Council of California Civil Jury Instructions
               No. 1300 ........................... ,,., ........................ , ..._•................_........ ,............................... , ....... ,.......... 12
       27      No. 1401..............-.............._........................................ , ..................... ,, ..._, ..................:,, ..................,..... JJ
       28
                                                                                            3
                      Defendant State of California's Memorandum of Points and Authorities in Support of Demurrer to Complaint
                                                                                                               (RIC1906137)




                                                                         Ex. 11
                                                                          070
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 71 of 201 Page ID #:71




                                                           TABLE OF AUTHORITIES
                                                                 (continued)
        2
        3   Weil & Brown, Cal. Practice Guide: Civil Procedure Before Trial {The Rutter
              Group 2012) if 6:137 ............................................................................................................... 7, 8
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                     Defendant State of California's Memorandum of Points and Authorities in Support of Demurrer to Complaint
                                                                                                              (RIC1906137)




                                                                Ex. 11
                                                                 071
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 72 of 201 Page ID #:72




                       Defendant State of California, by and through the California Highway Patrol ("CHP"),

        2   respectfully submits this memorandum of points and authorities in support of its demurrer to the

        3   complaint.

        4                                                  INTRODUCTION

        5              On January 25, 2019, defendant California Highway Patrol received reports of a man

        6   (decedent Leroy Stephenson) walking in or near the westbound traffic lanes on the 91 Freeway at

        7   Adams Street near Riverside. A CHP officer arrived to find Stephenson on the off-ramp and tried

        8   to get him out of the lanes, but decedent instead ran towards the freeway. In an effort to prevent

        9   the pedestrian from running into traffic lanes, the officer deployed his Taser. Decedent appeared

       10   to lose consciousness and was later pronounced dead atParkview Community Hospital in

       11   Riverside. This action is brought by decedent's three surviving sons, Devonte Stephenson,

       12   Keandre Stephenson, and Linden Stephenson, who sue for damages related to the loss of their

       13   father.

       14                                             SUMMARY OF CLAIMS

       15         The first cause of action is labeled "Wrongful Death". It is brought against the California

       16   Highway Patrol and DOES 1.:.20, all alleged to be peace officers employed by the California

       17   Highway Patrol. It generically alleges unlawful use of force against decedent. Damages sought

       18   include "the loss of the society, comfort, solace, society and love of decedent,'' as well as special

       19   damages including funeral/burial. (Cornpl. ,i 25.) Plaintiffs also seek an award of punitive

      20    damages, (CompL ,i 26.)

      21          The second cause of action is labeled "False Arrest/False Imprisonment." It is brought

      22    against the California Highway Patrol and DOES 1-20, all alleged to be peace officers employed

      23    by the California Highway Patrol. It generically alleges unlawful use of force against decedent.

      24    Damages sought include "survival damages" including decedent's physical and mental pain and

      25    suffering~ loss oflife, loss of enjoyment of life, and wrongful death." (Compl. ,i 35.) Plaintiffs

      26    also seek an award of punitive damages. (Compl. ,i 36.)

      27          The third cause of action is labeled "Negligence." It is brought against the California

      28    Highway Patrol and DOES l-20, all alleged to be peace officers employed by the California
                                                                     5                     .
                      Defendant State of California's Memorandum of Points and Authorities in Support of Demurrer to Complaint
                                                                                                               (RICI906137)




                                                         Ex. 11
                                                          072
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 73 of 201 Page ID #:73




            Highway Patrol. It generically alleges that negligent training led to negligent detention and use of

      .2    force against decedent. Damages alleged include decedent's "severe pain and suffering" and

        3   plaintiffs' emotional distress, mental anguish, and special damages including medical bills.

        4   (Compl.    ,r 40.)
        5         The fourth cause of action is labeled "Battery." It is brought against the California

        6   Highway Patrol and DOES 1-20, all alleged to be peace officers employed by the California

        7   Highway Patrol. It alleges that defendants "intentionally killed Decedent Leroy Stephenson and

        8   used unreasonable and excessive force against him." Damages alleged include decedent's

        9   "severe pain and suffering" and plaintiffs' emotional distress, mental anguish, and special

       10   damages including medical bills. (Compl.       ,r,r 45, 46.)   Plaintiffs also seek an award of punitive

       11   damages. (Compl.     ,r 48.)
       12         The fifth cause of action is labeled "Violation of Cal. Civil Code § 52.1.'' This section is

       13   also known as the Tom Bane Civil Rights Act. It is _brought against the California Highway

       14   Patrol and DOES 1-20, all alleged to be peace officers employed by the California Highway

       15   Patrol. It alleges that defendants interfered with decedent civil rights and liberties. Damages

       16   alleged include decedent's "loss oflife, loss of enjoyment oflife, and wrongful death damages for

       17   the violation of Decedent Leroy Stephenson's rights." (Compl.           ,r 55.)   Plaintiffs also seek awards

       18   of treble and punitive damages. (Compl. ,r,r 56, 57.)

       19                                      SUMMARY OF DEMURRER
       20         This demurrer is brought under Code of Civil Procedure section 430.10, subdivision (e), on

       21   the ground plaintiffs cannot state any claim for relief under three of the five causes of action

       22   pleaded. This demurrer is filed concurrently with defendant's motion to strike, requesting that all

       23   claims for survival damages be stricken from the complaint. In support of its demurrer, defendant

       24   interposes the following objections.

       25         1.      The second cause of action ("False Arrest/False Imprisonment") is barred in its

       26   entirety as against defendant because plaintiffs do not adequateiy allege compliance with the

       27   Government Claims Act, and also because plaintiffs did not present a government claim for

       28   survival damages.
                                                                 6
                  Defendant State of California's Memorandum of Points and Authorities in Support of Demurrer to Complaint
                                                                                                           (RICI906137)




                                                    Ex. 11
                                                     073
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 74 of 201 Page ID #:74




                  2.       The fourth cause of action ("Battery") is barred in its entirety as against defendant

        2   because plaintiffs do not adequately allege compliance with the Government Claims Act, and also

        3   because plaintiffs did not present a government claim for survival damages.

        4         3.       The fifth cause of action ("Violation of Cal. Civil Code § 52.1 ") is barred in its

        5   entirety as against defendant because plaintiffs do not adequately allege compliance with the

        6   Government Claims Act, and also because plaintiffs did not present a government claim for

        7   survival damages.

        8                                                 DISCUSSION

        9   I.    ANY CAUSE OF ACTION BASED UPON A SURVIVAL CLAIM BASED ON STATE LAW IS
                  BARRED BY PLAINTIFFS' FAILURE TO PRESENT A CLAIM FOR SURVIVAL DAMAGES
       10

       11         A claim for wrongful death damages and a claim for survival damages are not the same.

       12   The claimant in a wrongful death action is a statutorily-designated heir who seeks personal

       13   damages resulting from the death of the decedent. On the other hand, the claimant in a survival

       14   action is the decedent and the action is brought by the personal representative of the decedent's

       15   estate. Therefore, separate government claims must be presented even if the wrongful death

       16   claimant and the personal representative are the same person.

       17         Here, plaintiffs fail to allege sufficient facts demonstrating or excusing compliance with the

       18   claim requirements as to decedent Leroy Stephenson's estate's survival claims. In addition, the

       19   claim documents confirm that no claim for survival damages was ever presented1•

       20         It is weli established that a lawsuit for money or damages against a public entity or public

       21   employee is barred if the claimant does not comply with the claim requirements of the California

       22   Government Claims Act. (Gov. Code,§§ 945.4 [entity], 950.2 [employee].) With respect to

       23   pleading requirements, "plaintiff must allege facts demonstrating or excusing compliance with the

       24   claim presentation requirement." (State of California v. Superior Court (Bodde) (2004) 32

       25   Cal.4th 1234, 1243.) Moreover, the facts alleged must be specific. "Notwithstanding this general

       26   policy of liberality, there are certain cases in which a stricter pleading standard is required[.]"

       27
                       1
                     Defendant has submitted certified claim forms and requests judicial notice of same
       28   pursuant to the concurrently filed Request for Judicial Notice.
                                                                  7
                   Defendant State of California's Memorandum of Points and Authorities in Support of Demurrer to Complaint
                                                                                                            (RIC1906137)




                                                     Ex. 11
                                                      074
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 75 of 201 Page ID #:75




            (Weil & Brown, Cal. Practice Guide: Civil Procedure Before Trial (The Rutter Group 2012) ,r

        2   6: 13 7, p. 6-42.) Among these are claims against governmental entities. "To state a cause of

        3   action against a governmental entity, 'every fact essential to the existence of statutory liability

        4   must be pleaded with particularity, including the existence of a statutory duty.'" (Id. at ,r

        5   6: 199.11, p. 6-60.2 [1st ,r]; citing Searcy v. Hemet Unified School Dist. (1986) 177 Cal.App.3d

        6   792, 802; emphasis in original.) This rnle also applies to facts demonstrating or excusing

        7   compliance with the claim requirements. (Weil & Brown at ,r 6:199.11, p. 6-60.2 [2nd ,r].)

        8         The facts alleged must also demonstrate compliance or excuse as to each claimant. "Where

        9   two or more persons suffer separate and distinct injuries from the same act or omission, each

       10   person must submit a claim, and one cannot rely on a claim presented by another." (Nelson v.

       11   County ofLos Angeles (2003) 113 Cal.App.4th 783, 796.) A claim for survival damages is such a

       12   separate and distinct claim. "Unlike a cause of action for wrongful death, a survivor cause of

       13   action is not a new cause of action that vests in the heirs on the death of the decedent. It is instead

       14   a separate and distinct cause of action which belonged to the decedent before death but, by

       15   statute, survives that event." (Quiroz v. Seventh Ave. Center (2006) 140 Cal.App.4th 1256,

       16   1264.)

       17         Nelson makes clear that a government claim for wrongful death damages does not satisfy

       18   the requirement of a government claim for survival damages. (Nelson, 113 Cal.App.4th at pp.

       19   796-799.) In fact, wrongful death damages and survival damages are by statute mutually

       20   exclusive. (Code Civ. Proc., § 377.61 ["In an action under this article, damages ... may not

       21   include damages recoverable under Section 377.34"].)

      22          In this case, the three challenged claims assert solely wrongful death damages consisting of

       23   "loss of income and support, burial fees and expenses, loss of familial relationship, emotional

       24   distress, and attorney fees and legal costs." None of the government claim forms submitted in

       25   this case name the Estate of Leroy Stephenson, or state that the estate is seeking survival

       26   damages, defined as "loss or damage that the decedent sustained or incurred before death,

       27   including any penalties or punitive or exemplary damages that the decedent would have been

       28   entitled to recover had the decedent lived." (Code Civ. Proc., § 377.34.)
                                                                    8
                     Defendant State of California's Memorandum of Points and Authorities in Support of Demurrer to Complaint
                                                                                                              (RICI906137)




                                                       Ex. 11
                                                        075
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 76 of 201 Page ID #:76




                  Defendants request the court take judicial notice of the claim documents submitted in this

       2    matter. (See Defs.' Request for Jud. Notice.) As can be seen from the certified claim documents,

       3    plaintiffs Devonte Stephenson, Linden Stephenson and Keandre Stephenson each presented a

       4    claim for wrongful death damages. (Id. at CHP0006- CSU0007 [Devonte Stephenson's claim

        5   documents] and CHP0015-CSU0016 [Linden Stephenson's claim documents], and CHP 00024

       6    - CHP0025 [Keandre Stephenson's claim documents.) There is not a separate claim by Leroy

       7    Stephenson's estate.

        8         The claims presented by the plaintiffs in the case at bar are almost identical to the claim

       9    presented by the plaintiff in Nelson v. County of San Diego: "Mrs. Nelson's claim identified her

       10   as the claimant ('Lottie Nelson') and did not suggest her claim was made in any sort of

      11    representative capacity." (Nelson, 113 Cal.App.4th at p. 786 fn. 9.) Here, each individual

       12   plaintiff named himself as the only claimant ("Devonte Stephenson," "Linden Stephenson,"

      13    Keandre Stephenson") arid similarly did not suggest their claims were made in any sort of

       14   representative capacity. (Id. at CHP0006- CSU0007 [Devonte Stephenson's claim documents]

      15    and CHP0015- CSU0016 [Linden Stephenson's claim documents], and CHP 00024 ~ CHP0025

      16    [Keandre Stephenson's claim documents.) There is not a separate claim by Leroy Stephenson's

       17   estate.

      18          Where the claim form in Nelson asked for a list of damages incurred to date, Mrs. Nelson

       19   listed wrongful death damages of 'loss of son, economic losses, emotional and mental injuries, all

      20    subject to proof." (Nelson, 113 Cal.App.4th at p. 786 fn. 9.) In this case, the uniform response of

      21    the three claims were "loss of income and support, burial fees and expenses, loss of familial

      22    relationship, emotional distress, and attorney fees and legal costs." (Id. at CHP0006 - CSU0007

      23    [Devonte Stephenson's claim documents] and CHP0015-CSU0016 [Linden Stephenson's claim

      24    documents], and CHP 00024-CHP0025 [Keandre Stephenson's claim documents.) These again

      25    are all items of wrongful death damages pursuant to Code of Civil Procedure section 377 .61. The

      26    claim f01ms submitted in this matter do not seek survival damages, defined as "loss or damage

      27    that the decedent sustained or incmTed before death, including any penalties or punitive or

      28
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                      Defendant State of California's Memorandum of Points and Authorities in Support of Demurrer to Complaint
                                                                                                               (RICI906137)




                                                         Ex. 11
                                                          076
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 77 of 201 Page ID #:77




        1   exemplary damages that the decedent would have, been entitled to recover had the decedent

        2   lived." (Code Civ. Proc., § 377.34.)

        3         The Nelson court also addressed the issue of the "substantial compliance" doctrine, raised

        4   by plaintiffs on appeal. With regard to the "substantial compliance doctrine," plaintiff Lottie

        5   Nelson appealed the trial court's adverse summary adjudication of the survival causes of action

        6   (negligence, assault, and battery for the injuries decedent Dwayne Nelson suffered before his

        7   death) asserted on behalf of Dwayne's estate by Mr. and Mrs. Nelson as his personal

        8   representatives. Mrs. Nelson contended that her government tort claim-which shows her as the

        9   only claimant-substantially complied with the claim filing requirements. Nelson, supra, at 796

       10         Noting that the decedents estate had not filed a claim, the Nelson court stated:

       11         "Because this rule is based on the purpose of the claim statutes-which is to provide
                  sufficient information to enable the entity to adequately investigate claims and to
       12         settlement, if appropriate, without the expense oflitigation (Nguyen v. Los Angeles
                  County Harbor/UCLA Medical Center, supra, 8 Cal.App.4th at p. 734}-the statutory
       13         requirements have not been met by the person who has not filed a claim, and the
                  doctrine of substantial compliance (which applies only when there is a defect in form
       14         but the statutory requirements have otherwise been met) does not apply."

       15   (Nelson, supra, at 797 .)

       16         Finally, the Nelson court rejected the theory that the government had a duty to inform

       17   plaintiff Lottie Nelson that her claim was insufficient based upon its not claiming survival

       18   damages. "We summarily reject Mrs. Nelson's related contention that the County was required to

       19   notify her that her claim form was insufficient. A public entity's duty to notify a claimant that the

      20    claim form is "defective" necessarily presumes the defect is disclosed on the face of the form.

      21    (Gov. Code, § 910.8.) The problem here is not that Mrs. Nelson's claim was defective, but that no

      22    claim at all was filed by or on behalf of Dwayne's estate." (Nelson, supra, at 798.)

      23          The Nelson case is directly applicable precedent to the case at bar. Plaintiffs cam1ot

      24    truthfully allege facts showing that a claim for survival damages was presented. The "substantial

      25    compliance" doctrine will not allow plaintiffs to untimely assert survival claims. Nor is there a

      26    duty by a governmental entity to notify the estate of Leroy Stephenson of its failure to file a

      27    claim. Accordingly, any request for leave to amend to assert claim compliance and standing to

      28    bring survivor damage claims should be denied as futile.
                                                                 10
                  Defendant State of California's Memorandum of Points and Authorities in Support of Demurrer to Complaint
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                                                     Ex. 11
                                                      077
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 78 of 201 Page ID #:78




        1    II.   PLAINTIFFS SECOND CAUSE OF ACTION FOR "FALSE ARREST/FALSE
                   IMPRISONMENT" SHOULD BE DISMISSED WITHOUT LEAVE TO AMEND
        2

        3          In their second cause of action, plaintiffs allege that decedent Leroy Stephenson was falsely

        4    affested, "without probable cause or reasonable suspicion." (Compl.          ~   28.) A false arrest claim

        5·   can only be brought by the person falsely affested. (CACI No. 1401; 5 Witkin, Summary of

        6    California Law (10th ed. 2005) Torts§§ 434-440.) Accordingly, plaintiffs' second cause of

        7    action is a survival claim as opposed to a wrongful death claim.

        8          Plaintiffs' complaint specifically confirms that the second cause of action is a survival

        9    claim, stating that plaintiffs are bringing the claim as "successors-i11-interesf' to Decedent Leroy

       1o    Stephenson, and are seeking "survival damages, including physical and mental pain and

       11    suffering, loss of life, and loss of enjoyment of life" pursuant to this claim. (Compl.       ~   35.)

       12          As set forth in section I, infra., plaintiffs failed to file a government claim fmm allowing

       13    them to state a cause of action on behalf of the estate of Leroy Stephenson or seeking survival

       14    damages. "Where two or more persons suffer separate and distinct injuries from the same act or

       15    omission, each person must submit a claim, and one cannot rely on a claim presented by another."

       16    (Nelson v. County ofLos Angeles (2003) 113 Cal.App.4th 783, 796.) A claim for survival

       17    damages is such a separate and distinct claim. "Unlike a cause of action for wrongful death, a

       18    survivor cause of action is not a new cause of action that vests in the heirs on the death of the

       19    decedent. It is instead a separate and distinct cause of action which belonged to the decedent

      20     before death but, by statute, survives that event." (Quiroz v. Seventh Ave. Center (2006) 140

      21     Cal.App.4th 1256, 1264.)

      22           It is well established that a lawsuit for money or damages against a public entity or public

      23     employee is ba1Ted if the claimant does not comply with the claim requirements of the California

      24     Government Claims Act. (Gov. Code,§§ 945.4 [entity], 950.2 [employee].) Plaintiffs have not,

      25     and cannot, meet that requirement. As such, this demurrer is appropriately granted as the

      26     pleading does not state facts sufficient to constitute a cause of action. (Code Civ. Proc., §

      27     430.lO(e).) Additionally, since plaintiffs cannot truthfully allege facts showing that a claim for

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                   Defendant State of California's Memorandum of Points and Authorities in Support of Demurrer to Complaint
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                                                     Ex. 11
                                                      078
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 79 of 201 Page ID #:79




            survival damages was presented, the demurrer should be granted and leave to amend as to the

       2    second cause of action should be denied.

       3    III.   PLAINTIFFS FOURTH CAUSE OF ACTfON FOR "BATTERY" SHOULD BE DrSMISSED
                   WITHOUT LEAVE TO AMEND
       4

       5           In their fourth cause of action, plaintiffs allege that defendants "intentionally killed

       6    Decedent Leroy Stephenson and used unreasonable and excessive force against him." (Compl. ir

       7    42.) A battery claim can only be brought by the person touched with intent to cause harm. [CACI

        8   No. 1300; 5 Witkin, Summary of California Law (10th ed. 2005) Torts§§ 381-416.J

       9           Pursuant to this cause of action, plaintiffs seek surviv"l damages for decedent's "severe

       10   pain and suffering." (Comp 1. ,r 45.) Plaintiffs again plead that they are bringing the fourth cause

      11    of action "as successors-in-interest to decedent Leroy Stephenson." (Compl.            ,r 48.)   Accordingly,

       12   plaintiffs' fourth cause of action can only again be construed as a survival claim as opposed to a

      13    wrongful death claim.

      14           As set forth above, plaintiffs failed to file a government claim form allowing them to state a

      15    cause of action on behalf of the estate of Leroy Stephenson seeking survival damages. (Nelson v.

      16    County of Los Angeles (2003) 113 Cal.App.4th 783, 796.) It is well established that a lawsuit for

      17    money or damages against a public entity or public employee is barred if the claimant does not

      18    comply with the claim requirements of the California Government Claims Act. (Gov. Code, §§

       19   945.4 [entity], 950.2 [employee].) Plaintiffs have not, and cannot, meet that requirement. As

      20    such, this demurrer is appropriately granted as the pleading does not state facts sufficient to

      21    constitute a cause of action. (Code Civ. Proc.,§ 430.lO(e)) Since plaintiffs cannot truthfully

      22    allege facts showing that a claim for survival damages was timely presented, the demurrer should

      23    be granted and leave to amend as to the fourth cause of action should be denied.
      24    JV.    PLAINTCFFS FIFTH CAUSE OF ACTION FOR "VIOLATION OF CAL, CIVIL CODE§
                   52.1" SHOULD BE DISMISSED WITHOUT LEAVE TO AMEND
      25

      26           The fifth cause of action is labeled "Violation of Cal. Civil Code § 52.1." This section of

      27    the Civil Code is also known as the Tom Bane Civil Rights Act. It alleges that defendants
      28
                                                                  12
                   Defendant State of California's Memorandum of Points and Authorities in Support of Demurrer to Complaint
                                                                                                            (RIC1906137)




                                                      Ex. 11
                                                       079
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 80 of 201 Page ID #:80




            interfered with decedent civil rights and liberties. Plaintiffs seek awards of treble and punitive

        2   damages. (Compl. ~156, 57.)

        3         Based upon well established authority, plaintiffs lack standing to bring a Bane Act claim for

        4   wrongful death damages. As stated in Bay Area Rapid Transit Dist. v Superior Court (1995) 38

        5   Cal.App.4th 141:

        6         "The Bane Act is simply not a wrongful death provision. It clearly provides for a
                  personal cause of action for the victim of a hate crime. In Boccato v. City ofHermosa
        7         Beach (1994) 29 Cal. App. 4th 1797, 1809 [35 Cal. Rptr. 2d 282], the court held that
                  Civil Code section 52.1 must be read in conjunction with section 51.7, which
        8         provides that all persons have the right to be free from "violence, or intimidation by
                  threat of violence committed against their persons" because ofrace, color, religion,
        9         ancestry, etc. This reinforces the rational interpretation of the Bane Act, i.e., that it is
                  limited to plaintiffs who themselves have been the subject of violence or threats."
       10

       11   (Bay Area Rapid Transit Dist. v Superior Court (1995) 38 Cal.App.4th 141, declining standing of

       12   parents seeking to impose derivative liability for shooting of their son.)

       13         Courts have found that a Bane Act violation brought under the Fourth Amendment can be

       14   brought in the limited context of a survival action. (Medrano v Kern County Sheriff's Office

       15   (2013) 921 F.Supp.2d 1009.) However, plaintiffs failed to file a government claim form allowing

       16   them to state a cause of action on behalf of the estate of Leroy Stephenson seeking survival

       17   damages. (Nelson v. County ofLos Angeles (2003) 113 Cal.App.4th 783, 796.)

       18         It is well established that a lawsuit for money or damages against a public entity or public

       19   employee is ban-ed if the claimant does not comply with the claim requirements of the California

       20   Government Claims Act. (Gov. Code, §§ 945.4 [entity], 950.2 [employee].) Plaintiffs have not,

       21   and cannot, meet that requirement. As such, this demurrer is appropriately granted as the

       22   pleading does not state facts sufficient to constitute a cause of action. (Code Civ. Proc., §

       23   430.1 O(e).) Since plaintiffs cannot truthfully allege facts showing that a claim for survival

       24   damages was timely presented, the demmrer should be granted and leave to amend as to the fifth

       25   cause of action should be denied.

       26

       27

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                  Defendant State of California's Memorandum of Points and Authorities in Support of Demurrer to Complaint
                                                                                                           (RIC1906137)




                                                    Ex. 11
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Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 81 of 201 Page ID #:81




                                                         CONCLUSION

        2         The court should sustain defendant State of California's demurrer to the second, fourth and

        3   fifth ·causes of action in its entirety, These are all claims personal to decedent Leroy Stephenson,

        4   and no claim for survival damages can be stated because no government claim for survival

        5   damages was presented. Moreover, as plaintiffs cannot truthfully allege facts showing that a

        6   claim for survival damages was presented, leave to amend ·should be denied.

        7

        8   Dated: February 19, 2020                                  Respectfully Submitted,
        9                                                             XAVIER BECERRA
                                                                      Attorney General of California
       10                                                             RICHARDF. WOLFE
                                                                      Supervising Deputy Att?mey General
      11

      12

      13
                                                                      TIM J. V ANDEN HEUVEL
      14                                                              Deputy Attorney General
                                                                      Attorneys.for Defendant
      15                                                              State of California, by and through the
                                                                      Californict Highway Patrol
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                  Defendant State of California's Memorandum of Points and Authorities in Suppott ofDemun-er to Complaint
                                                                                                          (RIC1906137)




                                                     Ex. 11
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Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 82 of 201 Page ID #:82




            XAVIER BECERRA
            Attorney General of California
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            Deputy Attorney General
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             E-mail: Tim. VandenHeuvel@doj.ca.gov                            No Fee Pursuant to Government Code
        9   Attorneys for Defendant                                          Section 6103
            State of California, by and through the
       10   California Highway Patrol

       11                       SUPERIOR COURT OF THE STATE OF CALIFORNIA

       12                        COUNTY OF RIVERSIDE - RIVERSIDE DIVISION

       13

       14   DEVONTE STEPHENSON, individually                          Case No. RIC1906137
            and as successor in interest to Decedent
       15   LEROY STEPHENSON; LINDEN                                  DEFENDANT'S REQUEST FOR
            STEPHENSON, individually and as                           JUDICIAL NOTICE IN SUPPORT OF
       16   successor in interest to Decedent LEROY                   DEMURRER OF STATE OF
            STEPHENSON;KEANDRE                                        CALIFORNIA, BY AND THROUGH
       17   STEPHENSON, individually and as                           CALIFORNIA HIGHWAY PATROL TO
            successor in interest to Decedent LEROY                   PLAINTIFFS DEVONTE STEPHENSON,
       18   STEPHENSON,                                               LINDEN STEPHENSON AND KEANDRE
                                                                      STEPHENSON'S COMPLAINT
       19                                           Plaintiffs,
                                                                      Date:        March 18, 2020
      20                   v.                                         Time:        8:30 a,m.
                                                                      Dept:        1
      21                                                              Judge:       The Honorable Craig G. Riemer
            STATE OF CALIFORNIA; and DOES 1                           Trial Date: TBD
      22    through 100, inclusive,                                   Action Filed: December 18, 2019

      23                                         Defendants.

      24
      25          Pursuant to California Evidence Code sections 452, and 453., and California Rules of Court,

      26    Rule 3 .1306(c), defendant State of California, by and trn:ough the California Highway .Patrol

      27    respectfully request that the court take judicial notice of the following documents and information

      28    in support of Moving Defendants' demurrer to plaintiffs Devonte Stephenson, Lihden Stephenson
                                                                  1
                                 Defendant's Request for Judicial Notice in Support ofDemu1rnr to Complaint (RICl906137)




                                                    Ex. 11
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Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 83 of 201 Page ID #:83




        1   and Keandre Stephenson's complaint:

        2         Request Number 1: Three declarations of Government Claims Unit custodian of records

        3   Lindsey R. Goodwin, and ce1iified records thereto, [Devote Stephenson, CHP-0001 - 0009;

        4   Linden Stephenson, CHP-0010- 0026; Keandre Stephenson, CHP-0019- 0027] coITect and trne

        5   copies of which are attached hereto as Exhibit 1. This Request for Judicial Notice is made

        6   pursuant to Evidence Code, section 452, subdivision (c), because_the documents and information·

        7   pertain to official acts of the State. (See also Chas. L. Harney, Inc.     v. State of California (1963)
        8   217 Cal.App.2d 77, 85-86 [the trial comi and [appellate] court have the power to take judicial

        9   notice of the official records of the State Board of Control]; Fowler v. Howell (1996) 42

       10   Cal.App.4th 1746, 1752-1753 [courts may take judicial notice of declaration cf employee of

       11   board of control as to the claim file]; Hogen v. Valley Hospital (1983) 147 Cal.App.3d 119, 125

       12   [comis may take judicial notice ofrecords and files of a state administrative body].)

       13         Finally, the trial court shall take judicial notice of any matter specified in Evidence Code

       14   section 452, provided that the requesting pa1iy provides sufficient notice of the request and

       15   furnishes the comi with sufficient information to enable it to take judicial notice of the matter.
       16   (Evid. Code, § 453.)

       17
            Dated: February 19, 2020                                . Respectfully Subinitted,
       18
                                                                     XAVIER BECERRA
       19                                                            Attorney General of CaHfornia
                                                                     RICHARD F. WOLFE
      20                                                             Supervising Deputy Attcrney General
      21

      22
      23                                                             TIM J.VANDEN HEUVEL
                                                                     Deputy Attorney General
      24                                                             Attorneys for Defendant
                                                                     State of California, by and through the
      25                                                             California Highway Patrol
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                                                                2
                                Defendant's Request for Judicial Notice in Support of Demurrer to Complaint (RIC1906 l3 7)




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Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 84 of 201 Page ID #:84




                          EXHIBIT 1


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                                     084
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 85 of 201 Page ID #:85




 X4 VIER BECERRA                                                            State of Californi<t
• Attorney Generµ!                                                   DEPARTMENT OF JUSTICE
                                                                                            1300 I STREET, SUITE 125·
                                                                                                     P.O. BOX 944255
                                                                                SACRAMENTO, CALIFORNIA 94244~2:sso
                                                 CERTIFICATION

         I &ma Staff Services Ai:i.alyst with the Gover.nment Claims Unit (GCU) within the Office of the
         Attorney Gene,ral, Depa1iment of Justice (AGO). The AGO-GCU operates in .conjunction with
         the Government Claims Program (GCP) within the Department of General Services in the review
         of government claimsin active civil litigation. I am familiar with how the· GCP operates and
         maintains its recotds of government claims received by and stored by the GCP in its
         Standardized fr1.surance Management System (SIMS) computer database. The AGO-GCU is
         granted ditect re_ad-only access to the GCP's SIMS corpputer database and is authorized to
         download the GCP' s records of governmei1t claims. 1 am also knowledgeable' about the use of
         the GCP;s SIMS computer database an.dhav~ been trained by the GCP's staff in.accessing the
         documents. I effectively serve as a custodian of records maintained by the GCP and accessed by
         the GCU. Based on the direct read-only access to the GCP afforded to the GCU, I am aut)lorized
         to·verify:the records maintained with the GCP in the SIMS computer database.

         I researched the GCP' s SIMS compt1tei' database for DEVONTE STEPHENSON as identified
         below.                                                            .   '

         I hereby certify that the attached documents are true a11d c·orrect copies of the docutnents
         cdnstitutingthe GCP 1 s SIMS computer database entries of the government clafm fot~ ·

                                          Claimant:      Devon:te Stephenson
                                          Claim No.:     19-0059S9
                                         :no1:           01/25/2019

         The record includes the government claim, any amendments, to the claim, and all notices or
         correspondence to and from the chi.imant.

          I ce1iify under penalty of peijury under the laws otthe State of California that the foregoing is
          true and correct and is based on my personal knowledge. I am willi'ng and able to testify to the
          truth of the statements m'ade herein,. if necessary,:

          ~ecuted at Sacramento, Califotllul, February 7~ 2020. ~
                                                                                                   ' \




                                                         LINDSEY .          DWIN          ·
                                                         Staff Services Analyst
                                                         Governmep.t Claims Unit




                                                                                                CHP-0001 of0027




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Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 86 of 201 Page ID #:86




  ~~s                    CALll'iORN!A OEPAR.T.MENf OF
                                                                                               Governor Gavin Newsom
  I.Ila                  GENERAL SERVICES




               CERTIFICATION OF ACCESS. iO GCP'S $IMS COMPUTER DATABASE'

       I, Nicholas Wagner, .hereby attesrthat the Government Claims F1rograrn (GCPJ within the
       Department of General Services has:grahted direct read-only access·to the GCP's SIMS
     · computer database and authorizeq the 'Government Claims Unit (GOU) within the ·Office of the
       Attorney General, 'Department of Justice (AGO) to download the GCP's 'r'e.cotds of government
       clc1ims. The downloading by thf3AGb-GCU constitute true and correct copies of the documents
       gerterafed by the GCP's computerdatabase entries ~f th.e government clalrn.

      ThE1· records offhe govemm~nt claims and the;-database                      ·are
                                                                      maintained in the ordinary course
      of the GCP!s business; All computer database entries W:ere made by the GCP Staff within -the
      scQPI? of thefr duties. 'fhe entri~s were made in the ordinary course of the' GGP's business, at.or
      near"the time the g·overnmelit claim was received or acted on bYthe ·GcP.: The computer
      datciba~e i~ reJii:dily u~~d to i~ore an:~ maintain the GQP's:government clalrns·reco.r~s an<;! to
      produce printout$ of t11:e racord~k ·                                                           ·

      I 9~rtify :qnder penalty of perJury pnd~r the laws ·ofthe Sta·te ofQarifarnla that the f9r~going is
      true and correctto the ·1:,est of rny knowledge and belief. I am Willing and able to testify to the
      truth of the statements mad~·herEJ!fl, If .r,ecessary,


                                                Executed c1t West SE1crarnento, CaUfornla on May 10, ~01'9




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      Division, Branch or Office Name Here! $!,He of CJlifr:>rn11 r C.1fiforni:i G,1•1qmment Operations Ag,~ncy
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Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 87 of 201 Page ID #:87




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Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 88 of 201 Page ID #:88




                                                                        Governor Gavin Newsom



          07/31/2019


          Steven A. Lerman
          Attorney at Law
          6033 W Century Blvd., Suite 740
          Lo$. Angeles; CA 90045


          RE: Claim 19005959 for Devonte Stephenson against California Highway Patrol
          (CHP)                                              ·.                   ..

          Dear Steven A Lerrt1.an 1

          Gove.rnment Claims Program (GCP)staff cornpiete.d lts investi9ation cif your claim
          and rejected it for the fdllOWing reasons. ·                 ·

          The cfaim involves complex issue.s thatare beyond the scope afanalysls and legal
          interpretation typically unde~aken by the GCP, Claims invofylhg corpplex issues are
          oeist determin~d by the courts. Therefore, staff dip. notrnake a determination
         regarding the merit of the claim, and itis being rejected so you can initiate court
         action if you choo$e to pursue this matter further.                ·

          If you choose to pursue court action in t,h!s· matter, ifis;not necessary orproper-tq
          include the QCP In your law~mit.unJess the GCP wa.s identified as a clefendant ih your
          original claim. Please consultGovernment Code section 955kregarding proper:·
         service of the .summons.

        . ff you have questions about fhfs m?tter; please feel free to coQtact GCP by phone,
          mail, or emall using the cot1tact Information below. Piea$·e remember to reference
          the assigned claim number (19005959) in your commu·ni'catiOh,

         Sincerely,              ..
          ~(2/_,
         Trevor Rabena,. Prbrfram Analyst
         GovEJrrn-ne.r:it Glaim:s Prqgr9m
         ;gcJhfo@dgs.. ca.g·ov


         WARNING: Subject to certain exceptions, you have .only· Six(6) months from the·
         date thi.s notice was p·ersonany delivered or deposited in the mail to'file a c;ourt action
         on this claim. See Government Code Section 945.6. You may seek the adVice.of an
         attorney of your choice in connection with this matter. If you desirEl to consult an
         attorney, you should do so immediately:.




                                                                                             ClIP-<i004.of0027




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Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 89 of 201 Page ID #:89




                                                    DECLARATION OFSERVICE                                  av u,s. MAIL
                Name of Clalmant: Devonte Stephenson
                GCP File no.: 19005959

                I am employed by the Government Claims Program; I am t8 years of ?Qe or older. l
               ain famillal'with the business practice atthe. Gov~rti'ment Claims Program for
               co:llection t;10,p processing ofcorrespondence for mafllng with· the Unifed States Postal
               Service .. in accordance With that practice, correspor:,dence placed in theJnternal mall
               coflection system at the Government Claims-Program is deposited with the:United
               ·states Postarservice wftl:l postage thereon fully prepaid that same day in: the
               ordinary co·urse ofbUsllieiss; Onb?/31/2019, lsetved the attached letter pyplactng a
               true copy thereof. epclosed in a sealed envelope in the internal mail. cblleotioh system
               atthe QijVernment Claims Program, locatecf at 707 Third Street Wesf $acr1;1m~nfo,
               CA 95605, addressed as follows:

               :steven A. Lerman
               Attorn~y al Law
               6033.W Century Blvd., Suite 740
              ·Los AnQele$ i Ck90045

                I de,clare under penalty of perlury under the iaws ·of the State, of California that the.
               foregoing is true and correct and that this declaration was executed on 07/31/201 ~. :at
               We.st S!.:lcrarne.nto, PaHfqrnJa.

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Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 90 of 201 Page ID #:90



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                _f?xtMit:t how. you ca1au1ated the amount:            _ _ _ _               _ _ __ _ _ __ < __ .
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Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 91 of 201 Page ID #:91




  -18       Location of the incident:
            9.1 Freeway near Adams Stre~t off-ramp in Riverside, California.



  -19       Describe the specific damage or injury:
            UnlaWful detentlqn and wrongful death whic~ resulted in Joss of Income and support; burial fees and expenses; Joss
            of familial relationship; emotional distress; and attorney fees and legal costs.                .




   20 ·Explain the circumstances that led to the damage or injury:
  -------    Califomia Highway Patrol and various California Highway Patrol officers, unlawfully seized the Claimant's father,
             Leroy Stephenson. The officers then used excessive force against Leroy Stephenson which caused Leroy
             Stephenson's death.




  -21       .Explain why you believe the state is responsible for the damage or injury:
            · At all times complained of, the individuals who unlawfully seized and killed Leroy Stephenson were acting within the
              course and scope of their employment with the California Highway Patrol.


   2i       Qoes the claim involve a state vehicle? _                                                          OYes                           @No
            If YES; provide the vehicle license number, if known:
   Auto Insurance Information

            Name of Insurance Carrier
                                                                              I                                     I               I
            Mailing Address                                                       City                                  State           Zip
            Policy Number:                                                                I Tel:
            Are you the registered owner of the vehicle?                                       ----Cl-Yes- ~~QNo-
            If NO, state name of owner:
            Has a cJ~im be1;3n-Jiled with your insurance carrier, or will it be filed?                OYes    ONo
            Have you rec;ejved anv pavment for this damage or injurv?                                 OYes    ONo
            If yes, wha.t am9unt did you receive?
            Amount of d~duqtible, if any:
            Claimanfs Driv~rs License Number:                               I Vehicle License Number:
            Make of Vehicle:                              I Model:                            I Year:
            Vehicle ID Numper:
  Notice and Signature                                                                                          .               .
   24        I declare under· penalty of perjury under the laws of the State of California that all the Information I have
             provid~d is true and correct to the best of my Information and belief. I further understand that if ·1 have
             provided inf~rrr1~ion that is. false, intentid.nally incomplete, or misleading I may b~ charged wi~h a felony
             punlsh~bl~.JSvA'o toJoJJf ... - 1- state Pris.on and/or a fine of up to $10,000 (Penal Co~e section 72).
                       118.?'    V. -        •     '--·              Steven A. Lerr:nan               I
                                                                                                Date: June 25, 2019 .
             Signature o.r;r.;/a/mant or Representative                Printed ~ame          .
    25       Mall this 'form and all attachments with the $25 filing fee or the "Filing Fee Waiver Reiquest" to: Government Claims Program,
             P.O. Box 989052, MS 414, West Sacramento, CA 95798~9052. Forms can alsq be delivered to the Office ~fRfsk and
             Insurance Management, 707 3rd street, 1st Floor ORJM, West Sa~ramento, CA 9560.5.


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Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 92 of 201 Page ID #:92




                                  S~~L~£,,,,t~, ?~.
                                       6033 WEST CENTURY BOULEVARD, SUITE 740
                                            LOS ANGELES, CALIFORNIA 90045
                                                   TEL (310) 659-8166
                                                   FAX (310) 285-0779

 STEVEN A. LERMAN                                                                STEVEN A. LERMAN IS ADMITIED
 ATTORNEY AT.LAW                                                              TO PRACTICE IN CALIFORNIA AND IS AN
                                                                       INACTIVE MEMBER OF THE FLORIDA AND HAWAII BAR

                                                                                  Government Claims Program
      June 25, 2019
                                                                                       JUL O3 2019
      Government Claims Program
      Office of Risk and Insurance Management                                          RECEIVED
      Dept. of General Services
      PO Box 989052, MS414
      West Sacramento, CA 95798-9052


      Re:    January 25, 2019 death of Leroy Richard Stephenson

      Dea,r Sir or Madam:

      On behalf of claimant/client (successors in interest to Leroy Richard Stephenson), please see
      attached Governm~nt Claim Form for claimant, Devonte Stephenson. ·

                                    THE JANUARY 25, 2019 INCIDENT

      On or about January 25, 2019, at approximately 12:00 p.m., various California Highway Patrol
      officers confronted Decedent Leroy Richard Stephenson on the Adams Street off-ramp in Riverside,
      California. One of the California Highway Patrol officers discharged his taser which struck
      Decedent Stephenson. Mr. Stephenson was handcuffed and taken to Parkview Community Hospital
      wher~ he died just before 2:00 p.m.

      Please~o_nfo_rm and_''s1-amp recehre_withdate"_the_extracopy-_of the Government-Claim Form and
      return to our office in the self addressed, stamped envelope. ·· -      -




      Enclosures




                                                                                            CHP-000$ of0027




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         Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 93 of 201 Page ID #:93




         Steven A. Lerman & Associates, Inc.
         6033 West Century Boulevard
         Suite#740
         Los Aµgeles, CA 90045
Ex. 11
 093




                                        ·Govennent Claims Program
                                       Post Office.Box ·989052,. MS·414
                                       West Sacrameao, CA 95198--9052
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 94 of 201 Page ID #:94




. X;.t VIER BECERRA                                                         State of Califomia
  Attorney General                                                   DEPARTMENT OF JUSTICE
                                                                                             1300 I ~TREET, SUITE 125
                                                                                                      P.O. BOX 9442:55
                                                                                 SACRAMENTO, CALIFORNIA 94244-2550
                                                CERTIFICATION

        I am a Staff Services Analyst with ·the Government Claims Unit (GCU) within the Office ofthe
        Attorney General, Department of Justice (AGO). The AGO-GCU operates in conjunction with
        the Govenunent Claims Program (GCP) within the Department of General Services in the .review
        of government claims in active civil litigation. I am fru:niliar with how the GCP operates and
        maintains its records of govermnent claims received by and stored by the GCP in its
        Standardized Instl!ance Management System (SIMS) computer database. The AGO-GCU is
        granted direct read-only access to the GCP' s SIMS computer database and is authorized to
        download the GCP's records of govemment claims. I am also knowfedgeable about the use of
        the GCP;s SIMS computer database andhave been trained by the GCP's staff in accessing the
        documents, I effectively serve as a custodian of records :maintained by the GC:P and accessec;l by
        the GCU. Based on the direct reatj-on'ly access to the GCP afforded to the CCU, I am authorized
        to verify the records maintained with the GCP in the SIMS computer dataoase. ·

        I researched the GCP's SIMS computer database for LINDEN STEPHENSON as identified
        below.·

        I hereby certify that the attache.d documents ate true and correct copies of the documents
        constituting the GCP' s SIMS computer database entries ofthe-govemment claim for:

                                         Claimant:       Linden .Stephenson
                                         Claim No.:      190.05978
                                         DOI:            Ol/25/2019

        The record includes the govenunent. claim, any amendments to the claim, and all notices or
        corr.espo11.d:ence to and from the claimant.          ·

        I certify under ·penalty of pe1jury under the laws of the State of California that ·the fore going is
        trne and correct and is based on my personal knowledge. I am willing and able to testify to the
        truth of the statements made herein, ifnecessary.

        Executed at Sactamento, California, February 7, 20s20.
                                                             . '>                          .


                                                               · - - - ~




                                                         LIND~~
                                                         Staff Services Analyst
                                                         Government Claims Unit




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Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 95 of 201 Page ID #:95




                                                                                         Gover"nor G.avih Newsom




              CERTIFICATION OF ACCESS TO GCP'S SIMS COMPUTER DATABASE'

      I, Nicholas Wagner, hereby attest that the Government Claims Program (GCP) within the
      Department of Genera! Services has granted direct read-only access to the GCP's SIMS
      computer database and authorlzeq the Government Claims Unit (GOU) within the Office of the
      Attorney General, -Departme'nt of Justice (AGO) to_ dowQ_l_oad fue_GCP~s rec_9tgs Qf government
      claims·. The downloading by the AGO-GCU- constitute. true and: corr~ct copies of the dqcuments
      9.enerafed by the G.CP's computer database entries qf the government claim.
                     or
      The records the government cfaims and the database are mafntained Jn the. ordinary ,course
      of the, GCP's bi.!sinessi All computer database entries were made by the GCP Staff Within the
      scope of their ctutle·s, The entries were made 1n the ordinary course of the· GCP's business, at or
      neat'the time the govehimenlblaim was received o.r acted:on by the GCP: The computer
      daJabase is reliably used to store antj rnl:lintain the GCP's government claims re90rd.s and to
      prqdl!Ce prihtquts .O:f th_e record~. ,           · . .                         ,     .,_   :
      I cEJrtify 1.inder ,aenalty of perJury und\:lr the laws oft he State of Callfornia that the foregoing ·i$
      ttue .and correcno the best of my kho.Wledge and belief I am wilfing and able to testify to the
      truth of the statements made ]1ereh\ if ri~cessary,

                                           Executed at West Sf;\c·rarnEmfo, CaHfo.rnic:1 on May to, ~019




                                           NH.            ll~
                                         · . St?ff.Services Manager
                                             G.overnmeHtOlalms.Progtatn
                                             Office ;of Risk anq Jn!Syranc~Jyfanagement
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      DM!iion, Branch or Office Name Here l Srate of CalifrxnH i C;;/iforni£1 rJ0·1~rnment 6per.:1t!ons Agency
      707 Jrd Str~et, # of Floor! Wint Sacramenw. C ..:\ Vi305 \ t {}I 5) 37;5.500,) f /91151 JiFJ-5018       CI:IP-OOll orno 27




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Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 97 of 201 Page ID #:97




                                                                                                                                                              Governor Gavin !"{ewsom:




             08/0172019


             Steven A Lerman
             Attorney at Law
             60.33W Century Blvd Ste 740
             Los.Angeles, CA 90045


             RE: Claim 19.005978 for Li11den Stephe11sgn agalnst Highway P9trol;' Cqlifornla
             (CHP)

             Pear $\even Lermah,

             Government Claims Program {GCP)staff coinpteted Its ltwe.stigation of your claim
             and rejected it for the following reasons.

             The claim involves complex Issues that are. beyond the, scope afar'ialysis and legal
            .interpretation typically .undertaken by the GCP. Claims involving complex issues are
            pest cfetermined PY the c9urts; ·rharefqre, s,faff did not make a tlE;terrnination
            "regarding the: merit of the clafm, aod ltis.· being rejecte.d so you can inhiate court
            action Jf you ch.oose to pursue this matter f4rt_he.r:

             If you choose to pursue courtactibri htthis matter; itis not necessary orpropetto
            .include (he GCPi,11 yourfawsujt unless the- GCP was. tdentified as a defer,:<Jant in your
            orlginal.clalin. Please-cons.uitG.ave.mmentCode sec.tibn 955.4,r~garding proper
            service of the swmmons.

              If you have questions about this matter;, please feel free to contacrGCP by phone,
            ·mail, or ernail u_sing t.h$'.Cd_ritact informalkm below. Please remember to referenc~
             the -assigned clalm number (1°9005978) in your communica:tion..

            S.ihcerely,

               At~e-
            Eric Riveral Program Analyst
            Government Clalms ·Program
            .gcihfo@dgs.ca.gov·                                                 .



            WARNiNG: Subject to certain exceptions, you h;ave only _six (6). months from the
            date this notice was persor,ally delivered or deposited in the mail to fl.le a court action
            on this clalm. See Government Code Section 945.6, You may seek the advice of an
            attorney of your cholce in conhection with this matter. ·1f yoLJ desire to consult an-
            attorney( yciu should do so immediately.     ·




      Office of Risk and lnsur~nce Managemfi1nt ;; · ·, : :                                                ~ 1 '· • ,. ,           :i . .- · ··               .. t · , ·            ,   J
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                                    GENERAL SERVICES
                                                                                 .
                                                                                                              Gov~mor Gavin Newsom


                                                DECLARATION OF $ERVI.CE BY U.S. MAIL

               Name of.Claimant Linden Stephensoh
               G'CP File no·.: 1900597$   ·

               I am employed by the Government Claims Program. I am 18 years of age.or older; I
               am farniliar with the business practice at the Government Claims Pro.gram for
               cpl1ection and processing of correspondence for mailing with the United States Postal
               SE:lrvice. In accordance with the;!! pract.rce, correspondence pJaced in the internal mail
               collection system at the Oovernment Claims ·Program is deposited with the United
               States Postal Service wfth postage- thereon fully prepaid that same day In the
               qrdli1ary coqr$e. of bµ,sines$"- ·on 08/01/2019, I served the attached l~tter bY placing a
               true· copy thereof enclosed iri a sealed envelope. in the internal mail c611ecfidri,system
               atthe GovernmE:lnt Claim~ Program,. locgiteo ·~t707 Thircl Street,- West Sacri;;ttnento,
               CA ,:9:soo5', addre$s~d as -follows:
               $teven A L$rman
               Attorney at Law
               6033 W Century Blvd Ste 740
               LO$ Angeles, CA. 90045

               I declare uqderpenalty pf perjury under the laws of the State of OaUfornta that the
               foregoing· is: tru.e and correctang that this declarafibhwas executed oh 08/01/2019, at
               WestSacramento, California.                                                         ·



              Eric Of~.iv.era




       Office of Risk and Insurance Management s·.1:o> :.' '.'.',i ,';,--, ~ 3.;,·d.--·~.,~r! O.c'!t~:·y,~ ..l;·~,-, :1
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                 , id~Mt.itl¢$ of thf$Jhdli/ta~al officers who oaosed Mr. Stephenson's death.                                                              ·                  ·

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    -.18        Location of the incident:
                91 Freeway near Adams Street off-ramp In Riverside, California.



    - 19        Describe the specific· damage or injury:                                                            ·
                Unlawful .detention and wrongful ~eath which resulted In loss of Income and support; burial fees and expenses; loss
                of familial relationship; emotional distress; and attorney fees and legal costs.




    -20         Explain thecircumstances that led to the damage or injury:
                California Highway Patrol and various California Highway Patrol officers, unlawfully seized the Claimant's father,
                Leroy Stephenson. The officers then used excessive force against Leroy Stephenson which caused Leroy
                Stephenson's death.




    -21         Explain why you believe the state is responsible for the damage or injury:
                At all times complained of, the individuals who unlawfully seized and killed Leroy Stephenson were acting within the
                course and. scope of their employment with the California Highway Patrol.


     22 Does the claim involve a state vehfole?                                                                  0 Yes                    ©No
                lfYES, provide the vehicle license number; if known:
    Auto Insurance Information
                                                                      -
    23
                Name of Insurance Carrier
                                                                                I                                   I           I
            · Mailing Ac/dress                                                      City                                State       Zip
                Policy Number:                                                                I Tel:
                Are vou th~ registered owner of the vehicle?                                              OYes                            ONo
                If NO, state name ofowner:
                Has a· cl~im· been flied with your insuran.~ carrier, or will it be filed?                OYes                            ONo
                Have v.ou received any p~yment f9r this damage or iniurv?                                 OYes                            ONo .
                If yes, what:t:1mount did vou receive?
                Amoantof deductible, if anv:
                Claimant's Drivers License Number:                              I Vehicle License Number:
                Make of Vehicle:                              I Model:                            I Year:
                Vehicle 10· Number:
    NQtice and S{anatu.re
    24 I declare under penalty of perjury under the Jaws of the State of California that all the information I have                               ;
         provi~e~ i~ true and correct to the best of iny information and belief. I further understand that if I have                              1
         provided irif~ation that is false, intentionally incompl19t~. or misleading I may be charged with a felony
                ounishillliL~· ·· . 'D to four v.ears In state prison and/or a fine of u.o to $10,000 (Penal Code section 72).
                                                    .......
                      iG      ~\..../                       - · ...          Steven A. Lerman           I  Date: June 25, 2019
                Signdf.J1f!! o1 Cl§Iimant or Representative              Printed Nama
     25         Mail this form and all attachments with the $25 filing tee or the "Filing Fee Waiver Request' to: Government Claims Program,
                 P.Q. Box 96"9052, MS 414, . West Sacramento, CA 95798-9052. Fonjis can ~l~o be delivered to the Office of R)sk and               I
                                                                                                                                                  ;

                lnsl,Jrance Management, 7~7 3rd s~eet, 1st FIMr CRIM, West S~cramento, CA 95605.
                                                                                                                                                  i



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Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 101 of 201 Page ID #:101




                                   s~~          Le'lfHM,et~~- ?~,
                                        6033 WEST CENTURY BOULEVARD, SUITE 740
                                             LOS ANGELES, CALIFORNIA 90045
                                                    TEL (310) 659-8166
                                                   FAX (310) 285-0779

  STEVEN A. LERMAN                                                                STEVEN A. LERMAN IS ADMITTED
  ATTORNEY AT LAW                                                              TO PRACTICE IN CALIFORNIA AND IS AN
                                                                        INACTIVE MEMBEROF THE FLORIDA AND HAWAII BAR



       June 25, 2019

       Government Claims Program
       Office of Risk and Insurance Management
       Dept. of General Services
       PO Box 989052, MS414
       West Sacramento, CA 95798-9052


       Re:     January 25, 2019 death of Leroy Richard Stephenson

       Dear Sir or Madam:

       On behalf of claimant/client (successors in interest to Leroy Richard Stephenson), please see
       attached Government Claim Form for claimant, Linden Stephenson:

                                     THE JANUARY 25, 2019 INCIDENT

       On or about January 25, 2019, at approximately 12;00 p.m., various California Highway Patrol
       officers confronted Decedent Leroy Richard Stephenson on the Adams Street off-ramp in Riverside,
       California. One of the California Highway Patrol officers discharged his taser which struck
       Decedent Stephenson. Mr. Stephenson was handcuffed and taken to Parkview Community Hospital
       where he died just before 2:00 p.m.

       Please conform and "stamp receive with date" the extra copy of the Government Claim Form and
       return to our office in the self addressed, stamped envelope.




        Enclosures




                                                                                              CHP-00.17 of 0027




                                                    Ex. 11
                                                     101
            Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 102 of 201 Page ID #:102




         Steven A. Lerman & Associates, Inc~
         6033 West Century Bo:tdevard
         Suite#740
         Los Angeles, CA 90(}4:$
Ex. 11
 102




                                            Govermen:t··Claims.Program
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Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 103 of 201 Page ID #:103




  X4 VIER BECERRA                                                              State of Califoriita
  Attorney General                                                · DEPARTMENTOF JUSTICE
                                                                                          1300 I STREET, SUITE 125
                                                                                                   P.O. BOX 944255
                                                                              SACRAMENTO, CALIFORNJA 94244-2550
                                               CERTIFICATION

         I am a Staff Services Analyst with the Government Claims Unit (GCU) within the Office of the
         Attorney General, Department of Justice (AGO). The AGO-GCU operates h1 conjunction with
         the Government Claims Program (GCP) within the Department of General Services in the review
         of government claims in active civil litigation. I am familiar with how the. GCP operates and
         maintains its records of government claims received by and stored by the GCP in, its .
         Standardized Inslll'ance Management System (SIMS) computer database. The AGO-GCU is
         granted direct read-only access to the GCP' s SIMS computer database and is authorized to
         download the GCP 1 s rec01:ds of govermnent clahn·s. I am also knowledgeable.about the use of
         the GCP'.sSIMS-computer databa~e and have been trained by the GCP'sstaff1n accessing the
         docqments. I effectively-serve a.s a custodian ofrecords maintained by the GCP :and accessed by
         the GCU. Based on the direct tead~only access to the GCI> affo1;ded to the GCU, I am authorized
         to verify the records1naifitained with theGCP in the SIMS computer database.

         I researched the GCP's SIMS computer database for KEANDRE STEPHENSON as identified
         b~~        .                                                      .

         I hereby ~ertify that the attached documents are true and correct copies of the documents
         constituting the GCP)s SIMS computer database entries of the government claim fot:

                                         Claimant:     Keandre Stephenson
                                         Claim No.:    19006010
                                        DOI:           01/25/20i9

         The record ind:udes the government claim, any amendments tothe claim, a:nd .all notices or
         cortespondence to and from the claimant.

         l certify under penalty of pe1jnry under the laws of the State of California that the foregoing is
         true and ~orrect and is based on my personal knowledge. I am willing a:nd able to testify to the ·
         truth of the statements made herein, if necessi;tryr                                             ·

          Executed at Sacramento, California, February 1, 2020.

                                                         ~ ·

                                                        LINDSEY R. GOODWIN
                                                        Staff Services Analyst
                                                        Goverrunent Claims Unit




                                                                                                CHP-0019 of0027




                                                      Ex. 11
                                                       103
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 104 of 201 Page ID #:104




                                                                                       Governor G.avin Newsom




                CERTIFICATION OF ACCESS. TOGCP'S SIMSCOMPUTER DATABASE.

       I, Nicholas Wagner, hereby a,!te$lthat the Government Claims Program (GCP) wlthlh the
       Department of General se·rvices has granted direct read-only access to the GCP1s SIMS
       computer database and authorizecttfie Government Claims Unit' (GOU) within the ·Office of the
       Attorney Genera[, Department of Justice {AGO) to download the GCP's records of government
       claims; The downloading py the AGO-GCU constitute true @nd: corr~ct copies of the ·documenJs
       9. enerafed.by the G.CP's computer database entries of the 9. overnment cla[rrr.
                      •                                a   •                  •
                                                                                                  ·

        The records of fhe governm~nt claims and the-database are maintained Jn the ordinary course
        of the GCP's business. All computer database:entries were made by the GCP Staff within the
      · scope of their q1;1ties. The entries were made in the ordlhary course of the· ~CP's bu'slr,ess 1 at pr
        nearthe time the govE?tnment claim was received or acted;on by the GCP. The computer
        databf}se is reliably used to $tore an~:! rnl:lintaln the GQP's government claims reconifs ,and to
        proct't.ice· printquts,off~e. reco:tds.. ·                                              .,      ·

       I certify .ll.nder penglty of perJury µnds1r the iaws ofthe·st?te ofGallfornia that the foregoing is
       true and' correotto the best of my knowledge and beliet I am· willing and able 'to testify to the
       truth of the statemen.ts made, h.erei_ri; if necessary.                  '


                                           .Executed at West Sacramento, Oalifornla on May 10, 2019




                                           NH                  llr-
                                         ., St~ff $'eryi(,les Mc1.oi:lger
                                           Government Claims Prog·rarn
                                           Office:of Ristanq ID$4.nino~ Management
                                           Oepar,trrtenfof Genera] $ervic.es




       Divi~ion, Branch or Office Name Here I $tac;1of Cc1!if'Jmn: Californr~ Goi/'3tnment OpenHfons :J.9P.ncy
       10;- Jtd Stree!. # ofFlootl W·nt SaC'r!lmemo CA 1511)3: t (JI 6) Jt6,!$01J•)f (91 $1 J713-50'18       CHP-oo o.oroo
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Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 105 of 201 Page ID #:105




                                                                CHP-0021 of0027




                                     Ex. 11
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Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 106 of 201 Page ID #:106




                                                                                           Governor Gavin Newsom




              07/0'9/2.019


             Steven Lerman
             Attorney at Law
             603(3 W, Century Blvd., Ste. 740
             Los An~eles, CA 90045


             RE: Claim 19006010 for Keandre Stephenson against.California.Highway Patrol
             (CHP)                                                            .                          .    ..

             Dear Steven Lerman,

             Gove·rnment Claims Program (GOP) staff completed its investigation of your claim
             a/'iq rej~cted it for fheJolloi,ying reaf;;or1s,

             The claim invplves complex issues that are beyond the scope of analysis and legal
             interpretation typically undertaken by the G.CP. Claims invo!Ving complex: issues ;:1re
             best determihed bf the courts. Therefore, staff did not make a determination
             regarqing the merit of the claim, fi!nq It is being· rejected s,0 you can iriitiate court
             tl'c.tion if you choose to pursue this matter further;

             if you choose to pursue cou~ adion. in this· matter, il is not necessary or proper to
             ihclUde the GCP in your lawsuit unless the GCP was identified as defel'ldantin your     a
             originEJI Clf!im. Pleas? c;:qnsult G9vernrnent Code sec.Hon :955,4reg,;1rding proper
             s·etv.ice ofthe sumnfons.

              If you have questions about this m,atfer; please feelJreeto contact GCP by phone,
             mall, ore·rnail using the contact information below. Please remember to reference.
             the a:ssign~d claim number (19006010} in your cprrirnqntcafiqn'.


           4(~' Ji1/Jf4v
             Kelli Mfyatq, Prag.ram Analyst
             Government Olaims Program
             gcinfo@dgs.ca.gov


             WARNING: .SlJbject to certa.in a>eceptions, youhE!ve only six (6) months from the
             datelhis hotlce. was- personally delivered or deposited in the mail to file a court.action
             cm .this clalm. See Government Code Section 945.6. You may seek th~ advice of an
             attdrney of your choice in conne.ation With this matter;                 If you desire to consult an
             attor.ney; you shouh;i do so immediE!tely.




      Office of Risk a·nd Insurance Management : SiJ !J of.::; 3/,forni,1 ; <,0•1fJmmLJn { O.oeotion., -~99P·, /
      71)' )rd .Su~-,! , ,: F.::·)r ·,•,~.;: 59;:,i:n~nro. C-1 J:J;,)j: t 3.)~1,g;;;.oi)JJ fJtiJ.J'1-5,8H7         CHP-0022 of0027




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 Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 107 of 201 Page ID #:107


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                                      GENER.AL SERVICES                      GovemorGavin ,"ewsom
                                                DECLARATION OF SERVICE BY U.S. MAIL
                                                                                                                        ·   u




                     Name of Claimant: Keandre Stephenson
                     GOP File no.: 19006010

                      I am employed by the Government Claims Program. lam 18 years ofage or older. I
                      am familiar with the business practice at the Government Claims Program for
                      collection and processing of correspondence for mailing with the United States Postal
                      Service. In ~ccordance with that practice, correspondence placed in the internal mail
                     collectton system at the Government Claims Prqgram_ is.deposited with the: United·
                      States Posta:1·service With postagethereon fullyJitepaid that same dayJh the
                     .ordinary course -qf bu$ine$s. Qn 01/Q~/2019; I served the ·attached letter by placing a
                     trUi:=tcopy thereof ehclosed in a sealed envelope. tn the tnter,nal mail colfeclion system
                     at the G'overnm~nt Claims Program, located at707 Third Stre.et, West Sacra:tnento,
                     CA.9.5605, :addressed as f9Jlows:
                     Steven Lerm.an
                     Attorney atLaW
                     6033 W; Centqry Blvd., Ste. 740
                    .Los AHQefes, ·cA:90045 ,

               I declarC3 under penalty of pertury under the laws of the State of California: that the
          ____·for:egoing...:i.s-Jrue:ancLcqrrectandJbalthis.:declaration..was....exe.cu.te.d.otLOZL0912ill-9.,...at_______ _
               W'?st Sacramento, California.                ·     ·


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                 . Kl:illl Miy~ta         ·




            Office ofRisk and Insurance Management; S!r:1te ofC~lrfbrnf~ i 0-:>·lernment Oper;ifions Agency
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Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 108 of 201 Page ID #:108



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           STArE OF CALIFORNIA- DEPARTMENT OF GENERAL SERViCES
           Government Claim J:onn                                     ·                                                                    For Office Use Only
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          ' .DGS omM 06 (RE!V, O,S/2016)                                                                                                                     "'I·\'
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           Govemrnent Claims Program
           Office.of Risk and Insurance Management                         r.,.v'                                                               .JUL O5 2Dt9
           Department OfGerteral Setvfces                                  v"
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           West $acramehto, CA 95798-9052                                     o                                                                    116                             K
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            ClalmartJftJ(citrila'f!on U$& harne ofbusiness or entity Ifclaimant is not.(lnfndMdua(
                    L4stname                                  Fir.st Name                            Ml
                                                                                                       3 Emal!: stephensonkeandre1.6Q@gmall
                                                                                              San Bernardino              CA
                                                                                              City                      State
              5     Inmate or pati~nt number, if applicable:
              6     Is the claimant under 18? No             .If Ye$, pfease give date ofbirth:
              7

           ' ffyqur cf~im rftiiif!§Jo ·t!flOfh!ilf ~lalm qr cfalmant, please provide the claim ntimfJJ,r o.r claimant's name lh..section 8.
           )Utami:f       or'REX':::resi3ntative tnfomtatioJJ
                                                                                                A.               10   Tel:310~8$!N316fJ

                                                                                           , Los Angeles                                               :ci\                       90045
                                                                                             •City        .. ·                                     State                   'Zip



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                  00Jlatat60Unfofwatrant:                                                     Date of Jssue:

            1o .Date pf!               ·-.,JE!n:Uary 2S, 201~         ..
                W~s lft$ . . .      · re than sbrn10nt s ago?                                             OYas ·         0No
                lfYES;'dld'·:otrattach as~ arate.shEtet.With an E:)X lanation forthe late fllin ?         OYes           ONo
             1~ state 8Q'encfes Or employees against Whom this Claim is·filed:
                California H)ghway Patrol and various California Highway Patrol officers, Claimant does not presently know the
                  · Identities of theJMlvidual officers who caused Mr..Stephens6n1s death. ·                                 .

             17 Dollar am:ount of. clalm!in excess of $1,000,QOO .
                   lftl)e;i:imouhfls :more than $10,0001 indicate the type of                    OUmited civil ca.se ($25,000 or less)
                   oivil case:         .    .        .     .                                     ©Non~li1iiited civll case (over $25,000)
                   Explain how you. calculated the smoul'lt:
                   Loss of Income and support: burial feei; and expenses; loss of f~mll!al relation$hlp; emotional distressj and attorney
                   fees and legal costs.




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Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 109 of 201 Page ID #:109



'I-'




       - 18 Location of the incident:
            91 Freeway near_Adams Street off-ramp in Riverside, California.


         19 Describe the specific damage or injury:
       ! -

                  Unlawful detention anct·wrQngful de&th which resulted !n loss of income and support; burial fees and expenses; loss
                  of famlllal relationship; emotional distress; and attorney fees and legal costs.




       ,-
         20 Explain the circumstances that led .to the damage or injury:
                  California Highway Patrol and various California Highway Patrol officers, unlawfully seized the Claimant's .father,
                  Leroy Stephe·nson. The officers then used excessive force against Leroy Stephenson which caused Leroy
                  Stephenson's death.




         2-1
       1---"'--
                  Explain why you believe the state is responsible for the damage or injury:                       .
                  At all times complained of, the individuals who unlawfully seized and killed Leroy Stephenson were acting within the
                  course and scope of their employment with the California Highway Patrol.


         22 Does the claim involve a state vehicle?                                                                0 Yes                    f>No
                  If.YES, provi(.le the vehicl~ license number, if known:
       ·Auto Insurance Information
         23
                  Name of Insurance Carrier
                                                                                  I                                   I           I
                  Malling Addre.ss                                                    City                                State       Zip
                  Policy Numper:                                                             I Tel:
                  Are vou the registered owner of the vehicle?                                           OYes                               ()No
                  If NO, state name of owner:
                  Has a claim been fileffwith vourlnsurance oarrier, or will it be filed?                OYes                               ONo
                  Hav.e you received any payment for this damage or injury?                              OYes                               ONo
                  If ves, what amount did vou receive?
                  Amount of deductible, if any:
                  Claimant's Drivers Lice.m;e Number:                          I Vehicle License Number:
                  Make of Vehicle:                            I Model:                           !Year:
                  Vehicle ID Number:
        Notice and Signatµre
         24       I declare under penalty of perjury under the laws of the State of California that all the Information Ihave
                  provided is true and correct to the best of my information and belief. I further understand that if I have
                                                                                                                                                   l
                  provided information that is false, intentiqnally incomplete, or misleading I may be charged with afelony                        l
                  ounishable bv Ul:) to four years In state prison and/or a fine of up to $1 O,000 (Penal Code section 72).                        1
                                                                                                                                                   !
                           _(a,/A A · ~                              ·- Steven A. Lerman          I Date: June 25, 201.9                           i
                                                                                                                                                   l
                   Signature {l.t,{Shlfmaift or Representative          Printed Name
                   Mail this tonn and all attachments with the $25 filing fee or the "Filing Fee Waiver Requesr to: Government Claims Program,
                                                                                                                                                   Il
          25       P.0. Box 989052, MS 414; West Sacramento, CA 95798.-9052. Fonns can also be delivered to the Office of Risk and
                   Insurance Management, 707 3rd street, 1st Floot ORIM, West Sacramento, CA 95605.                                                j
                                                                                                                                                   i
                                                                                                                                                   '
                                                                                                                 DGS ORIM 06 Page 5 of 6
                                                                                                                              CHP-0025 of 0027




                                                                        Ex. 11
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Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 110 of 201 Page ID #:110




                                    St'ePe#A: LC'tmalt tlA'~, ?~.
                                         6033 WEST CENTURY BOULEVARD, SUITE 740
                                              LOS ANGELES, CALIFORNIA 90045
                                                     TEL {310) 659-8166
                                                    FAX (310) 285-0n9

  STEVEN A. LERMAN                                                                 STEVEN A. LERMAN IS ADMITTED
  ATTORNEY AT LAW                                                               TO PRACTICE IN CALIFORNIA AND IS AN
                                                                         INACTIVE MEMBER OF THE FLORIDA AND HAWAII BAR



       June 25, 2019 .

       Government Claims Program
       Office of Risk and Insmance Management
       Dep~.- of General Services
       PO Box 989052, MS414
       West Sacramento, CA 95798-9052


       Re:     January 25, 2019 death of Leroy Richard Stephenson

       Dear Sir or Madam:

        On behalf of claimant/client (successors in interest to Leroy Richard Stephenson), please see
        attached Government Claim Form for claimant, Keandre Stephenson.

                                      THE JANUARY 25, 2019 INCIDENT

        On or about January 25, 2019, at approximately 12:00 p.m., various California Highway Patrol
        officers confronted Decedent Leroy. Richard Stephenson on the Adams Street off-ramp in Riverside,
        California. One of the California Highway Patrol officers discharged his taser which struck
        Decedent Stephenson. Mr. Stephenson was handcuffed and taken to Park:view Community Hospital
        where he died just before 2:00 p.m.

        Please conform and "stamp receive with date" the extra copy of the Government Claim Form and
        return to our office in the self addressed, stamped envelope.




         teven A. Lennan/Nicholas Lerman
        SAL/cgc

        Enclosures




                                                                                               CHP-0026 of 0027




                                                     Ex. 11
                                                      110
                                                                             Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 111 of 201 Page ID #:111




                                                      Steven A. Lerman &Associates, Inc.
                                                      6033 We$t Century Btrolev~rd
                                                      Suite#740
                                                      Los Angeles~ CA 90045


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Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 112 of 201 Page ID #:112




             XAVIER BECERRA
             Attorney General of California
                                                                             FILED
                                                                       Superior Court of California
         2   RICHARD F. WOLFE                                             County of Riverside
             Supervising Deputy Attorney General
         3   DOUGLAS E. BAXTER
                                                                               2/20/2020
             State Bar No. 201351                                              K. Garcia
         4   Deputy Attorney General                                       Electronically Filed
             TIM J. VANDENHEUVEL
         5   Deputy Attorney General
             State Bar No. 140731
         6    600 West Broadway, Suite 1800
              San Diego, CA 92101
         7    P.O. Box 85266
              San Diego, CA 92186-5266
         8    Telephone: (619) 738-9095
              Fax:         (619) 645-2581
         9    E-mail: Tim. VandenHeuvel@doj.ca.gov                   No Fee Pursuant to Government Code
             Attorneys for Defendant State of California,            Section 6103
        10   by and through the Ca#fornia Highway Patrol

        11                       SUPERIOR COURT OF THE STATE OF CALIFORNIA

        12                                   COUNTY OF RIVERSIDE

        13

        14
             DEVONTE STEPHENSON, individually                 Case No. RIC1906137
        15   and as successor in interest to Decedent
             LEROY STEPHENSON; LINDEN                         DECLARATION OF DOUGLAS E.
        16   STEPHENSON, individuallf and as                  BAXTER IN SUPPORT OF DEFENDANT
             successor in interest to Decedent LEROY          STATE OF CALIFORNIA, BY AND
        17   STEPHENSON; KEANDRE                              THROUGH THE CALIFORNIA
             STEPHENSON, individually and as                  IDGHWAYPATROL'S DEMURRER TO
        18   successor in interest to Decedent LEROY          PLAINTIFFS DEVONTE STEPHENSON,
             STEPHENSON,                                      LINDEN STEPHENSON AND KEANDRE
        19                                                    STEPHENSON'S COMPLAINT
                                                Plaintiffs,
        20                                                    Date:        March 18, 2020
                            v.                                Time:        8:30 a.m.
        21                                                    Dept.:       1
                                                              Judge:       The Honorable Craig G; Riemer
        22   STATE OF CALIFORNIA; and DOES 1                  Trial Date: TBD
             through 100, inclusive,                          Action Filed: December 18, 2019
        23
                                              Defendants.
        24

        25   III

        26   III

        27   Ill

        28   I/ I

                    DECL. OF DOUGLAS E. BAXTER IN SUPPORT OF DEFENDANT STATE OF CALIFORNIA'S (CHP'S)
                                                      DEMURRER TO PLAINTIFFS' COMPLAINT (RIC1906137)




                                                Ex. 11
                                                 112
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 113 of 201 Page ID #:113




                    I, Douglas E. Baxter, hereby declare:

         2           I. I am an attorney duly licensed to practice law in the State of California. I am employed

         3.   as a Deputy Attorney General for the California Attorney General's Office. Together with

         4    Deputy Attorney General Tim J. Vanden Heuvel, I am assigned to represent defendant State of

         5    California, by and through the California Highway Patrol, in this action.

         6          2. On February 6, 2020, I spoke to plaintiffs' counsel Gregory Peacock on the telephone

         7    about the issues being raised in defendant's demurrer for the purposes of satisfying the meet-and-

         8    confer requirement of section 430.41, subd. (a), of the Code of Civil Procedure. I explained the

         9    legal contentions we intended to make in a demurrer to the complaint, based on apparent failure

        IO    to comply with the Government Claims Act for those counts and allegations of the complaint that

        11    attempt to state survival claims and damages. I explained the primary basis for the demurrer

        12    would be the analysis of Nelson v. County ofLos Angeles (2003) 113 Cal.App.4th 783.

        13          3. At the time of the February 6, 2020 1 telephonic meet-and-confer, the deadline for

        14    defendant State of California, by and through the California Highway Patrol, to file a responsive

        15    pleading or motion was February 12, 2020. Plaintiffs' counsel and I agreed to talk again on the

        16    phone before defendant would proceed with a responsive pleading or motion.

        17          4. On Februaiy 11, 2020, I once again spoke on the telephone with Grego1y Peacock about

        18    the legal issues raised in defendant's demurrer. I also explained that specific damages claims

        19    may also be challenged through a companion motion to strike based on the failure to comply with

        20    the Government Claims Act. In that telephone conversation, Mr. Peacock and I agreed to a

        21    stipulation to extend defendant's deadline to file a responsive pleading and motion to February

        22    20, 2020, pursuant to Rule 3.1 lO(d) of the California Rules of Court. We put that agreement in

        23    writing through an email exchange on Februa1y 11, 2020. The purpose ofthe extension was to

        24    give plaintiffs' counsel additional time to consider defendant's arguments and confer with the

        25    plaintiffs.

        26    llI

        27    Ill
        28    ///
                                                               2
                    DECL. OF DOUGLAS E. BAXTER IN SUPPORT OF DEFENDANT STATE OF CALIFORNIA'S (CHP'S)
                                                      DEMURRER TO PLAINTIFFS' COMPLAINT (RIC1906137)




                                                    Ex. 11
                                                     113
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 114 of 201 Page ID #:114




             1          5. As of the present date, the parties have not been able to reach a resolution of the claims

             2    raised by defendant in its demurrer and companion motion to strike. Therefore, defendant is

             3    filing the demurrer and motion to strike at this time.

             4          I, Douglas E. Baxter, affinn under penalty of perjury under the laws of the State of

             5    California that the foregoing infonnation is true and correct of my own knowledge and that this

             6    declaration is being executed on this 20th day of Februaty 2020 at San Diego, California.
             7

             8
                   o8~f~
         9       Douglas~

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                      DECL. OF DOUGLAS E. BAXTER IN SUPPORT OF DEFENDANT STATE OF CALIFORNIA'S (CHP'S)
                                                        DEMURRER TO PLAINTIFFS' COMPLAINT (RlC1906137)




                                                       Ex. 11
                                                        114
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 115 of 201 Page ID #:115




                                 EXHIBIT 12




                                     Ex. 12
                                      115
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 116 of 201 Page ID #:116




         1   XAVIER BECERRA
             Attorney General of California
         2   RICHARDF. WOLFE
             Supervising Deputy Attorney General
                                                                                          FILED
                                                                                   Superior Court of California
         3   DOUGLAS E. BAXTER                                                        County of Riverside
             Deputy Attorney General
         4   TIM J. VANDENHEUVEL                                                             2/20/2020
             Deputy Attorney General                                                         K. Garcia
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         9   Attorneys for Defendant                                         Section 6103
             State of California, by and through the California
        10   Highway Patrol

        11                       SUPERIOR COURT OF THE STATE OF CALIFORNIA

        12                        COUNTY OF RIVERSIDE - RIVERSIDE DIVISION

        13

        14   DEVONTE STEPHENSON, individually                       Case No. RIC1906137
             and as successor in interest to Decedent
        15   LEROY STEPHENSON; LINDEN                               DEFENDANT STATE OF CALIFORNIA,
             STEPHENSON, individually and as                        BY AND THROUGH THE CALIFORNIA
        16   successor in interest to Decedent LEROY                IDGHWAY PATROL'S NOTICE OF
             STEPHENSON;KEANDRE                                     MOTION TO STRIKE AND MOTION
        17   STEPHENSON, individually and as                        TO STRIKE PORTIONS OF
             successor in interest to Decedent LEROY                PLAINTIFFS DEVONTE STEPHENSON,
        18   STEPHENSON,                                            LINDEN STEPHENSON AND KEANDRE
                                                                    STEPHENSON'S COMPLAINT
        19                                            Plaintiffs,
                                                                    Date:        March 18, 2020
       20                   v.                                      Time:        8:30 a.m.
                                                                    Dept:        1
       21                                                           Judge:       The Honorable Craig G. Riemer
             STATE OF CALIFORNIA; and DOES 1                        Trial Date: TBD
       22    through 100, inclusive,                                Action Filed: December 18, 2019
       23                                          Defendants.
       24

       25          TO ALL PARTIES AND THEIR COUNSEL OF RECORD: PLEASE TAKE NOTICE

       26    that on March 18, 2020 at 8:30 a.m., in Department 1 of the above entitled Court located at 4050

       27    Main Street, Riverside, CA 92501, defendant State of California by and through the California
       28


                           Defendant's Notice of Motion to Strike and Motion to Strike to Plaintiffs' Complaint (RIC1906137)




                                                     Ex. 12
                                                      116
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 117 of 201 Page ID #:117




         1   Highway Patrol, will, and hereby does, jointly and severally move to strike portions of the

         2   Complaint in this matter filed by Plaintiffs' Devonte Stephenson, Linden Stephenson and

         3   Keandre Stephenson.

         4         This motion to strike shall be based upon this notice of and motion to strike, the points and

         5   authorities submitted concmTently, and the request for judicial notice, in addition to all pleadings

         6   filed in this matter. This motion to strike is brought by defendant State of California, by and

         7   through the California Highway Patrol ("CHP"), under Code of Civil Procedure section 435-436,

         8   et. seq, on the grounds that plaintiffs did not present a government claim for survival damages on

         9   behalf of the estate of Leroy Stephenson, and are barred from seeking those damages as a matter

        10   of law. A motion to strike allows for the striking of "irrelevant, false or improper'' matter,

        11   including improper damages claims. (Code Civ. Pro. §§431.lO(b), 436(a); Weil & Brown, Cal.

        12   Practice Guide: Civil Procedure Before Trial (The Rutter Group 2012) ,r 7.182.) Claims for

        13   survival damages are irrelevant, false and improper, as well as not drawn or filed in conformity

        14   with the laws of the State of California, and are appropriately stricken from the Complaint. (Code

        15   Civ. Proc.,§ 436)

        16         FULFILLMENT OF MEET-AND-CONFER REQUIREMENT

        17         This motion to strike is brought after defendant's counsel telephonically met and conferred

        18   with plaintiffs counsel on Febrnary 6, 2020 and February 11, 2020, in good faith pursuant to

        19   section 435.5 of the Code of Civil Procedure to try to resolve the objections raised by the motion

        20   to strike. After discussing the issues, the parties were unable to resolve the objections raised by

        21   the motion to strike. (See Declaration of Douglas E. Baxter in Support of Demurrer by Defendant

        22   State of California (by and through the California Highway Patrol.)

        23         ITEMS TO BE STRICKEN

        24         Accordingly, defendant seeks an Order striking the following allegations from the second,

        25   fourth, and fifth causes of action. (Code Civ. Proc., § 436, et. seq.)

        26         Paragraph 35, 11. 15-18: 1'Plaintiffs bring this claim as successors in interest to Decedent

        27   Leroy Stephenson, and seek survival damages, including physical and mental pain and suffering,

        28   loss of life, and loss of enjoyment of life" pursuant to this chiim.
                                                                   2
                            Defendant's Notice of Motion to Strike and Motion to Strike to Plaintiffs' Complaint (RICI906137)




                                                      Ex. 12
                                                       117
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 118 of 201 Page ID #:118




                    Paragraph 43, p. 9, 11. 9-10: "As a result of the actions of DOES 1 through 20, inclusive,

         2   Decedent Leroy Stephenson suffered severe pain and suffering, loss of enjoyment of life, and
         3   ultimately died of his injuries."

         4          Paragraph 45, p. 9, 11. 17-18. "As a result of the actions of DOES 1 through 20, inclusive,

         5   Decedent Leroy Stephenson suffered severe pain and suffering."

         6          Paragraph 46, p. 9, II. 21-24: "As a direct and proximate result of the conduct of DOES 1

         7   through 20, inclusive, as alleged above, Decedent Leroy Stephenson sustained injuries and died

         8   from his injuries and also lost his earning capacity. Decedent Leroy Stephenson also incurred

         9   substantial medical bills and costs, loss of life, and loss of enjoyment oflife."

        10          Paragraph 48, p. 10, IL 1: "and as successors-in interest to Decedent Leroy Stephenson ... "

        11          Paragraph 55, p. 9, 11. 25-26: "As a proximate and direct result of defendants' actions,

        12   Decedent Leroy Stephenson suffered loss of life, and loss of enjoyment of life ... Decedent Leroy

        13   Stephenson .. .incurred other ... general damages in an amount to be proven at trial."

        14          INFORMATION REGARDING TENTATIVE RULINGS

        15          The Court will make a tentative ruling on the merits of this matter by 3:00 p.m. on the court

        16   day prior to the hearing. Tentative rulings will be available on the Internet or by calling 1-760-

        17   904-5722. To view go to: http:llwww.riverside.comis.ca.gov and click on the tentative ruling

        18   link. The tentative ruling shall become the ruling of the Court unless, by 4:30 p.m. on the court

        19   day before the scheduled hearing, a party gives notice of intent to appear to all parties and the

        20   court. The notice of intent to appear must be given either in person or by telephone. Where notice

        21   III

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        23   // I

        24   II I
        25   I//
        26   III

        27   /11
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                            Defendant's Notice of Motion to Strike and Motion to Strike to Plaintiffs' Complaint (RIC1906137)




                                                      Ex. 12
                                                       118
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 119 of 201 Page ID #:119




             of intent to appear has been properly given, or upon direction of the Court, oral argument will be

         2   permitted.

         3
             Dated: Febrnary 19, 2020                                      Respectfully Submitted,
         4
                                                                           XAVIER BECERRA
         5                                                                 Attorney General of California
                                                                           RICHARD    F. WOLFE
         6
                                                                           Supervising Deputy Attorney General
         7

         8                                                               -civ-J
         9                                                                 TIM J. VANDENHEUVEL
                                                                         · Deputy Attorney General
        10                                                                Attorneys for Defendant
                                                                          State ofCal(fornia, by and through the
       11                                                                 California Highway Patrol
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                              Defendant's Notice of Motion to Strike and Motion to Strike to Plaintiffs' Complaint (RlC1906137)




                                                         Ex. 12
                                                          119
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 120 of 201 Page ID #:120




         1   XAVIER BECERRA

         2
             Attorney General of California
             RICHARD F. WOLFE
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             Supervising Deputy Attorney General                                     County of Riverside
         3   DOUGLAS E. BAXTER                                                              2/20/2020
             Deputy Attorney General
                                                                                            K. Garcia
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             Deputy Attorney General                                                   Electronically Filed
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              E-mail: Tim.VandenHeuvel@doj.ca.gov                            No Fee Pursuant to Government Code
         9   Attorneys for Defendant                                         Section 6103
             State of California, by and through the California
        10   Highway Patrol

        11                       SUPERIOR COURT OF THE STATE OF CALIFORNIA

        12                        COUNTY OF RIVERSIDE - RIVERSIDE DIVISION

        13
        14   DEVONTE STEPHENSON, individually                       Case No. RIC1906137
             and as successor in interest to Decedent
        15   LEROY STEPHENSON; LINDEN                             DEFENDANT STATE OF CALIFORNIA,
             STEPHENSON, individually and as                      BY AND THROUGH THE CALIFORNIA
        16   successor in interest to Decedent LEROY              HIGHWAY PATROL'S POINTS AND
             STEPHENSON;KEANDRE                                   AUTHORITIES IN SUPPORT OF
        17   STEPHENSON, individually and as                      MOTION TO STRIKE PORTIONS OF
             successor in interest to Decedent LEROY              PLAINTIFFS' DEVONTE
        18   STEPHENSON,                                          STEPHENSON, LINDEN STEPHENSON
                                                                  AND KEANDRE STEPHENSON'S
        19                                            Plaintiffs, COMPLAINT

        20                  v.                                      Date:        March 18~ 2020
                                                                    Time:        8;30 a.m.
        21                                                          Dept:        1
             STATE OF CALIFORNIA; and DOES 1                        Judge:       The Honorable Craig G. Riemer
        22   through 100, inclusive,                                Trial Date: TBD
                                                                    Action Filed: December 18, 2019
        23                                         Defendants.

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                       Defendant's Points and Authorities in Support of Motion to Strike Portions of Complaint (RIC1906137)




                                                     Ex. 12
                                                      120
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 121 of 201 Page ID #:121




                                                                  TABLE OF CONTENTS
         2                                                                                                                                              Page
         3   Introduction ..................................................................................................................................... 5

         4
             Summary of Claims ........................................................................................................................ 5
             Summary of Motion to Strike ................................................................. ,....................................... 6
         5
             Discussion ....................................................................................................................................... 7
         6              I.         Any Survival Claim Based on State Law is Barred by Plaintiffs' Failure to
                                   Present a Claim for Survival Damages ................................................................... 7
         7
                        II.        The Survival Claims Within Plaintiffs' Complaint Should Be Stricken
         8                         Without Leave to Amend ...................................................................................... 10
                                   A.          Survival Claims in Second Cause of Action ............................................. 10
         9
                                   B.          Survival Claims in Fourth Cause of Action .............................................. 12
        10                         C.          Survival Claims in Fifth Cause of Action ................................................. 13
             Conclusion ........................................................................... ,............................................... ,........ 14
        11
        12

        13
        14

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                              Defendant's Points and Authorities in Support of Motion to Strike Portions of Complaint (RIC1906137)




                                                                     Ex. 12
                                                                      121
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 122 of 201 Page ID #:122




                                                                    TABLE OF AUTHORITIES
         2

         3   CASES

         4   Bay Area Rapid Transit Dist. v Superior Court
                  (1995) 38 Cal.App.4th 141 ....................................................................................................... 13
         5
             Medrano v Kern County Sherif.f's qfjice
         6
                  (2013) 921 F.Supp.2d 1009 ....................................................................................................... 13
         7
             Nelson v. County ofLos Angeles
         8        (2003) 113 Cal.App.4th 783 ............................................................................................. passim

         9   Quiroz v. Seventh Ave. Center
                  (2006) 140 Cal.App.4th 1256 ............................................................................................... 8, 11
        10
             State of California v. Superior Court (Rodde)
        11
                  (2004) 32 Cal.4th 1234 ............................................................................................................... 7
        12
             STATUTES
       13
             California Civil Code
        14       § 52.1 ....... ,............................................................................................................................... 6, .13

        15   California Code of Civil Procedure
                § 377.34 ................................................................................................................................... 8, 9
        16
                 § 377.61 ..............................................................................................•..................................... 8, 9
        17      §431.lO(b) .................................................................................................................................... 6
                § 435, et. seq ............................................................................................................................... 6
        18       § 436 ............................................................................................................................................ 6
                § 436(a) ....................................................................................................................................... 6
        19
             California: Government Code
       20        § 910.8 ........................................................................................................................................... 10
                 § 945.4 .............................................................................................................................7, 11, .13
       21
                 § 950.2 ................................................................................................................................7., 11, 13
       22
             CONSTITUTIONAL PROVISIONS
        23
             United States Constitution
       24       Fourth Amendment ...................................................................................................................... .13

        25   COURT RULES

        26   Judicial Council of California Civil Jury Instructions
        27        No. 1300 .........................................................................................................................................12
                  No. 1401 ...................................................,.. ,,.. fr.................................... ,........,................................ .:••.•..• 10
        28
                                                                                               3
                              Defendant's Points and Authorities in Support of Motion to Strike Portions of Complaint (RIC1906137)




                                                                            Ex. 12
                                                                             122
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 123 of 201 Page ID #:123




         1                                                     TABLE OF AUTHORITIES
                                                                     (continued)
         2
         3   OTHER AUTHORITIES

         4   5 Witkin, Summary of California Law (10th ed. 2005) Torts
                §§ 381-416 ................................................................................................................................ 12
         5
                §§ 434-440 ................................................................................................................................ 10
         6
             Weil & Brown, Cal. Practice Guide: Civil Procedure Before Trial (The Rutter
         7     Group 2012)
               ,r 6:137 ......................................................................................................................................... 7
         8     ,r7.182 ......................................................................................................................................... 6
         9

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                            Defendant's Points and Authorities in Support of Motion to Strike Portions of Complaint (RIC1906137)




                                                                      Ex. 12
                                                                       123
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 124 of 201 Page ID #:124




                         Defendant State of California, by and through the California Highway Patrol ("CHP"),

         2     respectfully submits this memorandum of points and authorities in support of its motion to strike

         3     portions of the complaint in this matter.

         4                                                  INTRODUCTION
         5               On Januaiy 25, 2019, defendant California Highway Patrol received reports of a man

         6     (decedent Leroy Stephenson) walking in or near the westbound traffic lanes on the 91 Freeway at

         7     Adams Street near Riverside. A CHP officer arrived to find Stephenson on the off-ramp and tried

         8     to get him out of the lanes, but decedent instead ran towards the freeway. In an effort to prevent

         9     the pedestrian from running into traffic lanes, the officer deployed his Taser. Decedent appeared

        10     to lose consciousness and was later pronounced dead at Parkview Community Hospital in

        11     Riverside. This action is brought by decedent's three surviving sons, Devonte Stephenson,

        12     Keandre Stephenson, and Linden Stephenson, who sue for damages related to the loss of their

        13     father.
        14                                              SUMMARY OF CLAIMS
        15           The first cause of action is labeled "Wrongful Death.'' It is brought against the California

        16     Highway Patrol and DOES 1-20, all alleged to be peace officers employed by the California

        17     Highway Patrol. It generically alleges unlawful use of force against decedent. Damages sought

        18     include "the loss of the society, comfort, solace, society and love of decedent," as well as special

        19     damages including funeral/burial. (Compl.         ,r 25.)   Plaintiffs also seek an award of punitive

        20     damages. (Compl. ,r 26.)

        21           The second cause of action is labeled "False Arrest/False Imprisonment." It is brought

        22     against the California Highway Patrol and DOES 1-20, all alleged to be peace officers employed

        23     by the California Highway Patrol. It generically alleges unlawful use of force against decedent.

        24     Damages sought include ''survival damages" including decedent's physical and mental pain and

        25     suffering, loss of life, loss of enjoymentof1ife, and wrongful death." (Compl.             ,r 35.)   Plaintiffs

        26     also seek an award of punitive damages. (Compl. ,r 36.)

        27 ·         The third cause of action is labeled "Negligence.'' It is brought against the California

        28     Highway Patrol and DOES 1-20, all alleged to be peace officers employed by the California
                                                                       5
                            Defendant's Points and Authorities in Support of Motion to Strike Portions of Complaint (RIC1906137)




                                                          Ex. 12
                                                           124
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 125 of 201 Page ID #:125




             Highway Patrol. It generically alleges that negligent training led to negligent detention and use of

         2   force against decedent. Damages alleged include decedent's "severe pain and suffering" and

         3   plaintiffs' emotional distress, mental anguish, and special damages including medical bills.

         4   (Compl.   ,r 40.)
         5         The fourth cause of action is labeled "Battery." It is brought against the California

         6   Highway Patrol and DOES 1-20, all alleged to be peace officers employed by the California

         7   Highway Patrol. It alleges that defendants "intentionally killed Decedent Leroy Stephenson and

         8   used unreasonable and excessive force against him." Damages alleged include decedent's

         9   "severe pain and sufferini' and plaintiffs' emotional distress, mental anguish, and special

        10   damages including medical bills. (Compl.         ,r,r 45, 46.)   Plaintiffs also seek an award of punitive

        11   damages. (Compl.     ,r 48.)
        12         The fifth cause of action is labeled "Violation of Cal. Civil Code § 52.1." This section is

        13   also known as the Tom Bane Civil Rights Act. It is brought against the California Highway

        14   Patrol and DOES 1-20, all alleged to be peace officers employed by the California Highway

        15   Patrol. It alleges that defendants interfered with decedent civil rights and liberties. Damages

        16   alleged include decedent's "loss of life, loss of enjoyment of life, and wrongful death damages for

        17   the violation of Decedent Leroy Stephenson's rights." (Compl.             ,r 55.)   Plaintiffs also seek awards

        18   of treble and punitive damages. (Compl.       ,r,r 56, 57.)
        19                                  SUMMARY OF MOTION TO STRIKE
        20         This motion to strike is brought by defendant State of California, by and through the

        21   California Highway Patrol ("CHP"), under Code of Civil Procedure section 436, et. seq, on the

        22   grounds that plaintiffs did not present a government claim for survival damages on behalf of the

        23   estate of Leroy Stephei1son, and are barred from seeking those damages as a matter oflaw. A

        24   motion to strike allows for the striking of"irrelevant, false or improper" matter, including

        25   improper damages claims. (Code Civ. Pro. §§431.lO(b), 436(a); Weil & Brown, Cal. Practice

        26   Guide: Civil Procedure Before Trial (The Rutter Group 2012)             ,r 7.182.)   Accordingly, claims for

        27   survival damages are irrelevant, false and improper, as well as not drawn or filed in conformity

        28   with the laws of the State of California. (Code Civ. Proc.,§ 436.)
                                                                    6

                         Defendant's Points and Authorities in Support of Motion to Strike Portions of Complaint (RIC1906137)




                                                       Ex. 12
                                                        125
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 126 of 201 Page ID #:126




         1                                                 DISCUSSION

         2   I.    ANY SURVIVAL CLAIM BASED ON STATE LAW IS BARRED BY PLAINTIFFS' FAILURE
                   TO PRESENT A CLAIM FOR SURVIVAL DAMAGES
         3
         4         A claim for wrongful death damages and a claim for survival damages are not the same.

         5   The claimant in a wrongful death action is a statutorily-designated heir who seeks personal

         6   damages resulting from the death of the decedent. On the other hand, the claimant in a survival

         7   action is the decedent and the action is brought by the personal representative of the decedent's

         8   estate. Therefore, separate government claims must be presented even if the wrongful death

         9   claimant and the personal representative are the same person.

        1o         Here, plaintiffs fail to allege sufficient facts demonstrating or excusing compliance with the

        11   claim requirements as to decedent Leroy Stephenson's estate's survival claims. In addition, the

        12   claim documents confom that no claim for survival damages was ever presented.

        13         It is well established that a lawsuit for money or damages against a public entity or public

        14   employee is barred if the claimant does not comply with the claim requirements of the California

        15   Government Claims Act. (Gov. Code,§§ 945.4 [entity], 950.2 [employee].) With respect to

        16   pleading requirements, ··'plaintiff must allege facts demonstrating or excusing compliance with the

        17   claim presentation requirement." (State of California v. Superior Court (Bodde) (2004) 32

        18   Cal.4th 1234, 1243.) Moreover, the facts alleged must be specific. ''Notwithstanding this general

        19   policy ofliberality, there are certain cases in which a stricter pleading standard is required[.]"

       20    (Weil & Brown, Cal. Practice Guide: Civil Procedure Before Trial (The Rutter Group 2012) ,r

        21   6:137, p. 6-42.) Among these are claims against governmental entities. "To state a cause of

       22    action against a governmental entity, 'every fact essential to the existence of statutory liability

        23   must be pleaded with particularity, including the existence of a statutory duty.'" (Id. at ,r

        24   6: 199.11, p. 6-60.2 [1st ,r]; citing Searcy v. Hemet Unified School Dist; (1986) 177 Cal.App.3d

        25   792, 802; emphasis in original.) This rule also applies to facts demonstrating or excusing

        26   compliance with the claim requirements. (Weil & Brown at ,r 6:199.11, p. 6-60.2 [2nd ,r].)

        27         The facts alleged must also demonstrate compliance or excuse as to each claimant. "Where

        28   two or more persons suffer separate and distinct injuries from the same act or omission, each
                                                                   7
                        Defendant's Points and Authorities in Support of Motion to Strike Portions of Complaint (RIC1906137)




                                                      Ex. 12
                                                       126
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 127 of 201 Page ID #:127




            person must submit a claim, and one cannot rely on a claim presented by another." (Nelson v.

        2   County of Los Angeles (2003) 113 Cal.App.4th 783, 796.) A claim for survival damages is such a

        3   separate and distinct claim. "Unlike a cause of action for wrongful death, a survivor cause of

        4   action is not a new cause of action that vests in the heirs on the death of the decedent. It is instead

        5   a separate and distinct cause of action which belonged to the decedent before death but, by

        6   statute, survives that event." (Quiroz v. Seventh Ave. Center (2006) 140 Cal.App.4th 1256,

        7   1264.)

        8         Nelson makes clear that a government claim for wrongful death damages does not satisfy

        9   the requirement of a government claim for survival damages. (Nelson, 113 Cal.App.4th at pp.

       10   796-799.) In fact, wrongful death damages and survival damages are by statute mutually

       11   exclusive. (Code Civ. Proc., § 377.61 ["In an action under this article, damages ... may not

       12   include damages recoverable under Section 377.34"].)

       13         In this case, the three challenged claims assert wrongful death damages consisting of "loss

       14   of income and support, burial fees and expenses, loss of familial relationship, emotional distress,

       15   and attorney fees and legal costs." None of the government claim forms submitted in this case

       16   name the state of Leroy Stephenson, or state that the estate is seeking survival damages, defined

       17   as "loss or damage that the decedent sustained or incurred before death, including any penalties or

       18   punitive or exemplary damages that the decedent would have been entitled to recover had the

       19   decedent live.d." (Code Civ. Proc., § 377.34.)

       20         Defendants request the court take judicial notice of the claim documents submitted in this

       21   matter. (See Defs.' Request for Jud. Notice.) As can be seen from the certified claim documents,

       22   plaintiffs Devonte Stephenson, Linden Stephenson and Keandre Stephenson each presented a

       23   claim for wrongful death damages. (Id. at CHPOOOl - CSU0009 [Devonte Stephenson;s claim

       24   documents] and CHPOOOlO- CSU00019 [Linden Stephenson's claim documents], and CHP

       25   00020- CHP00029 [Keandre Stephenson's claim documents 1.) There is not a separate claim by

       26   Leroy Stephenson's estate.

       27
                    1
                      Judicial notice is hereby requested pursuant to the concurrently submitted Request for
       28   Judicial Notice, which attaches the certified claims forms of each plaintiff.
                                                                  8
                       Defendant's Points and Authorities in Support of Motion to Strike Portions of Complaint (RIC1906137)




                                                      Ex. 12
                                                       127
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 128 of 201 Page ID #:128




                   The claims presented by the plaintiffs in the case at bar are almost identical to the claim

        2    presented by the plaintiff in Nelson v. County ofSan Diego: "Mrs. Nelson's claim identified her

        3    as the claimant ('Lottie Nelson') and did not suggest her claim was made in any sort of

        4    representative capacity." (Nelson, 113 Cal.App.4th at p. 786 fu. 9.) Here, each individual

         5   plaintiff named himself as the only claimant ("Devonte Stephenson," "Linden Stephenson,"

        6    Keandre Stephenson") and similarly did not suggest their claims were made in any sort of

        7    representative capacity. (Id. at CHPOOOl - CSU0009 [DevonteStephenson's claim documents]

         8   and CHP00010-CSU00019 [Linden Stephenson's claim documents], and CHP 00020-

        9    CHP00029 [Keandre Stephenson's claim documents.)

       10          Where the claim form in Nelson asked for a list ofdamages incurred to date, Mrs. Nelson

       11    listed wrongful death damages of' loss of son, economic losses, emotional and mental injuries, all

       12    subject to proof." (Nelson, 113 Cal.App.4th at p. 786 fu. 9.) In this case, the unifonn response of

        13   the three claims were "loss of income and support, burial fees and expenses, loss of familial

       14    relationship, emotional distress, and attorney fees and legal costs." (Id. at CHPOOOl - CSU0009

       15    [Devonte Stephenson's claim documents] and CHP00010-CSU00019 [Linden Stephenson's

       16    claim documents], and CHP 00020- CHP00029 [Keandre Stephenson's claim documents.) These

       17    again are all items of wrong/id death damages pursuant to Code of Civil Procedure section

       18    377.61. The claim forms submitted in this matter do not seek survival damages, defined as "loss

        19   or damage that the decedent sustained or incurred before death, including any penalties or

       20    punitive or exemplary damages that the decedent would have been entitled to recover had the

       21    decedent lived." (Code Civ. Proc.,§ 377.34.)

       22          The Nelson court also ~ddressed the issue of the "substantial compliance" doctrine, raised

       23    by plaintiffs on appeal. With regard to the "substantial compliance doctrine," plaintiff Lottie

       24    Nelson appealed the trial court's adverse summary adjudication of the survival causes of action

       25    (negligence, assault, and battery for the injuries decedent Dwayne Nelson suffered before his

       26 · death) asserted on behalf of Dwayne's estate by Mr. and Mrs. Nelson as his personal

       27    representatives. Mrs. Nelson contended that her government tort claim-which shows her as the

       28
                                                                  9
                       Defendant's Points and Authorities in Support of Motion to Strike Portions of Complaint (RIC1906137)




                                                     Ex. 12
                                                      128
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 129 of 201 Page ID #:129




               only claimant-substantially complied with the claim filing requirements. (Nelson, supra, at p.

         2     796.)

         3             'Noting that the decedent's estate had not filed a claim, the Nelson court stated:

         4             "Because this rule is based on the purpose of the claim statutes-which is to provide
                       sufficient information to enable the entity to adequately investigate claims and to
         5             settlement, if appropriate, without the expense oflitigation (Nguyen v. Los Angeles
                       County Harbor/UCLA Medical Center, supra, 8 Cal.App.4th at p. 734)-the statutory
         6,            requirements have not been met by the person who has not file~ a claim, and the
                       doctrine of substantial compliance (which applies only when there is a defect in form
         7             but the statutory requirements have otherwise been met) does not apply."

         8     (Nelson, supra, at p. 797.)

         9             Finally, the Nelson court rejected the theory that the government had a duty to inform

        10     plaintiff Lottie Nelson that her claim was insufficient based upon its not claiming survival

        11     damages. "We summarily reject Mrs. Nelson's related contention that the Cotmty was required to

        12     notify her that her claim forn1 was insufficient. A public entity's duty to notify a claimant that the

        13     claim form is "defective" necessarily presumes the defect is disclosed on the face of the form.

        14     (Gov. Code, § 910.8.) The problem here is not that Mrs. Nelson's claim was defective, but that no

        15    · claim at all was filed by or on behalf of Dwayne's estate." (Nelson, supra, at p. 798.)

        16             The Nelson case is directly applicable precedent to the case at bar. Plaintiffs cannot

        17     truthfully allege facts showing that a claim for survival damages was presented. The "substantial

        18     compliance" doctrine will not allow plaintiffs to untimely assert survival claims. Nor is there a

        19     duty by a governmental entity to notify the estate of Leroy Stephenson of its failure to file a

        20     claim. Accordingly, any request for leave to amend to assert claim compliance and standing to

        21     bring survivor damage claims should be denied as futile.

        22     II.     THE SURVIVAL CLAIMS WITHIN PLAINTIFFS' COMPLAINT SHOULD BE STRICKEN
                       WITHOUT LEA VE TO AMEND.
        23
                       A.    Survival Claims in Second Cause of Action
        24

        25             In their second cause of action, plaintiffs allege that decedent Leroy Stephenson was falsely
        26     arrested, "without probable cause or reasonable suspicion." (Compl.            ,r 28.)   A false arrest claim

        27     can only be brought by the person falsely arrested. (CACI No. 1401; 5 Witkin, Summary of Cal.

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                            Defendant's Points and Authorities in Support of Motion to Strike Portions of Complaint (RIC1906137)




                                                          Ex. 12
                                                           129
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 130 of 201 Page ID #:130




             Law (101h ed. 2005) Torts§§ 434-440.) Accordingly, plaintiffs second cause of action is a

         2   survival claim as opposed to a wrongful death claim.

         3         Plaintiffs' complaint specifically confinns that the second cause of action is a survival

         4   claim, stating that "Plaintiffs bring this claim as successors in interest to Decedent Leroy

         5   Stephenson, and seek survival damages, including physical and mental pain and suffering, loss of

         6   life, and loss of enjoyment oflife" pursuant to this claim. (Compl.        ,r 35, emphasis added.)     It is

         7   these allegations within Paragraph 35 of the Complaint, which defendant requests to be stricken.

         8         As set forth in section I, infra., plaintiffs failed to file a government claim fonn allowing

         9   them to state a cause of action on behalf of the estate of Leroy Stephenson or seeking survival

        10   damages. "Where two or more persons suffer separate and distinct injuries from the same act or

        11   omission, each person must submit a claim, and one cannot rely on a claim presented by another."

        12   (Nelson v. County ofLos Angeles (2003) 113 Cal.App.4th 783, 796.) A claim for survival

        13   damages is such a separate and distinct claim. "Unlike a cause of action for wrongful death, a

        14   survivor cause of action is not a new cause of action that vests in the heirs on the death of the

        15   decedent. It is instead a separate and distinct cause of action which belonged to the decedent

        16   before death but, by statute, survives that event." (Quiroz v. Seventh Ave. Center (2006) 140

        17   Cal.App.4th 1256, 1264.)

        18         It is well established that a lawsuit for money or damages against a public entity or public

        19   employee is barred if the claimant does not comply with the claim requirements of the California

        20   Government Claims Act. (Gov. Code,§§ 945.4 [entity], 950.2 [employee].) Plaintiffs have not,

        21   and cannot, meet that requirement as to the second, fomih and fifth causes of action and claims

        22   for survival damages. As such, this motion to strike is appropriately granted as the claims for

        23   survival damages are barred by the claitri requirements of the California Government Claims Act.

        24   Additionally, since plaintiffs cannot truthfully allege facts showing that a claim for survival

        25   damages was presented, the motion to strike should be granted and leave to amend as to the

        26   second cause of action should be denied.

        27

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                        Defendant's Points and Authorities in Support of Motion to Strike Portions of Complaint (RIC1906137)




                                                      Ex. 12
                                                       130
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 131 of 201 Page ID #:131




                   B.       Survival Claims in Fourth Cause of Action
         2         In t.heir fourth cause of action, plaintiffs allege that defendants "intentionally killed

         3   Decedent Leroy Stephenson and used unreasonable and excessive force against him." (Compl.                    ,r
         4   42.) A battery claim can only be brought by the person touched with intent to cause harm.

         5   (CACI No. 1300; 5 Witkin, Summary of California Law (10th ed. 2005) Torts§§ 381-416.)

         6   Accordingly, plaintiffs' fourth cause of action states a survival claim as opposed to a wrongful
         7   death claim.

         8         Pursuant to this cause of action, plaintiffs seek survival damages for decedent's "severe

         9   pain and suffering." (Comp 1. ,r 45.) Plaintiffs again plead that they are bringing the fourth cause

        10   of action "as successors-in-interest to decedent Leroy Stephenson." (Compl. ,r 48.) Accordingly,

        11   plaintiffs' fourth cause of action can only again be construed as a survival claim as opposed to a
        12   wrongful death claim.

        13         Defendant incorporates by reference the points and authorities of section II, A above

        14   regarding plaintiffs inability to state a survival claim under the facts of this case. Accordingly,

        15   defendant seeks an Order striking the following allegations from the fourth cause of action.

        16         Paragraph 43, p. 9, 11. 9-10: "As a result of the actions of DOES 1 through 20, inclusive,

        17         Decedent Leroy Stephenson suffered severe pain and suffering, loss of enjoyment oflife,
        18         and ultimately died of his injuries."

        19         Paragraph 45, p. 9, 11. 17-18. "As aresult ofthe actions ofDOES 1 through 20, inclusive,

       20          Decedent Leroy Stephenson suffered severe pain and suffering."

       21          Paragraph 46, p. 9, 11. 21-24: "As a direct and proximate result of the conduct of DOES 1

       22          through 20, inclusive, as alleged above, Decedent Leroy Stephenson sustained injuries and

       23          died from his injuries and also lost his earning capacity. Decedent Leroy Stephenson also

       24          incurred substantial medical bills and costs, loss oflife, and loss of enjoyment oflife .."

       25          Paragraph 48, p. 10, 11. 1: "and as successors-in interest to Decedent Leroy Stephenson .. ,"

       26

       27

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                        Defendant's Points and Authorities in Support of Motion to Strike Portions of Complaint (RIC1906137)




                                                       Ex. 12
                                                        131
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 132 of 201 Page ID #:132




                   C.    Survival Claims in Fifth Cause of Action

         2
                   The fifth cause of action is labeled "Violation of Cal. Civil Code § 52.1." This section of
         3
             the Civil Code is also known as the Tom Bane Civil Rights Act. It alleges that defendants
         4
             interfered with decedent civil rights and liberties. Plaintiffs seek awards of treble and punitive
         5
             damages. (Compl.    ,r,r 56, 57.)'
         6
                   Based upon well established authority, plaintiffs lack standing to bring a Bane Act claim for
         7
             wrongful death damages. As stated in Bay Area Rapid Transit Dist. v Superior Court (1995) 38
         8
             Cal.App.4th 141:
         9
                   "The Bane Act is simply not a wrongful death provision. It clearly provides for a
        10         personal cause of action for the victim of a hate crime. In Boccato v. City of Hermosa
                   Beach (1994) 29 Cal. App. 4th 1797, 1809 [35 Cal. Rptr. 2d 282], the comt held that
        11         Civil Code section 52.1 must be read in conjunction with section 51.7, which
                   provides that all persons have the right to be free from "violence, or intimidation by
        12         threat of violence committed against their persons" because ofrace, color, religion,
                   ancestry, etc. This reinforces the rational interpretation of the Bane Act, i.e., that it is
        13         limited to plaintiffs who themselves have been the subject of violence or threats."
        14   (Bay Area Rapid Transit Dist. v Superior Court (1995) 38 Cal.App.4th 141, declining standing of

        15   parents seeking to impose derivative liability for shooting of their son.)

        16         Courts have found that a Bane Act violation brought under the Fourth Amendment can be

        17   brought in the limited context of a survival action. (Medrano v Kern County Sheriff's Office

        18   (2013) 921 F.Supp.2d 1009.) However, plaintiffs fail@d to file a government claim form allowing

        19   them to state a cause of action on behalf of the estate of Leroy Stephenson seeking survival

       20    damages. (Nelson v. County ofLos Angeles (2003) 113 Cal.App.4th 783, 796.) It is well

       21    established that a lawsuit for money or damages against a public entity or public employee is

        22   barred if the claimant does not comply with the claim requirements of the California Government

        23   Claims Act. (Gov. Code, §§ 945.4 [entity], 950.2 [employee].) Plaintiffs have not; and cannot,

        24   meet that requirement.

        25         Accordingly, defendant seeks an Order str·iking the following allegations from the fifth

        26   cause of action:

        27

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                                                                    13
                        Defendant's Points and Authorities in Support of Motion to Strike Portions of Complaint (RIC1906 l 37)




                                                       Ex. 12
                                                        132
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 133 of 201 Page ID #:133




                  · Paragraph 55, p. 9, 11. 25-26: "As a proximate and direct result of defendants' actions,

         2   Decedent Leroy Stephenson suffered loss of life, and loss of enjoyment of life·... Decedent Leroy

         3   Stephenson .. .incuned other ... general damages in an amount to be proven at trial."

         4                                                CONCLUSION
         5         The court should sustain defendant State of California's motion to strike as to the cited

         6   allegations within the second, fourth and fifth causes of action in its entirety. These are all claims

         7   personal to decedent Leroy Stephenson, and no claim for survival damages can be stated because

         8   no government claim for survival damages was presented. Moreover, as plaintiffs cannot

         9   truthfully allege facts showing that a claim for survival damages was presented, leave to amend

        10   should be denied.

        11
             Dated: Febrnary 19, 2020                                  Re.spectfully Submitted,
        12
                                                                       XAVIER BECERRA
        13
                                                                       Attorney General of California
        14                                                             RICHARDF. WOLFE
                                                                       Supervising Deputy Attorney General
        15
       16

       17
                                                                       TIM J. VANDENHEUVEL
       18                                                              Deputy Attorney General
                                                                       Attorneys for Defendant
       19                                                              State of California by and through the
                                                                       California Highway Patrol
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                       Defendant's Points and Authorities in Suppmt of Motion to Sh·ike Portions of Complaint (RlCI 906137)




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Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 134 of 201 Page ID #:134




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             Attorney General of California
         2   RICHARD F. WOLFE
             Supervising Deputy Attorney General
         3

         4
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             Deputy Attorney General
             TIM J. V AND EN HEUVEL
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             Deputy Attorney General                                             county of Riverside
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              P.O. Box 85266                                                        Electronically Filed
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         8    Fax: (619) 645-2581
              E-mail: Tim.VandenHeuvel@doj.ca.gov                            No Fee Pursuant to Government Code
         9   Attorneys forDefendant                                          Section 6103
             State of California, by and through the
        10   Ca/Vornia Highway Patrol

        11                       SUPERIOR COURT OF THE STATE OF CALIFORNIA

        12                        COUNTY OF RIVERSIDE - RIVERSIDE DIVISION

        13

        14   DEVONTE STEPHENSON, individually                          Case No. RIC1906137
             and as successor in interest to Decedent
        15   LEROY STEPHENSON; LINDEN                              DEFENDANT'S REQUEST FOR
             STEPHENSON, individually and as                       JUDICIAL NOTICE IN SUPPORT OF
        16   successor in interest to Decedent LEROY               MOTION TO STRIKE BY STATE OF ,
             STEPHENSON; KEANDRE                                   CALIFORNIA, BY AND THROUGH
        17   STEPHENSON, individually and as                       CALIFORNIA HIGHWAY PATROL TO
             successor in interest to Decedent LEROY               PLAINTIFFS DEVONTE STEPIIENSON,
        18   STEPHENSON,                                           LINDEN STEPHENSON AND KEANDRE
                                                                   STEPHENSON'S COMPLAINT
        19                                           Plaintiffs,
                                                                   Date:        March 18, 2020
       20                   v.                                     Time:        8:30 a.m.
                                                                   Dept:        1
        21                                                         Judge:       The Honorable Craig         G. :R..ie111er
             STATE OF CALIFORNIA; and DOES l                       TdaLQate: TBD
       22    through 100, inclusive,                               Action Filed: December 18, 2019
        23                                         Defendants.
        24

        25        Pursuant to California Evidence Code sections 452; and 453, and California Rules of Court,

        26   Rule 3 .1306(c), defendant State of California, by and through the California Highway Patrol

        27   respectfully requests that the court take judicial notice ofthe following documents and

        28
                                                                   1
                           Defendant's Request for Judicial Notice in Support of Motion to Strike to Complaint (RIC1906137)




                                                     Ex. 12
                                                      134
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 135 of 201 Page ID #:135




             information in support of defendant's demuner to plaintiffs Devonte Stephenson, Linden

        2    Stephenson and Keandre Stephenson's complaint in th_e above referenced action:

        3          Request Number 1: Three declarations of Government Claims Unit custodian of records

        4    Lindsey R. Goodwin, and certified records thereto, [Devote Stephenson, CHP-0001 - 0009;

        5    Linden Stephenson, CHP-0010- 0026; Keandre Stephenson, CHP-0019-0027] correct and true

        6    copies of which are attached hereto as Exhibit 1. This Request for Judicial Notice is made

        7    pursuant to Evidence Cqde, section 452, subdivision (c ), because the documents and information

        8    pertain to official acts of the Sta~e. (See also Chas. L. Harney, Inc. v. State of California (1963)

        9    217 Cal.App.2d 77, 85-86 [the trial court and [appellate] court have the power to take judicial

       10    notice of the official records of the.State Board of Control]; Fowler v. Howell (1996) 42

       11    Cal.App.4th 1746, 1752-1753 [courts may take judicial notice of declaration of employee of

       12    board ofcontrol as to the claim file]; Hogen v. Valley Hospital (1983) 147 Cal.A~p.3d 119, 125

       13    [courts may take judicial notice ofrecords and files of a state administrative body].)

       14          FinaIIy, the trial court shall take judicial notice of any matter specified in Evidence Code

       15    section 452, provided that the requesting party provides sufficient notice of the request and

       16    furnishes the court with sufficient infonnation to enable it to take judicial notice of the matter.

       17    (Evid. Code, § 453 .)

       18

       19    Dated: February 19, 2020                                     Respectfully Submitted;

       20                                                                 XAVIER BECERRA
                                                                          Attorney General of California
       21                                                                 RICHARD F. WoLFE
                                                                          Supervising Deputy Attorney General
       22

       23

       24
                                                                          TIM J. VANDENHEUVEL
       25                                                                 Deputy Attorney General
                                                                          Attorneys for Defendant . -
      - 26                                                                State a/California; by and through the
                                                                          California Highway Patrol
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                              Defendant's Request for Judicial Notice in Support of Motion to Strike to Corr1plaint (RICI 906137)




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Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 136 of 201 Page ID #:136




                           EXHIBIT 1


                                     Ex. 12
                                      136
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 137 of 201 Page ID #:137




   X4 VIER BECERRA                                                                                      State of California
 • Attorney Generµ/                                                                 DEPARTMENT OF JUSTICE
                                                                                                                   1300 I STREET, SUITE 125
                                                                                                                            P.O. BOX 944255
                                                                                                        SACRAMENTO, CALIFORNIA 94244,2550
                                                    CER'rIFICATION

        I am a Staff Services Analyst With the Goverpment Claims Unit (GCU) within the Office of the
        Attomey Gehetal, Depa1iment of Justice (AGO). The AGO-GCU operates in .c011juncticm with
        the Government Claims Program (GCP) within the Department of General Services in the review
        of govenunent claims in active civil litigation. I -am familiar with how the' GCP opetates and
        maintains its records of government claims received by and stored by the GCP in its
        Standardized Insurance Management System (SIMS) computer. database. The AGO-GCU is
        granted direct re_ad-only access to the GCP 's SIMS cotpputer data.base and is authorized to
        download the GCP;s records of governmeii.t claims. I am also kn:owledgeable'about the use of
        the GCP;s SIMS computer database ai'l.d hav~ been trained by the GCP's staff in.accessing the
        documents. I effectively serve as a custodian of records maintained by the GCP and aqcessed by
        the GCU. Based on the direct read-only access to the GCP afforded to the GCU, I. am autlmrized
        to·verify:the records maintained with the GCP in the SIMS computer database.

         I researched the GCP's SIMS compt.1tei· database for DEVONTE STEPHENSON as identified
         be'row;                                                           ·   ·

         I hereby certify thatthe attached documents are true and correct copies of the 9-ocurnents
         constituting th~ GCP' s SIMS computer database entries of the government cl9:im for;

                                             luiaL-UimiH··a.anlljti..-!~--c1D~e~'i<v'8Ute Stephenso·n
                                        -'cb-·

                                          ClaimNo.:               19005959
                                         ])01:-                   "01/25/2019

         The recmd includes the government claim, any amendments to the claim, and -all notices or
         c01Tespondence to and from the cl&imant.

         I certify under penalty of perjury under the laws of the State of California that the foregoing is
         true and correct and is based on my personal knowledge. Tam willing and able to testify to the
         truth of the statements ma.de heteini if necessary:.
           '                                                                                                         .
         Executed at Sacramento, Califoi'llill, February 7: 2020. ~



                                                                  LINDSEY .          DWIN                        ·
                                                                  Staff Services Analyst
                                                                  Qovernm~pt Claims Unit




                                                                                                                         CfIP-0001 of0027




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                                                              137
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 138 of 201 Page ID #:138




   iJlis                 CALIFORNIA DEPARTMENT OF

                        GENERAL SERVICES
                                                                                          Governor Gavin Newsom




               CERTIFICATION OF ACCESS_ iO GCP'S SIMS COMPUTER DATABASE'

       I, Nicholas Wagner, hereby attestthat the Government Claims Program (GCPJ within the
       Department of General Services has:granted direct read-only access to the GCP's SIMS
       computer database and authorizeq the 'Government Claims Unit (GCU) within the-Office of the
       Attorney Gene.ral, 'Department of Justice (AGO) to download the GCP''s tec'.:otds of government
       clc1ims. The downloading by thE:J AGO-$CU constitute true and corr~ct copies of the documents
       generated by the GCP's computer database entries pf the .government claJm.

       Th$ records of(he governrn~nt daims and the database                   ·are
                                                                     maintained in the ordinary course
       of the GCP's bi1slness; All computer database entries were made by the GCP Staff within the
       sc9p~ ofthelr tjuties. lhe entries _were made in the ordinary course of the· GQP's bU:siness, ator
       nearthe time :the gtNernment claim was received or acted on by the GCP.: The computer
       database is reJiably l!sed to sJore and maintain the GQP's' government claims records and to
       produce printout$ of the reco'td$, . '       -         -                      .      -;    ..
       I c;;~rtify :u.nde.r pemdty of perJury gnd~r the lavvs of the St;:ite ofCa11fornia that the foregbing is
       ttu~ and correcrto the best of my knowledge and b:elief. I am Willing and able to testify to the
       truth of the statements mad~ flerein:1 if necessary,                                            ·


                                            l::xec.uted ?t West SE!crarrtento, California on May 10, 201'9




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                                            G0:vertitnEilit-CJaims Program .
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Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 139 of 201 Page ID #:139




                                                                CHP-0003 of 0027




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Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 140 of 201 Page ID #:140




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                               GENERAL SERVfCES                                                    Governor Gavin Newsom



              07/31/2019


              Steven A. Lerman
              Attorney af Law
              6033 W C.entury Blvd,; Suite 740
              Lo$. Angeles, CA 90045


              RE:    Claim 19005959 for Devonte Stephenson against California Highway Patrol
              (CHP)                                                                                                  ·

              Dear Steven A. Lerman 1

              Government Claims Program (GOP) staff compie.te.d its inv~stigation of your claim
              and rejected it for the fdlloWin!;J reasons.

              The claim Involves complex issues· thatare f:ieyond the scope of analysis and .legal
              interpretation typically unde~aken by the GCP. Cfalms invorvlhg complex issues are
              best determined by the courts. Therefore, staff did not make a determination
              regarding the merit of the clairi\ and it'is being rejected so you can initiate court
              actio,n if you choo$e to pursue this matter further.                 ·

             lfyou choose to pursue court action in thfs ma.tter1 itis;not necessary or proper tQ
             indude the GCP in YOl.ll" lawsuit un.less the GCP W!:!.s iderftffled as a q~fendant In your
             original claim .. Please consultGov.ei'nmeilt Code. section 955.4regarding proper··
             service of the summons.

            . lfyou have questions about this' m?1tter; please feel free to contactGCP by phone,
              mail, or email using the c:::o·ntact Information below. PleE1$e remember to reference
              the assigned claim number (19005959) in your commuhi'catibh,

             Sincerely,

              .~eL-.
              Ttevor Rabena, Prag-ram Analyst
              Governr:rreot Clctims Prqgn~m
             .gt:Jhfo@dg$.ca.g·ov

              WARNING: Subject to certain exceptions, you have only six(6) months ftom the
              date this notice was personaUy delivered or deposited in the mail to 'file a court action
              on this claim. See Government Code Section. 945.6. You may seek the adVi.ce. of an
              attomE:ly of your choice In connection with this matter. lf you desire to consult an
              attorney, you should do so immediately:




       Office of Risk and lnsur.l;lnce Management 3>, :~ :'' :: '' ': ,.,   ,1   J: . ~' ,.~. '< ··: :; ::+•i: ;.~, .!.. ;;-r :1
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Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 141 of 201 Page ID #:141




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        DEi.                            ~,t>,1.lFOP,NIA Of;PAll.rtH:NT OF
                                                                                                                         Governor Gavin Newsom
             · .. GENERAL SERVJCES
                                                    DECLARATION QFSERVICE BY U.S. MAIL

                 Name of Claimant: Devonte Stephenson
                 GCP File no.: 19005959

                I am employed by the Government Claims Program; I arrr 18 years of ~ge or older. I
                am familiar with the business practice atthe. Goverrtment Claims Prog·ram for
                collection and processfng ofcorrespondence for mafffng with the United States Postal
                Servic.e .. tn accordance with that practice, correspoodence placed in the internal mall
                coflection system at the G.overnment Claims Program is deposited with the :United
                States Postal· Service wfth postage thereon fully prepaid that same day in: the
                ordinary coUtse ofb·uslness. On OJ/31/2019, I served the attached letter PY. pl acing a
                true copy thereof enclosed in ~ sealed envelope in the Internal mail. collection system
                at th'e Government Claims Pr9gram 1 located at 707 Third Street: West Sacramento,
                CA 95605, addressed as follows:

                Steven A. Lerman
                 Att:ornf;:)y al Law
                 6033 'W Century Blvd., Suite 740
               · Los Angeles, Ck90045 ·

                 I declare under penalty ofoer(ury uhder the iaws 'Of the State ofbalifQrnia that the
                 foregoing is true and correct and that this declaration was executed on 07/31/2019, at
                 We.st Sacrr:ime:nto, ¢aliJ9rnig.



                Tre\ior Rab.ena




        Office of Risk and Insurance Management Sr,H3 ?-'· :; ,1!: ;,y:, 'i ,Jo,~,..,....,.,') i :Jc~r91,-2,... ;    1
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Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 142 of 201 Page ID #:142




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Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 143 of 201 Page ID #:143




          Location of the incident:
   -18    9.1 Freeway near Adams Stre~t off-ramp in Riverside, California.


          Describe the specific damage or injury:.
   - 19   Unlawful detentlqn and wrongful death whic~ resulted in loss of income and support; burial fees and expenses; Joss
          of familial relationship; emotional distress; and attorney fees and legal costs.




   ----
    20. Explain the circumstances that led to the damage or injury:
           California Highway Patrol and various California Highway Patrol officers, unlawfully seized the Claimant's father,
           Leroy Stephenson. The officers then used·excesslve force against Leroy Stephenson which caused Leroy
           Stephenson's death.




   -2-1    Explain why you believe the state is responsible for the damage or injury:
          · At all times complalried of, the individuals who unlawfully seized and killed Leroy Stephenson were acting within the
            course and scope of their employment with the Callfomia Highway Patrol.


    22 Does the claim involve a state vehicle?                                                                     0 Yes                    @No
          If YES, provide the vehicle license number, if known:                               ,e




    Auto Insurance Information
    23
          Name of Insurance Carrier
                                                                                   I                                  I           I
          Malling Address                                                              City                               State       z;p
          Policy Number:                                                                 I Tel:
          Are you the registered owner of the vehicle?                                               OYes                                   ONo
          If NO, state name of owner.
          HEJS a claim .been flied with your insuranct;i carrier, or will it be filed?               OYes                                   ONo
          Have you receJved anv pavment for this damage or injury?                                   OYes                                   ONo
          If yes, wha~ amount did you receive?
          Amount of q~duqtible, if a·ny:
          Claimanfs Oriv~rs License Number:                                 IVehicle License Number:
          Make of Vehicle:                                !Model:                            I Year:
          Vehicle ID Numper:
    Notice and Sianature
    24 I declare under-penalty of perjury under the laws of the State of Californir;t that all the information Ihave
         prdvid13d is true and correct to the best of my information and belief. I further understand that if I have
           provided inf~~%ion that is_ fal~e, intentio.nally incomplete, or misleadin_g I may b~ charged wi~h a felony
           punish~blfl..D  to foJJf
                      iW vv.           -
                                         IJ   ...

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                                                             .....____
                                             state ons.on and/Or a fine of up to $10,000 (Penal Code section 72).
                                                                Steven A. Lerr:nan                       I
                                                                                            Date: June _25, 2019 .
           Signature ~'[Nlaimant or Representative                       Prlntf)d f:Jame
     25    Mall this 'form and all attachments with the $25 filing fee or the "Filing Fee Waiver R~quest" to: Gov1;?01ment Clairni:1 Progr!:lrn;
           P.d. Box 989052, MS 414, West Sacrc:1mento, CA 95798-9052, Forms can alsq l:le deliveredto the Office 9fRlskand
           Insurance Management, 707 3rd street, 1st Floor ORIM, West Sa~ramento, Ct;.. 9560_5.


                                                                                                                 DGS ORIM 06 Page 5 of 5

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Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 144 of 201 Page ID #:144




                                   S~/1, L ~ 4 / ' l ~ I ?11e,
                                        6033 WEST CENTURY BOULEVARD, SUITE 740
                                             LOS ANGELES, CALIFORNIA 90045
                                                    TEL (310) 659-8166
                                                    FAX (310) 285-0779

  STEVEN A. LERMAN                                                                STEVEN A. LERMAN IS ADMITTED
  ATTORNEY AT LAW                                                              TO PRACTICE IN CALIFORNIA AND IS AN
                                                                        INACTIVE MEMBER OF THE FLORIDA AND HAWAII BAR

                                                                                   Government Claims Program
       June 25, 2019
                                                                                        JUL O3 2019
       Gov:ernment Claims Program
       Office of Risk and Insurance Management                                           RECEIVED
       Dept. of General Services
       PO Box 989052, MS414
       West Sacramento, CA 95798-9052


       Re:     January 25, 2019 death ofLeioy Richard Stephenson

       Dear Sir or Madam:

       On behalf of claimant/client (successors in interest to Leroy Richard Stephenson), please see
       attached Governm(?nt Claim Form for claimant, Devonte Stephenson. ·

                                     THE JANUARY 25, 2019 INCIDENT

       ,On or about January 25, 2019, atapproximately 12:00 p.m., various California Highway Patrol
        officers confronted Decedent Leroy Richard-Stephenson on the Adams Street off-ramp in Riverside,
        California. One of the California Highway Patrol officers· discharged his taser which struck
        Decedent Stephenson. Mr. Stephenson was handcuffed and taken to Parkview Community Hospital
        wher~ he died just before 2:00 p.m.

       Please conform and "stamp receive with date" the extra copy _of the Government Claim Form and
       return to our office in the self addressed, stamped envelope. ·· ·




       Enclosures




                                                                                              CHP-0008 of 0027




                                                    Ex. 12
                                                     144
         Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 145 of 201 Page ID #:145




          Steven A. Lerman & Associates, Inc.
          6033 West Century Boulevard
          Suite-#740
          Los Aµgeles,   CA 90045
Ex. 12
 145




                                         Goverment Claiblls Program
                                         Post Office Box 9890S2, MS,414
                                        WestSacrameno~ .Q 95798-90:SZ
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Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 146 of 201 Page ID #:146




  X'1 VIER BECERRA '                                                              State of California
  Attorney General                                                    DEPARTMENT OF JUSTICE
                                                                                             1300 I STREET, SUITE 125
                                                                                                      P.O. BOX 9442-55
                                                                                 SACRAMENTO, CALIFORNlA 94244-2550
                                                 CERTIFICATION

         I am a Staff Services Analyst with ·the Government Claims Unit (GCU) within the Office ofthe
         Attorney General, Department of Justice (AGO). The AGO-GCU operates in conjunction with
         the Govenunent Claims Program (GCP) within the Department of General Services in the review
         of government claims in active civil litigation. I am fm:niliar with how the GCP operates and
         maintains its records of government claims received by and stored by the GCP in its
         Standardized Insllrance Management System (SIMS) computer database . .The AGO-GCU is
         granted direct read-only access to the GCP, s SIMS computer database and is authorized to
         download the GCP's records of govemment claims. lam also knowfedgeable about the use of
         the _GCP;s SIMS computer database and have been trained by the GCP's staff irt accessing the
         documents. I effectively serve as a custodian of record.s maintained by the GGP and accessec;l by
         the GCU. Based on the direct reaq-only access to the GCP afforded to the GCU, I am autho:rized
         to verify the records maintained with the GCP in the SIMS computer data&ase. ·

         I researched the GCP's SIMS computer database for LINDEN STEPHENSON as identified
         below.·

         I hereby certify'that-the-attaehe_cl-c:locuments-are-true-and-correct-copies-of-the-ducurrrenrs --~---~-~
         constituting the GCP's SIMS computer database .entries ofthe govenunent claim for:

                                          Claimant:       Linden Stephenson
                                          Claim No.:      19005978
                                          DOI:            Ol/25/2019

          The record includes the govemment claim, any amendments to the claim, and all notices or
          corr.espot1dence to and from the claimant.          ·

          I certify under ·penalty of pe1jury under the laws of the State of California that the foregolng is
          true and correct .and is based on my personal knowledge. I am willing and able to testify to the
          truth of the statements made herein, ifnecessary.

          Executed at Sacramento, Califo111ia, February 7, 20s20.
                                                                __                         .
                                                                .      · . ~

                                                          LIN~O!)WiN
                                                          Staff Servic·es Analyst
                                                          Government Claims Unit




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Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 147 of 201 Page ID #:147




                                                                                              Governor Gavin Newsom




              CERTIFICATION OF ACCESS TO GCP'S SIMS COMPUTER DATABASE

       I, Nicholas Wagner, hereby attest that the Government Claims Program (GCP) withih the
       Department of General Services has granted direct read-only access to the GCP's SIMS
       oornputer database and au~horlzetj the Government Claims Unit (GOU) with.in the Office of the
       Attorney General, "Department of Justice (AGO) to download the GCP's records of government
       claims:. The downloading by the AGO-GCU constitu'te. true and· corr~ct copies of _the d_qcuments
       Qenerclfed by the GCP's computer database entries qf the governr:neht claim.

       The records of the governm~ni cfafms and the.database aremafntainedJn the:ordinary course
       of the, GCP's bi..!si.ness; All computer database entries were made by the GGP Staff within the
       scope of their outies. The entries were made in the ordinary course cif the· GCP's business, at or
       nearthe time the government claim was received or acted :on by the GCP. The computer
       dc1}abase is reliably used to store an9 ma.intaln the GCP's government claims records and to
       prqduce p(il1tquts .of th_e: records,, :         . .                           .     .,_    _·

       I cf3rtify qnder i;,enalty of perJury t;inder the laws ofthe St~te of Cafifornia that the foregoing is
       true ~nd Cdrfe.ctto the best of my kno.Wledge and belief. I am wililng and ableto testify to the
       truth of the statements made hereh\ if .necessary,


                                          . Executed at West Sc1cramemfo, California or:1 May 10, ~019




                                          NH               Zlr--
                                         · . Sti:iff Servlces Manager
                                             Goverrlment Claims Program
                                             Office of ~i~k, ancl !nsuran,GfJ Jylanpgement
                                             Departrttent of Generai services




       Divi1?i9n, Branch or Office Name Here! Sum of C1hhrm1 l C-.lifomfoGovernment 6per.:1tlons Agency
       70, Jrd Street.# of Floor!   w~~t Sacramemo.   C..:\ 95i305: t{Jl6J J'J'iJ--'iOOi) fi9fi$1 JliJ-5018   CHP-OOll ofoo27




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Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 148 of 201 Page ID #:148




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Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 149 of 201 Page ID #:149




                                                                                      Governor Gavin Newsom




                 08/0172019


                 Steven A Lerman
                 Attorney at Law
                 60.33 W Century Blvd Ste 740
                 Los Angeles, CA 90045


                 RE: Claim 19005978 for Lif')dE:m Stephensgn E.igalnst Highway Pc:i.trol;. C~lifomia
                 (CHP)

                 Peer Steven LetmE.111,

                 Government Claims Progrl:lm(GCP) staff comp[eted. ifs investigation of your claim
                 and rejected it for the following reasons.

                  The claim involves complex fssues that are. beyond the scope of analysis and legal
                 .interpretation typically .undertaken by the GCP. Claims, involving complex issues are
                 .best determ_ined py the c9urts;. ·rh'egeft>re, sfoff did not make a c;Jeterrnination
                 :regarding thee mE1:tit of the clafrn, aod Ris being rejeote:d so you ca·n initiate court
                  action Jf you ch,oose to RUrsue this matter fwt_he.r:

                  If you. choose to pursue courtactiori in this matter, itis not necessary orpropetto
                 include f_he GCP in youdmvsuit un1$Ss the GCP was_ identified as a defen:ciant in your
                  original. claim. Ple~se cons.wit G.ave:rnmeht Code sec.tibn 955.4 f~ga.rdlng ·proper
                  serv_ice of the sl,;lmmons.

              If you have questions about this rrratteri please feel free: t-0 contactGCP by phone,
             ·mail, or emaH µsing the co.ritact information below; Please remember to ·ref?rence
              the :ass:igned clahn number (1'9005978) in your communication.
                 Sincerely,

                   !0ti~~
                 Eric Rivera, Program AAaly,st.
                 Government Claims ·Program
                 gcinfo@dgs.ca.gov



                 WARNING: Subject to certain exceptions, you have only six (61 months from the
                 date this notice was persorally deiivered or deposited in the mail to fUe a court action
                 on this claim. See Government Code Section 945.6. You may seek the advice of an
                 attorney of your choice 1n conhection with this matter. ·1f you desire to consult an
                 attorney,_ you should do so immediately.




       Office of Risk and Insurance Management J · · ,. : ' ·   1 '· ·..   ,   :;   • : :   t · ,·   ,   .!
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Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 150 of 201 Page ID #:150




        ~~s                                C~L/FOIHHA Ot;.::>ArHMENJ OF
                                                                                                                                Governor Gavin Newsom
        I.Ila                           . GENERAL SERVICES

                                                         DECLARATION OF SERVICE BY U.S. MAIL

                  Name of.Claimant Linden Stephensoh
                  GCP i=ile no'.: 19005978   .

                  I am employed by the Government Claims Program. I am 18 years of age or older; I
                  am familiar with the business practice .at the Government Claims Program for
                  collection a·nd processing of correspondence for mailing with the United States Postal
                  Service. In accordance with tl1c;!t practrce, correspondence placed in the internal mail
                  collection system at the Government Claims Program is deposited with the United
                  States Postal Service wffh postage thereon fully prepaid that same day In the
                  Qrolhaty coyrSEl of bqsiness. ·On 08/b1/2019,. I served the attached letter by pladnu a
                  true copy thereof eiidos.ed iri a sealed envelope. in the internal mail colrectiori, system
                  al the Gov13rnmC;1nt Cl.aim$ Program,. located ·at707 Thircl Street, West Sacr(;ln,ento,
                  CA J:)5605, addressE1d as follows:

                  $teven A Lerman
                  Attorne,y at Law
                  6033W Century Blvd Ste740
                  Los Angeles, CA 90045

                  I declare uqder penalty pf perjury under the laws of the State of California that the
                  foregoing is tru.e and correct anq that this declaration was executed en 08/01/2019., at
                  WestSacramentoi California.



                 Eric Rivera




        Office of Risk and Insurance Management 3'.1 '1 :. ~ ·::1                                  ,':,"' ,1   3:··· v···--~n/ O.c'}t1: Jt'r;     ..l ;•tr<; 1
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Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 151 of 201 Page ID #:151



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              . ·.· . . · · · · ' '
                                    thi¥'ihdii/lcfual officers who oausE1dMr. Stephenson's death.                            ,                                      ·                ·
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Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 152 of 201 Page ID #:152




   -,18 Location of the incident:
            91 Freeway near Adams Street off-ramp In Riverside, California.


    19 Describe the specific· damage or injury:
   >-
           Unlawful peten.tlon and wrongful ~eath which resulted In loss of Income and support; burial fees and expenses; loss
           of familial relationship; emotional distress; and attorney fees and legal costs.




     20 Explain the circumstances that led to the damage or injury:
   ,...__
           California Highway Patrol and various California Highway Patrol officers, unlawfully seized the Claimant's father,
           Leroy Stephenson. The officers then used excessive force against Leroy Stephenson which caused Leroy
           Stephenson's death.




     21 Explain why you believe the state is responsible for the damage or injury:
   ,___..,_
           At all times complained of, the Individual~ who unlawfully seized and killed Leroy Stephenson were acting within the
           course and scope of their employment with the California Highway Patrol.


    22 Does the claim involve a state vehicle?                                                               0 Yes                    0No
           If YES, provide. the vehicle license number, if known:
    Auto Insurance Information
    23
           Name of Insurance Carrier
                                                                            I                                   I           I
          · Maif/ng Aqdress                                                     City                                State       Zip
          Policy Number:                                                                   !Tel:
          Are vqu the re!:tiStered owner of tlie vehicle?                                              ()Yes                          0No
          Jf NO, state nairn~ of owner:
          Has a .cl;:1im· been filed with your insurance carrier, or will it be filed?                 OYes                           ONo
          Have .vou received anv oavment for ihis damage or iniurv?                                    OYes                           ONo
          If yes, What:;:imount did you receive?
          Amount of deductible, if anv:
          Claimant's Drivers License Number:                                 [ Vehicle License Number:
          Make of Vehicle:                                I Model:                             I Year:
          Vehicle 10· Number:
    Notice and S{anatu_re
    24 I declare tinder penalty of perjury under the laws of the State of California that all the information I have
           provide~ i~ true and correct to the best of my infonnatfon and belief. I further understand that if I have
           provided   inf~   ation that is false, intentionally incompl\9t!3, or misleading I may be charged with a felony
           punistia~· ·· r.J 10 to four v.ears In state orison and/or a fine of uo to $10,000 (Penal Code sectipn 72).
                                            .....
                ~V\.../                        --------~--·         Steven A. Lerman                I
                                                                                                Date: June 25, 2019
            SignatJlte of C/fiimant or Representative                Printed Name
     25     Mail this form and all attachments with the $25 flllng fee or the "Filing Fee Waiver Request' to: Government Claims Program,
            P.Q. Box 96'9052, MS 414,,.\~lest Sacramento, CA 96798-9052. Fo~s can 91~o be delivered to the Office of R)sk and
            lnsl,lrance Management, 7~7 3rd s~eet, 1st FIOO'r ORIM, West S~cramento, CA 95G05.


                                                                                                           DGS ORIM 06 Page 5 of 5

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Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 153 of 201 Page ID #:153




                                   S~~           L ~ ~/"I~, ?~,
                                        6033 WEST CENTURY BOULEVARD, SUITE 740
                                             LOS ANGELES, CALIFORNIA 90045
                                                    TEL (310) 659-8166
                                                    FAX (310) 285-0779

  STEVEN A. LERMAN                                                                STEVEN A. LERMAN IS ADMITTED
  ATIORNEY AT LAW                                                              TO PRACTICE IN CALIFORNIA AND IS AN
                                                                        INACTIVE MEMBER OF THE FLORIDA AND HAWAII BAR



       June 25, 2019

       Government Claims Program
       Office of Risk and Insurance Management
       Dept. of General Services
       PO Box 989052, MS414
       West Sacramento, CA 95798-9052


       Re:     January 25, 2019 death of Leroy Richard Stephenson

       Dear Sir or Madam:

       On behalf of claimant/client (successors in interest to Leroy Richard Stephenson), please see
       attached Govenunent Claim Form for claimant, Linden Stephenson:

                                     THE JANUARY 25, 2019 INCIDENT

       -Onor-aboutJanuary 25, 2019:, at approximately 12;00p.m., various California Highway Patrol
        officers confronted Decedent Leroy Richard Stephenson on the Adams Street off-ramp in Riverside,
        California. One of the California Highway Patrol officers discharged his taser which struck
        Decedent Stephenson. Mr. Stephenson was handcuffed and taken to Parkview Community Hospital
        where he died just before 2:00 p.m.

       Please conform and "stamp receive with date" the extra copy of the Govenunent Claim Form and
       return to our office in the self addressed, stamped envelope.




        Enclosures




                                                                                              CHP-0017 of0027




                                                    Ex. 12
                                                     153
            Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 154 of 201 Page ID #:154




         Steven A. Lerman & Assoc1ates, Inc.
         6033 West Century Bo:tdevard
         Suite #14-o
         Los Angeles, CA 90045
Ex. 12
 154




                                                      ···.-an··,::,t i°'la,im;:
                                          Glf~'Ura'l:"m·             ~~
                                              'Y'''ll!f\\;;i,I): : .'~ .: ••·'
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                                        11.-~~l:..~~~~-~Q~v,       ~~   ~·- 9i!!'7·9o,.,.9'ti;;~,2.
                                                                            . a. U .. \Jiii;J._
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 155 of 201 Page ID #:155




  X4 VIER BECERRA                                                           State of Califorilia
  Attorney General                                                 · DEPARTMENTOF JUSTICE
                                                                                            1300 I STREET,     surre
                                                                                                                 125
                                                                                                     P.O. BOX 944255
                                                                                SACRAMENTO, CALIFORNJA 94244-2550
                                                CERTIFICATION

        I am a Staff Services Analyst with the Government Claims Unit (GCU) within the Office of the
        Attorney General, Depaiiment of Justice (AGO). The AGO-GCU operates in conjunction with
        the Government Claims Program (GCP) within the Department of General Services in the review
        of govermnent claims in active civil litigation. I am familiar with how the. GCP operates and
        maintains its records of gove1mnent claims received by and stored by the GCP in its
        Standardized Insmance Management System (SIMS) computer database. The AGO-GCU is
        granted direct tead-only access to the GCP's SIMS computer database and is authorized to
        download the GCP's records of government claim·s. I am also knowledgeable.about the use of
        the GCP's SIMS··computer databa~e and have been trained by the GCP;s staffin accessing the
        documents. I effectively serve as a custodfan of records maintained by the GCP ·and accessed by
        the GCU. Based on the direct read-only access to the GCP afforded to the GCU, I am authorized
        to verify the records maintained with the GCP in the SIMS cotnputer database.

        I researched the GCP's SIMS computer database for KEANDRE STEPHENSON as identified
        below.                                                            ·

        I hereby certify that the attached documents are true and correct copies of the documents
        constituting the GCP's SIMS computer database entries of the government claim fot:

                                         Claimant:      Keandre Stephenson
                                         Claim No.:     19006010
                                         DOI:           01/25/20i9

        The record includes the government claim, any amendments to the claim, a:nd all notices or
        correspondence to and from the claimant.                                    ·

        l certify 1-!nder penalty of pe1jnry under the laws of the State of California that the foregoing is
        true and correct and is based on my personal lmowledge. I am willing and able to testify to the
        truth of the statements made herein, if necessi;try,                                               ·

        Executed at Sacramento, California> February 7, 2020 .
                .                                         ~                       ·




                                                         LINDSEY R. GOODWIN
                                                         Staff Services Analyst
                                                         Government Claims Unit




                                                                                                 CHP-0019 of0027




                                                      Ex. 12
                                                       155
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 156 of 201 Page ID #:156




                                                                                              Governor G.avin Newsom




               CERTIFICATION OF ACCESS TO GCP'S SIMS COMPUTER DATABASE

       I, Nicholas Wagner, hereby a_ttestthat the Go_vernmeht Claims Pro.gram (GCP) within the
       Department of General se·rvlces has granted direct read-only access to the GCP's SIMS
       computer database anc:i authorizectthe Government Claims Unit (GOU) within the-Office of the
       Attorney Genera[, Department of Justice (AGO) to download the GCP's records of government
       clE1ims. The downloading py the AGO-GCU constitute true eind· cqrr~ct copies of the documents
       generated by the ~CP's computer d~tabase entries of the ·government claim.                ·

        The records df the government claims and the database are maintained Jn the ordinary course
        of the· GCP's business. All computer database- entries were made by the GCP Staff Within the
      · scope of th<3ir ouUes. The entries were made fn the ordlharycourse of the OCP's bu'slness, ator
        neadhe time the government claim was received or acted;on by the GCP. The computer
        datab1:1se is rellably qsed to store and mc:1intaln the GQP's government clain,s recorci!s and to
        prod'uce· prititowts.ofth.e. recotds.. · ·     ·                    ·                   .,     ·

       I certify _4nder penalty of perJury pnd~r the iaws ofthe St?te of.California that the foregoing is
       true and' correctto the best of my knowledge ahd beliet: I am' willing and able to testify to the
       truth of the statements rnade here1ni if necessary.                   ·


                                              Executed at West SQ.crarnentd, Oalifomla on May 10, 2019




                                               NH.           12r-
                                            .. StEiff S·ervh;:es Ji,,t9nager
                                              Govertimeht Claims Program
                                              Office,of Risk ang lnl?Pranc!:l Management
                                              r;:repartrnenfof G:ener:al Servic#S




       Divi!;:lion, Branch or Office Name Here I $late of C,'l/ff')rn1.1 \ Californi'J G.-:Nernment Oper,:itions Ag~ncy
       70-;' Jtd Str~et. # ofFloo(I W'Js/ Sati'amen/o CA lS'i0-3 ! t i1 I 5) :na.,500,, f (91?1 J7ij.50'18            CHP-oo 2o.ofoo 27




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Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 157 of 201 Page ID #:157




                                                                 CHP-0021 of0027




                                     Ex. 12
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Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 158 of 201 Page ID #:158




       !'-lms·
       I.I . ·
                                <Al.li'ORN)•\ Oiil"AllHl[NT OF
                                GEt-.lERAL. SERVICES                                         Governor Gavin Newsom



              07/0:g/2019


              Steven Lerman
              Attorney at Law
              6033 W. Century Blvd., Ste. NO
              Los Anf]eles, CA 90045


              RE: Claim 19006010 for Keandre Stephenson againstCalifornia Highway Patrol
              (GHP)                                  .                                                         .

              Declr Steven Lerman,

              Gove·rnment Claims Program (GOP) staff completed its investigation of your claim
              am) rejected It for thefollo~ing rea!;lons. .

             The claim involves complex issues that are beyond the scope of analysis and legal
             interpret~tion lypicaJIY undertaken by the GCP. Claims invoMng complex issues Elre
             best determined bythe courts. Therefore, staff did not make a determination
             regarding the merlt of .the claim, f:lnQ it. is being· rejected so you cm, initiate court
             action if you choose to pursue thfs matter further;

             If you cboose to pursue cou~ aofion in this matter, it rs not necess~fry or proper to
             include the GCP in your lawsuit unless the GCP was identified as a defendant in your
             originc1I claim. Pleas? c9nSL1IJ G9vernrnent Code seGHon :g55A re1gc;1rding proper
             service afthe sumnfons.

             If you have questions about this m.atter; please feel .free to contact GCP by phone,
             mail, or email using the tohtact information below. Please remember to reference.
             the a.ssigned claim number (1900601 O} in your corrirnqn!eation,



            ~·fJMf~
             Kelli Miyatizl, Program Analyst
             Government Claims Program
             gcinto@dgs.ca.gov


             WARNING: .Subject to certaJn a>eceptfons, you· h~ve only six (6) months from the
             date:this.not1cew(:i'sp~rsonaUy delivered o.rdeposited in the mail to file a courtaction
             cm this claim. See Government Code Section 945.6. YoLJ may seek th~ advice of an
             attorney of your choice in connection With this matter; If you desire to consult an
             attorney, you shoul(i do so immedi~tely.




      Office of Risk a·nct Insurance Management : S;; !J of ,;3J,fornia , G•Yi'.lrnmenr' Q.oer~ tion.s .4q~r,;; f
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      71)' )f!i-5!(9-3/ I;'. F. :)•)( ·,•, H: ,1 :(~;n'7nro. C4 n-;,n; t j,),) . .95.S-OiJJ.H) 1 i;-J 7 ,1•/JJ'3!   CHP-0022 of0027




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  Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 159 of 201 Page ID #:159


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                                    . GENERAL SERVICES
                                                                                                G            I",   ,   u
                                                                                                    ovemor"',,av1n 1'1€Hlllsom
                                               DECLARATION OF SERVICE BY U.S. MAIL

                     Name of Claimant: Keandre Stephenson
                     GOP File no.: 19006010

                      I am employed by the Goverhmerit Claims Program. I ani 18 years ofi:\ge or older. I
                      am familiar with the business practice at the Government Claims Program for
                      collection and processing of correspondence for mailing with the United States Postal
                      Service. In accordance with that practice, correspondence placed in the internal mail
                     coHectfon system at the Government Claims Prqgram is deposited with.the United
                     States P.osta:i ·s:ervice with ·postagelhereon fully prepaid that same dayJh the.
                     ordinary course -pf busine.ss. o_n 071Q9/2Q19, I served the ·attached letter by placing q
                     true copythereof encl_osed in a sealed.envelope: In the inter.nal mail collectron system
                     at the Government Claims Program, located at707 Third Stre.et, West Sacratnento,
                     CA.95.60!5, addressad as follows:

                     Steven Lerm.an
                     Attorney at.Law
                      6033 W; Cent1,1ry Blvd., Ste. 740
                     .Los Angetes, CA 90045 ·

                       I declare under penalty of perjury under the laws of the State of California: that the
--·-·-·-----·for:e.going.J_s.Jr;ue.and-correctandJbatJhi.s_declar.ation..was..exe.c.uted.:.0.0::.01/Jlfll2019-,..aL_________ _
                     VVest Sacramento; California.             ~             ·


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                . K\9111 Miy~ta
                                   ~J~




              Office ofRisk and Insurance Management, Slate o! c~1tfornt~ ' Oo·lernment Oper:1tioin Agen,;y
              7,)7 Jrd St.t':1et; 1.s./ Ff.o.or t W;,1;,t Sacr~manto. CA 951305,; t 01J•). 955·•J•J45 f 915<F.6·6J-F       CHP-0023 of0027




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                                                                      159
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 160 of 201 Page ID #:160



},   ,
           STATE OF CALIFORNIA- DEPARTMENT OF GENERAL SERviCES
           Government Claim t-'onn                ·                                                                               For Office Use Only
         ' DGS ORIM 06 (RE!V. 05/2016)                                                                                       GOVflil1ffltl1i (IGHt; Prcnn:m,
          Government Claims Program
          Office of Risk and lmiurance Management                                                                                   .JUL O5 Wt9
          Department of General Servtces
          P.O. Box 989052, MS 414                                                                                                   RECEfVED
          West Sacramento, OA 95798·9052                                                                                             l'I(;             /kt
          1-800~955-0045 • www.dgs~ca.gov/orlm/Programs/GovernmentClalms.a~px

          Is our claim com lete?
             11     lnehjde a cheek or money ~mfer for $25 payabJe to the State of California.


           Claimt:tfl!.fnfcinfi~tfcm Use name df business or entity lfafalmarit is not an Individual
             1     SfephEinsoh ·                         Keandre                                          2     Tel: 909•767;.2403
                    Lctstiiame                              Flrot Name                              Ml
                                                                                                          3     Email: stephensonkeandret60@gmall
                                                                                             San Bernardino                            CA
                                                                                             City                                   state
             5      Inmate or patl~nt number, if applicable:
             6      Is the claimant under 181 No             If Ye$, please give date of birth:
             7

          · ffy9ur cfEJi111r~li.itlf}~}o anoth.1:1l <;tafm qr claimant, {Jteasepro'iida tha claim numoer or ctalt;umt's name lh section 8,
           A'ttami.f' btRtt)tisentative tnfomtatlon
            9 Lemian : . . ..            Steven                                                A         1()     Tel:310-:6$9.;8166·

            1.2 603~\.N.CenturyB!Vd., Suite740                                            · Los Angeles                                :CA            90045
                    Mo,i/itJgAdifr(iss •                                                     City                                    State · 'Z.lp
            13      Relatlon$hf .;to cl~fmant: La          er


                                                                                                     OYes           @No

                                                                                             Date of issue:
                  . •war.tantnumber;

                   vv~~ lneJt)cii:feof. more 1han six months ago?                                                                  OYes               0No
               lfYESdiid'.'.9ltattach a'sa arate.sb~etwlth an e lan.ation forthe late fllin ?                                      OYes               ONo
            16 State asJett·cfes or employees against whom this claim is filed:
                   Californfa Hlghway Patrol and various CaUtornia HlghwayPatrol officers; Claimant does not presently know the
                   fdantiil~s oftheJndlVidual officers who oaased Mr..Stephens6n's death. · .                        ·

            17     Dollar amount ofclaim!fn,excess of $1,000,000.
                   lftl)e amouhfis:more than $10,000, indicate the type of        OLimited civil case ($25,000 or less)
                   civil case:. _       .               . .                       ©Non~limited civil case (over $25,000)
                   Explain how you. calculated the amount:
                   Loss of Income and support: burlal fees and ·expenses; loss offarnll!al relationship; emotional dfstress; and attorney
                   tees and leg$! r;:osts.




                                                                                                                              DGS ORIM 06 Page 4 of 5

                                                                                                                                             CHP-0024 of0027




                                                                                Ex. 12
                                                                                 160
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 161 of 201 Page ID #:161



... '

        -18     Location of the incident:
                91 Freeway riear_Adams Street off-ramp in Riverside, California.


         _ Describe the specific damage or injury:
        ,19
                Unlawful detention and wrongful d~ath which resulted In loss of income and support; burial fees and expenses; Joss
                of famlllal relationship; emotional distress; and attorney fees and legal costs.




        -20    Explain the circumstances that led to the damage or injury:
                California Highway Patrol and various California Highway Patrol officers, unlawfully seized the Claimant's father,
                Leroy Stephenson. The officers then used excessive force against Leroy Stephenson which caused Leroy
                Stephenson's death.




        -21    ·Explain why you believe the state is responsible for the damage or injury:
                At all times complained of, the individuals who unlawfully seized and killed Leroy Stephenson were acting within the
                course and scope of their employment with the California Highway Patrol.


         22 Does the clairn involve a state vehicle?                                                             0 Yes                     G) No
               If YES, provide the vehicle license number, if known:
        Auto Insurance Information
        23
               Name· of Insurance Carrier
                                                                                 I                                   I           I
               Malling Addre.ss                                                      City                                State       Zip
               Policy Numper:                                                              I Tel:
               Are you the registered owner of the vehicle?                                            ()Yes                               ONo
               If NO, state name of owner:
               Has a claim been filed with your insurance carrier, or will it be filed?                OYes                                ONo
               Have vou received any oavment for this damage or iniurv?                                OYes                                ONo
               If yes, what amount did you receive?
               Amount of deductible, if any:
               Claimant's Drivers Licen~e Number:                            I Vehicle License Number:
               Make of Vehicle:                            I Model:                            !Year:
               Vehicle ID Number:
        Notice and Sianatµre
         24     I declare under penalty of perjury under the laws of the State of California that all the Information Ihave
                provided is true and correct to the best of my Information and belief. I further understand that If I have
                provided information that is false, intentiqnally incomplete, or misleading I may be charged with afelony
                punishable by Uj,') to four years in state prison and/or a fine of up to $10,000 {Penal Code section 72).
                          ~AA-~'-                                  -~ Steven A. Lerman                   I
                                                                                                  Date: June 25,201.9
                Signature t>VS/8Tinafit or Representative              Printed Name
          25     Mail this form ancl all attachments with the $25 filing fee or the "Filing Fee Waiver Requesr to: Government Claims Program,
                 P.O. Box 989052, MS 414; West Sacramento, CA95798.-9052. Forms can also be dellverEld to the Office of Risk and
                 Insurance Management, 707 3rd street, 1st Floor ORIM, WestSacramento, CA 96605.


                                                                                                                DGS ORIM 06 Page 5 of 5
                                                                                                                             CHP-0025 of 0027




                                                                      Ex. 12
                                                                       161
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 162 of 201 Page ID #:162




                                   S~A'. L ~ t i d ~ , ?fie,
                                        6033 WEST CENTURY BOULEVARD, SUITE 740
                                             LOS ANGELES, CALIFORNIA 90045
                                                    TEL (310) 659-8166
                                                   FAX (310) 285-0n9

  STEVEN A. LERMAN                                                                STEVEN A. LERMAN IS ADMITTED
  ATTORNEY AT LAW                                                              TO PRACTICE IN CALIFORNIA AND IS AN
                                                                      • INACTIVE MEMBER OF THE FLORIDA AND HAWAII BAR



       June 25, 2019 .

       Government Claims Program
       Office of Risk and Insurance Management
       Dept;. of General Services
       PO Box 989052, MS414
       West Sacramento, CA 95798-9052


       Re:     January 25, 2019 death of Leroy Richard Stephenson

       Dear Sir or Madam:

       On behalf of claimant/client (successors in interest to Leroy Richard Stephenson), please see
       attached Government Claim Form for claimant, Keandre Stephenson.

                                     THE JANUARY 25, 2019 INCIDENT

       On or about January 25, 2019, at approximately 12:00 p.m., various California Highway Patrol
       officers confronted Decedent Leroy Richard Stephenson on the Adams Street off-ramp in Riverside,
       California. One of the California Highway Patrol officers discharged his taser which struck
       Decedent Stephenson. Mr. Stephenson was handcuffed and taken to Parkview Community Hospital
       where he died just before 2:00 p.m.

       Please conform and "stamp receive with date" the extra copy of the Government Claim Form and
       return to our office in the self addressed, stamped envelope.           ·




         teven A. Lennan/Nicholas Lennan
        SAL/cgc

       Enclosures




                                                                                              CHP-0026 of 0027




                                                    Ex. 12
                                                     162
                                                                       Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 163 of 201 Page ID #:163




                                            Steven A. Lerman & Associates, Inc.
                                            6033 We~t Century Boulev~rd
                                            Suite#74-0
                                            Los Angeles~ CA 90045


                                                                                                                                              Goverme:nt :claims Program
Ex. 12
 163




                                                                                                                                             Post Oftic;e Box 9890S2, MS.414,
                                                                                                                                             West saerameno, CA 9S7'9B·9:osm




         - ~ .. , .•. ,~ ......,   ·   •. • ,   ........~•-· ... w . . . . . . ,~•·,·~ :r.2:.,   ... ,, ...,_~.,,.,..• .,   i.   ,   .., ,
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 164 of 201 Page ID #:164




             XA VJER BECERRA
             Attorney General of California
         2   RrCi-IARD F. WOLFE
             Supervising Deputy   Attorney Gem:ral
         3   DOUGLAS    E. BAXTER
             Deputy Attorney General
                                                                                   FlLED
                                                                            Sllperi.or Court :of California
         4   State Bar No. 201 J5 l                                              County of RiVers:1de
             TIM: J. V ANDEN f!EUVEL
         5   Deputy Attorney General                                                  2/20/2.0,20·
             State Bar No. 140731                                                     K.   GarcJa
         6     600 West Broadway, Suite 1800                                     Electro11foally Filed
               San Diego, CA 92101
         7    P.O. Box 85266
               San Diego, CA 92186-5266
         8     Telephone: (619) 738-9095
              Fax: (619) 645~2.58 l
         9    Ee.mail.: Tim.VandenHeuv_el@doj,Qa.gov
             Attorneys for Defendant State ojCalifornta, .               No Fee Putsuant to Gov:etfune11t Code
        10   by and th?ough the Cctl{fornia Highway Patrol               Section 6103

        11                       SUPERIORCOURT O'.FTHE STATE OF CALIFORNIA
        12                                     COUNTY OF RIVERSIDE

        13

        14
             DEVONTE STEPHENSON, individ1iaUy                   Ca$oNo. RJCl906l37
        15   a11d as successol' in interest to Decedent -
             LEROY STEPHENSON; LIN:OEN                          DECLARATION OF notrGLAS E.
        16   STEPHENSON, individually and as                    BAXTER IN SUPPORT OF DEFENDANT
             success_9r in interest to Decedent LEROY           STATE OF CALIFORNIA., BY AND
       17    STEPHENSON1KEANDRE                                 THROUGH. TlIE CALIFORNIA
             STEPHENSON, individually and as                    HIGHWAY PATROL'S MOTION TO
        18   succ:essor in interesHo Decedent LEROY             STRIKE PORTIONS OJ? PLAINTlFFS
             STEPHENSON,                                        DEVONTE.STEPHENSQN~ Lil'tDEN .
       19                                                       STEPHENSONANDKEANDRE
                                                  Plaintiffs,   STEPHENSON'S COMPLAINT
       20
                            v.                                  Date:         Match 18, 2020
       21                                                       Tirne:        8:JO a.in.
                                                                Dept:        l
       22    STATE OF CALIFORNIA; and .DOES 1                   Judge;       Tlre Honorable.Craig G. Riemer
             thtough lOO, inclusive,                            Trial D~te: TBD
       23                                                       Action Filed: December 18, 2019
                                                Defendants.
       24

       25

       26    III

       27    I II

       28    III

                    DECL. OF DOUGLAS E. BAXTER IN SUPPORT OPDEFENDANT STATE OF CALIFORNIA'S (CHP'S)
                                                   MOTION TO STRIKE PLAINTIFFS' COMPLAINT (RIC1906137)




                                                  Ex. 12
                                                   164
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 165 of 201 Page ID #:165




                    I, Douglas E. Baxter, hereby declare:

        2           1. I am an attorney duly licensed to practice law in the State of California. I am employed

        3    as a Deputy Attomey Genetal for the California Attomey Gerteral's Office. Together with

        4    Deputy Attorney General Tim J. Vanden Heuvel, I am assigrted to represent defendant St4te of

        5    California, by and thrnugh the Califotnia Highway Patrol, in this action.

        6           2. On February 6, 2020; I spoke to plaintiffs' cou,nsd Gregory Peacock nn the telepho11e

        7    abo11t the issues being raised in defendcl-rtt's demun'er for the pllrposes of satisfying the meet~artd-

        8    confer requirement of section 430A1, subd. (a), of the Code of Clvil PrQcedwe. I explained the

        9    legal contentions we inte11ded to 111ake in a demurrer to tlie coinplaint, based on apparent failure

       10    to comply with the Government Claims Act for those counts and aJlegatfons of the complaint that

       L1    atte1npt to state survival claims and damages. I explain.ed the primary basis for the demJ11i:e1·

       i:2   would be the analysis of Nelson v. County ofLos Ang~le_s (2003) 113 Cal.App.4th 783.

       13           3. At the time of the Febma1y 6, 2020,telephonio meet-and~confet, the deadline for

       14    defendrmt State of California, by and through the Caljfomia Highway Patrol, to fiie a responsive

       15    pleading or motio11 was February 12, 2020. PlaJ11fiffs' counsel a11dT agreedtotalk again on. the

       16    phone before defendant would proceed with a responsivepleacling onnotion,.

       17           4. On Febrnary 11, 2020,. I once agaht spoke on thetelephoJ1e with Gtegory Peacock ab.out

       18    the legaljsst1es raised in defendanfs de1nt1rrer. I also explained tluit specific damages claims

       19    may also be challenged tb:tough   a cornpani@ mo.lion to sttike based on the faihtre to co1nply with
       20    the Govemment Cla1ms Act, for for the pnrposes ofi,;atisfying the meet~antkonfor requirement

       21    of section 435.5, of the Code of Civil Procedure. In thattelephone conversation, Mr. Peacock a11d

       22    I agreed to a stipulation to extend defendant's deadline to file aresponsive pleading and motion to

       23    Febrnaty 20, 2020, pursuant to Rule 3.llO(d) of the CalifomiaRnles of Court. We put that

       24    agreement in writing through an email exchange on Febrnaiy 11; 2020. The purpose ofthe

       25    extension was to give plaintiffs' counsel additional time to considel' defendctnt's a1'gUh1ents and

       26    confer with the plaintiffs.

       27    / //
       28    ///
                                                                2
                    DECL. OF DOUGLAS E. BAXTER JN SUPPORTOF DEFENDANT STATE.OF CALIFORNIA'S {CHP'S)
                                                   MOTION TO STRIKE PLAINTIFFS' COMPLAINT (RIC1906137)




                                                     Ex. 12
                                                      165
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 166 of 201 Page ID #:166




         1         5. As of the prese1it date, the patties have not been able to reach a res.elution of the dlai.tns
         2   raised by defend'ant in its demurrer a11d compa.nion111otion to strike: Therefore~ defendant is
         3   filing the demi:m:er and tnotion to strike at this time,

         4         I, Douglas E. Baxter, affinn under penalty of perjury u.flder the laws of the State of

         5   California that the foregoing information is true and conect of111y own k.11owledge and that this

         6   declaration is being executed on this 20th day of Febtuary 2020 at Sai1 Diego, Californifl..
         7

         8

         9

        10
        11

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                                                                 3
                  DECL. OF DOUGLAS E. BAX'IER IN SUPPORT OF DEFENDANT STATE OF CALIFORNIA'S (CHP'S)
                                                  MOTTON TO ST.RIKE PLAJ.NTIFFS' COMPLAINT (RIC1906137)




                                                    Ex. 12
                                                     166
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 167 of 201 Page ID #:167




                                EXHIBIT 13



                                     Ex. 13
                                      167
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 168 of 201 Page ID #:168




                                                0        ORIGINAL
          STEVEN A. LERMAN & ASSOCIATES, INC.
          Ste:ven A. Lennan (SBN 055839)                                       s
                                                                                        D 11   f! {Q)          .1.s.,
      1
          Nicholas Lennan, Esq. (SBN 292656)
                                                                                           i~'RWEl~ANIA          :s::
                                                                                                                 :r>
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      2   Email: slennanlaw@yahoo.com; rtlennanesq(ii:injurv!a'p'advocates.com                                   .....
          6033 West Century Boulevard, Suite 740                                      MAR 16 2020                C1>
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          Los Angeles, California 90045
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          Telephone: (310) 659w8166                                                   J. Bishop                  ~
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      s
          Gregory Peacock, Esq. (SBN 277669)
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          4425 Jamboree Road, Suite 130                           Per 1005CCPJ3, 1300{d)CRC/437o(b)
      7
          Newport Beach, CA 92660                                                Untimely
      s   Telephone: (949) 292w7478
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     Lo   Attorneys for Plaintiffs DEVONTE STEPHENSON, individually and as successor in interest to Decedent
          LEROY STEPHENSON; LINDEN STEPHENSON, individually and as successor in interest to Decedent
     Ll   LEROY STEPHENSON; KEANDRE STEPHENSON, individually and as successor in interest to
          Decedent LEROY STEPHENSON.
     l2

     l3
                               SUPERIOR COURT FOR THE STATE OF CALIFORNIA
     l4
                                              COUNTY OF RIVERSIDE
     ts   DEVONTE STEPHENSON, individually and as        ) Case No. RIC1906137
     LG   successor in interest to Decedent LEROY        ) PLAINTIFFS' OPPOSITION TO
          ~T~1:HENS0N; LINDEN ST;E~HENSON,               ) DEFENDANTS' DEMURRER AND MOTION
     t1   md1v1dually and as successor m mterest to      ) TO STRIKE PORTIONS OF PLAINTIFFS,
     LB   Decedent LEROY STEPHENSON; KEANDRE             ) COMPLAINT
          STEPHENSON, individually and as successor in   )
     19   interest to Decedent LEROY STEPHENSON.         j D~te: March l 8, 2020
                     . 'ffi                              ) Time: 8:30 a.m.
     20          Pl amb s,                                 Dept: l
     21                                                  ~ Judge: The Honorable Craig 0. Riemer
                vs.                                        Trial Date: TBD
     22
          STATE OF CALIFORNIA; and DOES 1                j Action Filed: December 1B, 20l9
     23   through 100, inclusive,                        )
                                                         )
     24
               Defendants.
     25

     26

     27

     28
              PLAINTIFFS' OPPOSITION TO DEFENDANTS' DEMURRER AND MOTION TO STRIKE
                                 PORTIONS OF PLAINTIFFS' COMPLAINT
                                                             l




                                                    Ex. 13
                                                     168
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 169 of 201 Page ID #:169




                 I.         INTRODUCTION
          1
                       This action is brought by Decedent Leroy Stephenson's three sons. The Plaintiffs' Complaint
          2

          3   alleges that the defendants unlawfully caused the death of Decedent Leroy Stephenson. Plaintiffs have

          4   bought the following claims against defendants:
          5
                       1)   Wrongful Death;
          6
                       2)   False Arrest;
          7            3)   Negligence;
                       4)   .Battery; and
          8
                       5)   Violation of Civil Code§ 52.1.
          9
                       Plaintiffs are seeking wrongful death damages as welJ as survivorship damages on behalf of
      LO
              Decedent Leroy Stephenson. Defendants allege that Plaintiffs did not comply with the claim
      ll

      t       requirements as they relate to recovering survivorship damages. As shown below, Plaintiffs complied
          2

      t3      with the claim requirements and Defendants Demurrer and Motion to Strike should be denied.
      L4
                 II.        FACTS ALLEGED IN PLAINTIFFS' COMPLAINT FOR DAMAGES
      LS
                       On or about January 25, 2019, while walking near the Adams Ave~ue on-ramp to the 91
      l6

      l7      Freeway in Riverside, California, Defendants DOES 1 through 20, inclusive, while acting within the
      ta      course and scope of their duties as peace officers of the California Highway Patrol, approached
      19
              Decedent Leroy Stephenson. (Plaintiff's Complaint for Damages (hereinafter "COMPLAINT") ,r10.)
      20
              Decedent Leroy Stephenson was not acting unlawfully and there was no reason for belief that
      21

      22
              criminality was afoot. (COMPLAINT ,rt I.) Notwithstanding the fact that Decedent Leroy Stephenson

      23      was merely walking, DOES l through 20, inclusive, attempted to speak with Decedent Leroy
      24      Stephenson. (COMPLAINT 112.) When Decedent Leroy Stephenson did bot stop and continued to walk
      25
              away from the officers, Defendants DOES 1 through 20, inclusive, began tasering Decedent Leroy
      26
              Stephenson multiple times. (COMPLAINT ,T13.)
      27

      28
                  PLAINTIFFS' OPPOSITION TO DEFENDANTS' DEMURRER AND MOTION TO STRIKE
                                     PORTIONS OF PLAINTIFFS' COMPLAIN'.l'
                                                                  2




                                                             Ex. 13
                                                              169
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 170 of 201 Page ID #:170




                         Decedent Leroy Stephenson went down to the groundwhere DOES I through 20, inclusive,
          l

          2    continued to taser him. While on the ground, Defendant DOES I through 20, inclusive, began punching
          3    and striking Decedent Leroy Stephenson. (COMPLAINT 1/14.) At no point during the incident
          4
               complained of in this action, did Decedent Leroy Stephenson act violently towards the defendants or
          5
               anyone else. At no point did Decedent Leroy Stephenson do anything to justify the use of force against
      6

      7
              him. (COMPLAINT,rI5.)

      8                  Decedent Leroy Stephenson was taken to the hospital where he ultimately died as a result of the
      9       unlawful use of force used against him, by Defendants DOES 1 through 20, inclusive. (COMPLAINT
     tO
              116.)
     ll
                  ill.      LEGAL STANDARD
     l2
                         California Code of Civil Procedure section 430.01 (e) provides, in pertinent part, that a party may
     13

     l4       demurrer to a pleading ifthe pleading fails to state facts sufficient to constitute a cause of action.

     LS       California courts treat a demurrer as admitting all material facts properly pleaded. (See Zelig v. County
     L6
              ofLos Angeles (2002) 27 Cal.4th 1112.) In ruling upon a demurrer, the court "gives the complaint a
     L7
              reasonable interpretation, and treats the demurrer as admitting all matei:ial facts properly pleaded."
     18
              (Aubry v. Tri-City Hospital Dist., (1992) 2 Cal.4th 962,967; see also Quelimane Co. v. Stewart Title
     19

     20       Guaranty Co. (1998) 19 Cal.4th 26, 39.) "[I]t is error for a trial court to sustain a demurrer when plaintif

     21       has stated a cause of action under any possible legal theory. And it is an abuse of discretion to sustain a
     22
              demurrer without leave to amend if the plaintiff shows there is a reasonable possibility any defect
     23
              identified by the defendant can be cured by amendment." Aubry, at 39. The court is "not limited to
     24
              plaintiffs' theory of recovery ... but instead must detennine if the factual allegations of the complaint are
     25

     26       adequate to state a cause of action under any legal theory." (Barquis v. Merchants Collection

     27       Assn. (1972), 7 Ca1.3d 94, 103.)
     28

                  PLAINTIFFS' OPPOSITION TO DEFENDANTS' DEMURRER AND MOTION TO STRIKE
                                    PORTIONS OF PLAINTIFFS' COMPLAINT
                                                                     3




                                                               Ex. 13
                                                                170
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 171 of 201 Page ID #:171




                   Specifically, the test of a demurrer is whether the pleading as a whole apprises the adversary of
       1

       2   the factual basis of the claim. (See Zelig 27 Cal.4th at 1112.) Moreover, a demurrer can be used only to

      3    challenge defects that appear on the face of the pleading under attack; or from matters outside the
      4
           pleading that are judicially noticeable. (See Donabedian v. Mercury Ins. Co. (2004) 116 Cal. App.
      5
           4th 968, 994.) No other extrinsic evidence can be considered in a demurrer. (See Jon Equip. Corp. v.
      6

      7
           Nelson (1980) 110 Cal.App.3d 868, 881.) The only issue the Court may resolve on a demurrer to a

       8   complaint is whether the complaint, standing alone, states a cause of action; not whether plaintiffs will
       9   prevail on the cause of action, whether they have evidence to support their cause of action, or the
      LO
           difficulties involved in pleading the cause of action. (See Quelimane Co. v. Stewart Title Guaranty
      l1
           Co. (1998) 19 Cal.4th 26, 39; see also Four Star Elect. V.F. & H Constr. (1992) 7 Cal.App.4th 1375,
      l2

      l3
           1379; see also Jon Equip. Corp. v. Nelson (1980) 110 Cal.App.3d 868, 881.) A demurrer is not the

      l4   proper procedure for determining the truth ofdisputed facts. (See Fremont Jndem. Co. v. Fremont Gen.
      LS
           Corp. (2007) 148 Cal.App.4th 97, 114-15.) Moreover, the Court may not make factual findings on
      L6
           a demurrer, including "implicit" findings. (See Mink v. Maccabee (2004) 121 Cal.App.4th 835, 83 9.)
     17
                  A moti0n to strike under lies either (1) to strike any "irrelevant, false or improper matters in
      l8

     19    inserted in any pleading; or (2) to strike a pleading or part thereof not drawn or filed in conformity with

     20    the laws of this state, a court rule or order of court." (See Cal. Code Civ. Proc. § 436.)
     21
                  The grounds for a motion to strike must appear on the face of the pl~ading under attack or from
     22
           matter which the court may judicially notice. (See Cal. Code Civ. Proc. § 436.)
     23
                   Pleadings must be construed liberally... with a view to substantial justice." Cal. Code Civ. Proc.
     24

     25    § 452. In passing on the correctness of a ruling on a motion to strike, judges read allegations of a

     26    pleading subject to a motion to strike as a whole, all parties in their context, and assume their truth. In
     27

     28
               PLAINTIFFS' OPPOSITION TO DEFENDANTS' DEMURRER AND MOTION TO STRIKE
                                  PORTIONS OF PLAINTIFFS' COMPLAINT
                                                                  4




                                                         Ex. 13
                                                          171
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 172 of 201 Page ID #:172




          ruling on a motion to strike, courts do not read allegations in isolation." (Clason v. Superior Court, 1
      1

      2    Cal.App.4th 1253, 1255 (1998.)

      3       IV. ARGUMENT
      4
                       A, DEFENDANTS' DEMURRERSHOULD BE DENIED BECAUSE PLAINTIFFS
      5                   COMPLIED WITH THE-CALIFORNIA GOVERNMENT CLAIMS ACT AND
                          ARE ENTITLED TO ALLEGE SURVIVORSHIP CLAIMS.
      6

      7
                  Government Code § 945.4 states that no action may be commenced against a public entity unless

      8   a claim which satisfies Government Code§ 910 has been submitted and denied. Government Code§
      9   910 prescribes the minimum infonnation that a claim must contain. The statute requires that the claim
     LO
          set forth:
     l1
                  a) The name and post office address of the claimant.
     L2
                  b) The post office address to which the person presenting the claim desires notices to be sent.
     l3
                  c) The date, place and other circumstances of the occurrence or transaction which gave rise to
                     the claim asserted.
     L4           d) A general description of the indebtedness, obligation, injury, damage or loss incurred so far
                     as it may be known at the time of presentation of the claim.
     LS
                  e) The name or names of the public employee or employees causing the injury, damage, or loss,
     LG              ifknown.

     L7           Nothing more than the above five elements is required to appear in a claim. The Plaintiffs' claim
     LB
          satisfied the minimum requirements of Government Code § 910.
     19
                  Defendants rely upon broad and generalized language from Nelson v. County ofLos Angeles,
     20
          (2003) 133 Cal. App. 4111 783) while ignoring the nuan,ces of the case which support the denial of
     21

     22   Defendants' motions.
     23           In Nelson, the Court held:
     24
                   Since Dwayne's estate did not file a claim, and si11ce there is nothing in Mrs. Nelson's claim to
     25           suggest it was filed in anything other than lter individual capacity, and since the damages
                  described in the claim were for ''the loss of a son" (with no mention of any damage incurred by
     26           Dwayne before his death), the trial court properly resolved the survivorship claims against Mrs.
     2?
                  Nelson.
          Id. at 797. Emphasis added.
     28

              PLAINTIFFS' OPPOSITION TO DEFENDANTS' DEMURRER AND MOTION TO STRIKE
                                 PORTIONS OF PLAINTIFFS' COMPLAINT
                                                               5




                                                        Ex. 13
                                                         172
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 173 of 201 Page ID #:173




                     While Plaintiffs' claims do not use the tenn "survivorship'' there is plenty oflanguage which
       l

       2   shows and suggest that Plaintiffs are pursuing survivorship damages on behalf of their father. Each

       3   Plaintiffs' claim fonn shows that they are seeking "loss of income" and that they are asserting that the
       4
           California Highway Patrol Officers "unlawfully seized" the decedent and that the conduct of the
       5
           defendants included an "unlawful detention." (See Defendant's Request For Judicial Notice In Support
       6

       7
           of Demurrer Of State Of California, By And Through California Highway Patrol To Plaintiffs Devonte

       8   Stephenson, Linden Stephenson, and Keandre Stephenson's Complaint.) Titis language shows that the
       9
           Plaintiffs are pursuing survivorship claims and at a minimum suggest that they are pursuing survivorshi
      LO
           claims.
      ll
                        B. TIDS HONORABLE COURT SHOULD DENY DEFENDANTS' MOTION TO
      l2
                           STRIKE PORTIONS OF PLAINTIFFS' COMPLAINT BECAUSE PLAINTIFFS
      l3
                           COMPLIED WITH THE-CALIFORNIA GOVERNMENT CLAIMS ACT.
                     Defendants' Motion to Strike Portions of Plaintiffs' Complaint is supported by their argument
      14
           that Plaintiffs cannot bring survivorship claims because Plaintiffs did not properly allege survivorship
      LS
           claims in their Government Claim. As shown above, Plaintiffs complied with the Government Claims
      L6

      l7
           Act as it relates to their survivorship claims. Accordingly, Defendants' Motion to Strike Portions of
           Plaintiffs' Complaint should be denied.
      LS

     19
              v.        CONCLUSION
     20
                     Based upon the foregoing, Plaintiffs respectfully request that this Honorable Court deny
     21

     22    Defendants' Demurrer and Motion to Strike.

     23    DATED: March 5, 2020                                   STEVEN A. LERMAN & ASSOCIATES, INC.
     24

     Zs

     26

     27

     28

               PLAINTIFFS, OPPOSITION TO DEFENDANTS' DEMURRER AND MOTION TO STRIKE
                                  PORTIONS OF PLAINTIFFS' COMPLAINT
                                                                 6




                                                         Ex. 13
                                                          173
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 174 of 201 Page ID #:174




                                                  PROOF OF SERVICE
      2                        STATE OF CALIFORNJA, COUN1Y OF LOS ANGELES
      3
                                                   C.C.P. §1013(A)(3)
      4
                 I am employed in the County of Los Angeles, State of California. I am over the age of 18
      5
          and not a party to the within action; my business address is 6033 W. Century BL #740, Los
      6   Angeles, CA 90045.
      7           On March 5, 2020, I served the foregoing PLAINTIFFS' OPPOSITION TO
          DEFENDANTS' DEMURRER AND MOTION TO STRIKE PORTIONS OF
      8
          PLAINTIFFS' COMPLAlNT, on all interested parties in this action by placing (x) the original
      9   () a true copy thereof enclosed in sealed envelopes addressed as follow:

     JO
          Richard Wolfe, Supervising DAG
     11   Tim Van Heudel, DAG
     12
          State of California
          600 W. Broadway, Suite 1800
     13   San Diego, CA 92101
          PO Box 85266
     14   San Diego, CA 92186-5266
     15   Phone: (619) 738~9095
          Fax: (619) 645-2581
     16   Attys for Defendant State of California, by and through the CA Highway Patrol
     17
          ( ) ByRegularU.S. Mail
     18   (X) Via Federal Express

     19   (X)ByFax
     20   ( ) I deposited such envelope in the mail at Los Angeles, California. The envelope was mailed
     21   with postage thereon fully prepaid.
          { ) As follows: I am "readily familiar" with the finn's practice of collection and processing
     22   correspondence for mailing. Under that practice it would be deposited with U.S. postal service
          on that same day with postage thereon fully prepaid at Los Angeles, California, in the ordinary
     23   course of business. I am aware that on motion of the party served, service is presumed invalid if
     24   postal cancellation date or postage meter is more than one day after date of deposit for mailing in
          affidavit.
     25           Executed on March 5, 2020 in Los Angeles, California.
     26
                   I declare under penalty of perjury under the Jaws of the State of California that the above
     21   is true and correct                                                                   ·
     28
                                                                      ~..                              ·



                                                                  Cherry Cochrell




                                                          Ex. 13
                                                           174
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 175 of 201 Page ID #:175




                                EXHIBIT 14



                                     Ex. 14
                                      175
   Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 176 of 201 Page ID #:176




                                 1       XAVIER BECERRA
                                         Attorney General of California                                                        FILED
                                                                                                                          Superior Court of California
                                 2       RICHARDF. WOLFE                                                                     County of Riverside
                                         Supervising Deputy Attorney General                                                      3/11/2020
                                 3  .   TIM J. VAND EN HEUVEL
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                                7        Fax: (619) 645-25.81
                                         E-mail: Tim. VandenHeuvel@doj.ca.gov·
                                 8
.....................   ~-              Attorneys for Defendant State of California by and
                                        through the CalifornJa Highway Patrol
        f-i8                    9
        ~~\O
       ~p                      10
                              . 11
                                                               SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                                               COUNTY OF RIVERSIDE - HISTORIC COURTHOUSE
     ~g!~
     !o                  oo
                        Cl~
                               12

                               13
     ooo
     Z8U
                                    DEVONTE STEPHENSON, individually and                          Case No. RICI 906137
                               14 • as successor in interest to Decedent LEROY
                                    STEPHENSON; LINDEN STEPHENSON,                               DEFENDANT'S REPLY TO
                               15 · individually·and as successor in interest to                 PLAINTIFFS' OPPOSITION TO
                                    Decedent LEROY STEPHENSON;                                   DEFENDANT'S DEMURRER
                               16   KEANDRE STEPHENSON, individually and                         A.ND MOTION TO STRIKE
                                    as successor in interest to Decedent LEROY
                               17   STEPHENSON,                                                 Date:           March i 8, 2020
                                                                                                Time:           8:30 a.m.
                               18                                                   Plaintiffs, Dept.:          1
                                                                                                Judge:          The Honorable Craig G. Riemer
                               19                         v.                                    Trial Date:     TBD
                                                                                                Date Filed:     December 18, 2019
                              ·20
                                        STATE OF CALIFORNIA; and DOES 1
                               21       through 100, inclusive,
                               22                                                Defendants.
                               23
                               24                Defendant State of California by and through the California Highway Patrol submits this

                               25       reply to plaintiffs' opposition to its· demurrer and motion to strike.

                               26       Ill

                              27        I I I.

                              28        Ill

                                                    Defendant's Reply to Plaintiffs' Opposition to Defendant's Demurrer and Motion to Strike (RIC1906137)




                                                                                   Ex. 14
                                                                                    176
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 177 of 201 Page ID #:177




         1                                                 DISCUSSION

         2   I.     CLAIMS AGAINST GOVERNMENT ENTITIES MUST BE PLEADED WITH
                    PARTICULARJTY
         3

         4          Plaintiffs recite several well-known rules relating to demurrers and motions to strike. (Pis.'

         5   Opp'n at pp. 3-5.) However, they fail to mention special pleading requirements applicable to

         6   lawsuits against government entities. First, "every fact essential to the existence of statutory

         7   liability must be pleaded with particularity[.]" (Searcy v. Hemet Unifzed School Dist. (1986) 177

         8   Cal.App.3d 792, 802.) Second, claim compliance is an essential element of a cause of action

         9   against a public entity and "a plaintiff must allege facts demonstrating or excusing compliance

        10   with the claim presentation requirement." (State of California v. Superior Court (Bodde) (2004)

        11   32 Cal.4th 1234, 1243.)

        12          Timely claim presentation is not merely a procedural requirement, but is, as this court
                    long ago concluded, a condition precedent to plaintiffs maintaining an action against
        13          defendant. Complaints that do not allege facts demonstrating either that a claim was
                    timely presented or that compliance with the claims statute is excused are subject to a
        14          general demurrer for not stating facts sufficient to constitute a cause of action.
        15   (Shirk v. Vista Unifzed School Dist. (2007) 42 Cal.4th 201, 209.)

        16   II.    AP ARTY SUING FOR SURVIVAL DAMAGES MUST PLEAD AND PROVE THAT THEY
                    PRESENTED A PROPER GOVERl'llVIENT CLAIM FOR SURVIVAL DA1'1AGES
        17
        18          As made abundantly clear in Nelson v. County ofLos Angeles, wrongful death damages and

        19   survival damages are separate and distinct. The claimants are different and the recoverable

       20    damages are mutually exclusive. That is why a claim for wrongful death damages will not

       21    support a lawsuit for survival damages.

       22           The rule requiring clear identification of the correct claimant and damages is to provide

       23    sufficient information to enable the public entity to adequately investigate, and if appropriate,

       24    settle claims without the expense oflitigation. (Nguyen v. Los Angeles County Harbor/UCLA

       25    Medical Center (1992) 8 Cal.App.4th 729, 734.) "When the possible liability reflected in a tort

       26    claim filed by one party is 'different in kind and nature' from the possible liability to a second

       27    injured party, the second injured party may not rely on the tort claim filed by the first party."

       28    / //
                                                                   2
                       Defendant's Reply to Plaintiffs' Opposition to Defendant's Demurrer and Motion to Strike (RIC1906137)




                                                      Ex. 14
                                                       177
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 178 of 201 Page ID #:178




             (Pacific Tel. Tel. Co. v. County ofRiverside (1980) 106 Cal.App.3d 183, 191 [italics omitted],

         2   citing Roberts v. State of California, (1974) 39 Cal.App.3d 844, 848.)

         3   III.   THE CLAIMS PRESENTED BY PLAINTIFFS CANNOT REASONABLY BE INTERPRETED
                    AS INCLUDING SURVIVAL DAMAGES
         4
         5          The facts of this case are nearly identical to those in Nelson. For example, the following

         6   facts are undisputed:

         7               • None of the claim forms presented by plaintiffs identify the claimant as Leroy

         8                   Stephenson or his estate;

         9               • None of the claim forms identify plaintiffs as Leroy Stephenson's personal

        1o                   representative or successor in interest;

        11               • None of the claim forms cite to the survival statutes, Code of Civil Procedure sections

        12                   377.30 through 377.35;

        13               • None of the claim forms identify recoverable survival damages as set forth in Code of
        14                   Civil Procedure section 377.34 ("loss or damage that the decedent sustained or

        15                   incurred before death, including any penalties or punitive or exempiary damages

        16                   that the decedent would have been entitled to recover had the decedent lived[.]".)

        17          An objective reading of the claim forms can lead to only one conclusion: survival damages

        18   are not included in the claim forms presented by plaintiffs.

        19   IV.    PLAINTIFF'S BELATED ATTEMPT TO INSERT SURVIVAL CLAIMS IS WITHOUT MERIT

       20           Undeterred by the undisputed facts discussed above, plaintiffs spend exactly one paragraph

       21    of their opposition attempting to convince the court that creative interpretation can save the

       22    request for survival damages inserted in the complaint. Plaintiffs make two arguments, both of

       23    which are without merit. (See Pis.' Opp'n at p. 6, U. 1-10.)

       24           A.     Plaintiffs' Inclusion of "Loss of Income and Support" Does Not Convert
                           the Wrongful Death Claims into Survival Claims
       25
       26           Each of the plaintiffs' claim fonns seeks as an element of damages their "loss of income

       27    and support." In their opposition, plaintiffs truncate the actual phrase in the claim forms to only

       28    "loss of income" and claim this part of the phrase, standing in isolation, should have placed the
                                                                     3
                         Defendant's Reply to Plaintiffs' Opposition to Defendant's Demurrer and Motion to Strike (RIC1906137)




                                                        Ex. 14
                                                         178
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 179 of 201 Page ID #:179




             government on notice that plaintiffs were seeking survival damages on behalf of the Estate of

         2   Leroy Stephenson.

         3         Analyzed objectively, plaintiffs' argument is nonsensical. Code of Civil Procedure section

         4   377.61 generally defines damages recoverable for wrongful death. The specific categories of

         5   economic and non-economic damages are set forth in CACI No. 3921. Economic damages

         6   available to a wrongful death plaintiff include ''[t]he financial support, if any, that decedent would

         7   have contributed to the family d~iring either the life expectancy that decedent had before his death

         8   or the life expectancy of plaintiff, whichever is shorter." (CACI No. 3921)

         9         These are exactly the "loss of income and support" damages identiried by plaintiffs in their

        10   government claims. These "loss of income and support'' damages are not available in a survival

        11   action. Wrongful death damages and survival damages are by statute mutually exclusive. (Code

        12   Civ. Proc., § 377.61 ["In an action under this article, damages ... may not include damages

        13   recoverable under Section 377.34"].)

        14         B.     J>laintiffs' Assertion that Decedent Leroy Stephenson was "Unlawfully
                          Seized'' Does Not Convert the Wrongful Death Claims into Survival
        15                Claims
        16         Plaintiffs argue that including the phrases "unlawfully seized" and "unlawfully detained" in

        17   their claim forms "shows that the plaintiffs are pursuing survivorship claims and at a minimum

        18   suggest they are pursuing survivorship claims." (Pis.' Opp'n at p. 6 [11. 8-10].) The opposition

        19   does not explain how use of these words somehow converts each plaintiffs' wrongful death claim

        20   to a survival action on behalf of the estate. Nor does the opposition cite law for the assertion that

        21   a "suggestion" of a claim meets the clear identification of the actual claimant and damages

        22   standard. (See Nguyen v. Los Angeles County Harbor/UCLA Medical Center, supra, 8

        23   Cal.App.4th at p. 734.)

        24         Plaintiffs argument is also without merit to the extent they are suggesting that wrongdoing

        25   other than negligence indicates a survival claim. Code of Civil Procedure section 377.60

        26   authorizes a wrongful death claim where the death is causes by "the wrongful act or neglect'' of

        27   the defendant. "The elements of the cause of action for wrongful death are the tort (negligence or

        28   other wrongful act), the resulting death, and the damages, consisting of the pecuniary loss
                                                                    4
                        Defendant's Reply to Plaintiffs' Opposition to Defendant's Demurrer and Motion to Strike (R1Cl906137)




                                                       Ex. 14
                                                        179
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 180 of 201 Page ID #:180




             suffered by the heirs." (Lattimore v. Dickey (2015) 239 Cal.App.4th 959, 968 [italics added].) A

         2   "wrongful act" under the wrongful death statute includes civil rights violations. ''The wrongful

         3   death claim may be based on Plaintiffs' claims that Defendants were deliberately indifferent to

         4   [the decedent's] serious mental health needs and to her safety [under the Fourteenth

         5   Amendment]." (Estate of Vela v. City of Monterey (N.D. Cal., Aug. 27, 2018, No. 5: l 6-cv-2375-

         6   BLF [2018 U.S. Dist. LEXIS 145698 *42-43; 2018 WL 4076317].) Therefore, plaintiffs'

         7   inclusion of unlawful seizure or detention is no evidence that plaintiffs intended to include·

         8   survival damages in their government claims. It is simply a description of the predicate wrongful

         9   act for their wrongful death claims.

        IO
                                                          CONCLUSION
        11

        12          Plaintiffs' government claim forms simply do not state a claim for survivor damages on

        13   behalf of the Estate of Leroy Stephenson. Pursuant to abundant authority, this court should grant

        J4   defendant's demurrer and motion to strike. As any amendment would clearly be futile, defendant

        15   requests that dismissal be without leave to amend.

        16

       17    Dated: March 11, 2020                                      Respectfully Submitted,

        18                                                              XAVIER BECERRA
                                                                        Attorney General of California
       19                                                               RICHARD    F. WOLFE
                                                                        Supervising Deputy Attorney General
       20

       21

       22
                                                                        TIM J.   VAND EN HEUVEL
       23                                                              Deputy Attorney General
                                                                       Attorneys for Defendant
       24                                                              State of California, by and through the
                                                                       California Highway Patrol
       25
             SD2020700 l 19
       26    72197544.docx

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       28
                                                                        5
                       Defendant's Reply to Plaintiffs' Opposition to Defendant's Demurrer and Motion to Strike (R1CI906I37)




                                                       Ex. 14
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Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 181 of 201 Page ID #:181




                                         DECLARATION OF SERVICE BY U.S. MAIL

       Case Name:              Devonte Stephenson, et al. v. State of California, et al.
       Case No.:               RIC1906137

       I declare:

       I am employed in the Office of the Attorney General, which is the office of a member of the
       California State Bar, at which member's direction this service is made. I am 18 years of age or
       older and not a party to this matter. I am familiar with the business practice at the Office of the
       Attorney General for collection and processing of correspondence for, mailing with the United
       States Postal Service. In accordance with that practice, correspondence placed in the internal
       mail collection system at the Office of the Attorney General is deposited with the United States
       Postal Service with postage thereon fully prepaid that same day in the ordinary course of
       business.

       On March 11, 2020, I served the attached

                DEFENDANT'S REPLY TO PLAINTIFFS' OPPOSITION TO DEFENDANT'S
                             DEMURRER AND MOTION TO STRIKE

       by placing a true copy thereof enclosed in a sealed envelope in the internal mail collection
       system at the Office of the Attorney General at 600 West Broadway, Suite 1800, P.O. Box
       85266, San Diego, CA 92186-5266, addressed as follows:


        Steven A. Lerman, Esq.                                   Nicholas Lerman
        Steven A. Lern1an & Associates, Inc.                     Steven A. Lerman & Associates, Inc.
        6033 West Century Blvd., Ste. 740                        6033 West Century Blvd., Ste. 740
        Los Angeles, CA 90045                                    Los Angeles, CA 90045

        Attorney for Plaintiffs                                  Attorney for Plaintiffs
        Gregory Peacock, Esq.
        Law Office of Gregory Peacock
        4425 Jamboree Road, Ste. 130
        Newport Beach, CA 92660

        Attorney for Plaintiffs


       I declare under penalty of perjury under the laws of the State of California the foregoing is true
       and correct and that this declaration was executed on March 11, 2020, at San Diego, California.


                                 C. Bashaw

                                  Declarant                                          Signature

       so2020100119 /   72197588 .docx




                                                            Ex. 14
                                                             181
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 182 of 201 Page ID #:182




                                EXHIBIT 15



                                     Ex. 15
                                      182
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 183 of 201 Page ID #:183




  ' I   Department 1
        Riverside County Superior Court
    2   4050 Main Street
        Riverside, CA 92501
    3

    4                         SUPERIOR COURT OF THE STATE OF CALIFORNIA.••.

    5                                          COUNTY OF RIVERSIDE

    6

    7
        V.
                                                   Plaintiff         CASE No.    RJc Iqo&, 13 7
    8
                                                                     ORDER OF DISMISSAL
    9
                                                  Defendant
   10

   11

   12          The entire action is dismissed, including any consolidated complaints, cross-complaints, and
               complaints in intervention. All future hearings currently scheduled in this action are vacated
   13          except for any hearing on a motion to determine good faith settlement.

   14
               The complaint is dismissed    LJ in its entirety LJ only as to defendant(s) _ _ _ _ _ __
   15

   16
               LJ only as to the claims of plaintiff(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
   17          The cross-complaint[s] of _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
  18

  19           [is][are] dismissed   LJ in [its][their] entirety LJ only as to cross-defendant(s) _ _ _ __
  20

  21           LJ only as to the claims of cross-complainant(s) _ _ _ _ _ _ _ _ _ _ _ _ __
  22           The complaint in intervention filed by_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

  23           _ _ _ _ _ _ _ _ _ _ on _ _ _ _ _ _ _ _ _ _ _ is dismissed in its entirety.

  24     ,/
        _,,_

  25




                                                    Ex. 15
                                                     183
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 184 of 201 Page ID #:184




   ' 1           The dismissal[s] [is] [are] at the request or with the consent of LJ plaintiff(s) LJ plaintiff(s)
                 in intervention LJ cross-complainant(s) and [is] [are] LJ with LJ without prejudice.
    2

    3       /-/ The dismissal is with prejudice and is e~tered for th; follow~g reas~n( s):
                    ,,,/ Demurrer sustained without leave to amend (Code Civ. Proc., § 581, subd. (f)(1 ).)
    4
                          Failure to amend after demurrer sustained. (Code Civ. Proc., § 581, subd. (f)(2).)
    5
                          Other:---------------------------
    6

    7
                 The dismissal is without prejudice and is entered for the following reason( s ):
    8
                          Failure of LJ plaintiff(s) LJ plaintiff(s) in intervention LJ cross-complainant(s) to file
    9                     in a timely fashion a declaration in response to an order to show cause why the
                          matter should not be dismissed. (See RSC Local Rule 3116.)
   JO                     Failure of LJ plaintiff(s) LJ plaintiff(s) in intervention LJ cross-complainant(s) to
                          show good cause why the matter should not be dismissed.
   11
                         Failure to comply with Fast Track rules. In light of the plaintiff's persistent failure to
   12                     prosecute this action in the diligent manner required by the Code of Civil Procedure
                         and the California Rules of Court, the failure of the prior sanctions imposed by the
   13                     Court to improve the plaintiff's compliance with those requirements, and the plaintiff's
                         failure to appear today or otherwise oppose the dismissal of this action by filing a
   14                    declaration in response to the OSC, the Court finds that it is not reasonable to expect
                         that the imposition of sanctions less severe than dismissal would be effective in
   15                    gaining plaintiffs compliance. Accordingly, the matter is dismissed pursuant to
                          Government Code section 68608, subdivision (b).
   16                     Failure of LJ plaintiff(s) LJ cross-complainant(s) to seek relief from stay.
   17                     Failure of LJ plaintiff(s) LJ cross-complainant(s) to retain counsel.
                          Failure to serve summons within 2 years. (Code Civ. Proc.,§ 583.420, subd. (a)(1 ).)
   18
                         Failure to serve summons within 3 years. (Code Civ. Proc.,§ 583.250, subd. (a)(2).)
   19                    Failure to bring to trial within 2 years. (Code Civ. Proc., § 583.420, subd. (a)(2)(B).)

   20                    Failure to bring to trial within 3 years. (Code Civ. Proc., § 583.420, subd. (a)(2)(A).)
                          Failure to bring to trial within 5 years. (Code Civ. Proc.,§ 583.310.)
  21
                         Failure of LJ plaintiff(s) LJ cross-complainant(s) to appear at trial. (Code Civ. Proc.,
                         § 581, subds. (b )(5) & (/).)
  22
                         The Court previously imposed monetary sanctions without effect on _ _ _ _ __
  23
                         Other:---------------------------
  24

  25     Date:   }01-tt./..__   I   if-;,   ZO 2LJ




                                                       Ex. 15
                                                        184
                Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 185 of 201 Page ID #:185




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Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 186 of 201 Page ID #:186




                SUPERIOR COURT OF CALIFORNIA, COUNTY OF RIVERSIDE
                               4050 Main Street
                               Riverside, CA 92501
                             www.riverside.courts.ca.gov

                          CLERK'S CERTIFICATE OF MAILING

    DEVONTE STEPHENSON
          vs.                              CASE NO. RIC1906137
    STATE OF CALIFORNIA

    TO:    DEPUTY ATTORNEY GENERAL
           600 WEST BROADWAY., STE. 1800
           PO BOX 85266
           SAN DIEGO CA 92186-5266




    I certify that I am currently employed by the Superior Court of
    California, County of Riverside and I am not a party to this action
    or proceeding. In my capacity, I am familiar with the practices and
    procedures used in connection with the mailing of correspondence. Such
    correspondence is deposited in the outgoing mail of the Superior
    Court. Outgoing mail is delivered to and mailed by the United States
    Postal Service, postage prepaid, the same day in the ordinary course
    of business. I certify that I served a copy of the attached
    ORDER OF DISMISSAL - Judge Craig G. Riemer on this date, by depositing
    said copy as stated above.
                                           Court Executiv

    Dated: 03/18/20                    by:
                                                KIMBERL          T, Deputy Clerk




                                     Ex. 15
                                      186
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 187 of 201 Page ID #:187




                                EXHIBIT 16



                                     Ex. 16
                                      187
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 188 of 201 Page ID #:188




                         XAVIER BECERRA
                         Attorney General of California                                             FILED
                    2    RICHARD   F. WOLFE                                                   Superior Court of California
                                                                                                 County of Riverside
                         Supervising Deputy Attorney General
                    3   TIM J. VANDENHEUVEL                                                           6/1/2020
                        Deputy Attorney General                                                     K. Thomsen
                    4   State Bar No. 140731                                                      Electronically Filed

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                          600 West Broadway, Suite 1800
       f-to         5     San Diego, CA 92101


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                          P.O. Box 85266
                          San Diego, CA 92186-5266
                          Telephone: (619) 738-9095
                          Fax: (619) 645-2581
                          E-mail: Tim. VandenHeuvel@doj.ca.gov
 i:i.l ti.)         8   Attorneys/or Defendant State of California by and
~01:ll
~Oo                 9
                        through the California Highway Patrol

~~8                                           SUPERIOR COURT OF THE STATE OF CALIFORNIA
                   10
                                            COUNTY OF RIVERSIDE- HISTORIC COURTHOUSE
                   11

                   12

                   13   DEVONTE STEPHENSON, individually                    Case No. RICI 906137
                        and as successor in interest to Decedent
                   14   LEROY STEPHENSON; LINDEN                            DEFENDANT STATE OF CALIFORNIA
                        STEPHENSON, individually and as                     BY AND THROUGH THE CALIFORNIA
                   15   successor in interest to Decedent LEROY             HIGHWAY PATROL'S ANSWER TO
                        STEPHENSON;KEANDRE                                  PLAINTIFFS' COMPLAINT
                   16   STEPHENSON, individually and as
                        successor in interest to Decedent LEROY             Dept:        1
                   17   STEPHENSON,                                         Judge:       The Honorable Craig G. Riemer
                                                                            Trial Date: TBD
                   18                                         Plaintiffs,   Action Filed: December 18, 2019
                   19                  v.
                   20
                        STATE OF CALIFORNIA; and DOES 1
                   21   through 100, inclusive,
                   22                                       Defendants.

                   23

                   24          TO THE HONORABLE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF

                   25   RECORD:

                   26          Defendant STATE OF CALIFORNIA by and through the CALIFORNIA HIGHWAY

                   27   PATROL, for itself alone and for no other person, firm, corporation or entity,- answers the

                   28   I II


                                                                                 Defendant's Answer to Complaint (RIC I906137)




                                                              Ex. 16
                                                               188
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 189 of 201 Page ID #:189




         1   Complaint of Plaintiffs DEVONTE STEPHENSON, LINDEN STEPHENSON, and KEANDRE

         2   STEPHENSON as follows:

         3         Pursuant to California Code of Civil Procedure § 431.30, Defendant denies both generally

         4   and specifically each and every allegation contained in the Complaint insofar as they pertain to

         5   this answering Defendant and the whole thereof and further denies that Plaintiffs have been

         6   damaged in the sum or sums alleged or in any other sum or sums at all. Defendant also asserts

         7   that the Second, Fourth, and Fifth causes of action within Plaintiffs' Complaint were dismissed

         8   with prejudice by order of this court on March 18, 2020.

       · 9                                     AFFIRMATIVE DEFENSES

        10         As and for separate and affirmative defenses, Defendant alleges as follows:

        11                                  AFFIRMATIVE DEFENSE NO. 1

        12         The Complaint and each cause of action are baned by the statute of limitations of

        13   California Code of Civil Procedure§ 342 and California Government Code§§ 945.4 and 945.6.

        14                                  AFFIRMATIVE DEFENSE NO. 2

        15         Any and all alleged happenings and events, damages and injuries, if any there were, were

        16   proximately caused and contributed to by the negligence or other wrongful conduct of Decedent

        17   Leroy Stephenson (hereinafter "Decedent") and others, each and all of whom failed to exercise

        18   ordinary care at the times and places alleged in the Complaint.

        19                                  AFFIRMATIVE DEFENSE NO. 3

        20         Should Plaintiffs recover damages, the amount thereof should be abated, apportioned and

        21   reduced to the extent that any other person's or entity's negligence or other wrongful conduct

        22   caused or contributed to damages, if any there were.

        23                                  AFFIRMATIVE DEFENSE NO. 4

        24         Decedent willingly, voluntarily and knowingly assumed each, every and all the risks and

        25   hazards involved in the activities alleged in the Complaint.

        26   III

        27   Ill

        28   Ill
                                                              2
                                                                        Defendant's Answer to Complaint (RICI906137)




                                                   Ex. 16
                                                    189
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 190 of 201 Page ID #:190




                                                 AFFIRMATIVE DEFENSE NO. 5

           2           Neither the public entity nor any employee within the scope of employment stood in such a

           3   special relationship to any person alleged in the Complaint so as to give rise to any duty running

           4   to any person.

           5                                     AFFIRMATIVE DEFENSE NO. 6

           6           Defendant is immune from suit pursuant to California Government Code § 815 to the extent

           7   that the Complaint and each cause of action therein attempt to state a cause of action not provided

           8   by statute against a public entity.

           9                                     AFFIRMATIVE DEFENSE NO. 7

          10           To the extent that the Complaint herein attempts to predicate liability upon any public entity

          11   defendant or any agent or employee thereof for purported negligence in retention, hiring,

          12   employment, training, or supervision of any public employee, liability is barred by California

          13   Government Code§§ 815.2 and 820.2 and Herndon v. County ofMarin (1972) 25 Cal. App. 3d

          14   933, 935-936, reversed on other grounds by Sullivan v. County ofLos Angeles (1974) 12 Cal.3d

          15   71 O; by the lack of any duty running to Decedent and Plaintiffs; by the fact that any such

          16   purported act or omission is governed exclusively by statute and is outside the purview of any

          17   public employees' authority; and by and the failure of any such act or omission to be the

          18   proximate cause of any injury alleged in the Complaint.

          19                                     AFFIRMATIVE DEFENSE NO. 8
      1
          20           At all relevant times, Plaintiffs failed to mitigate their injuries and damages, if any there

          21   were.
          22                                     AFFIRMATIVE DEFENSE NO. 9

          23           At all relevant times, Defendant acted independently and not in association or concert with

          24   or as agent or servant of any other defendant, including any sued herein under fictitious names, or

          25   of the employees or agents of other Defendants.

          26                                    AFFIRMATIVE DEFENSE NO. 10

          27           The action is barred by the failure to precede the action with a claim as required by

          28   California Government Code§§ 945.4, 911.2, 905.2, and 950.2.
                                                                   3
                                                                            Defendant's Answer to Complaint (RIC1906137)




                                                        Ex. 16
                                                         190
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 191 of 201 Page ID #:191




         1                                    AFFIRMATIVE DEFENSE NO. 11

         2           If and to the extent that the allegations of the Complaint attempt to enlarge upon the facts
         3     and contentions set forth in the Victim.Compensation and Government Claims Board claim, if

         4     any there was, the Complaint fails to state a cause of action and is barred by California

         5     Government Code §§ 905.2, 911.2 and 950.2.

         6                                    AFFIRMATIVE DEFENSE NO. 12

         7           Defendant is not liable for injuries, if any there were, caused by independent contractors,

         8     holders of licenses, permits, or other authorizations, or third parties. (Cal. Gov. Code §§ 815.2,

         9     815.4, and 820.8.)

        10                                    AFFIRMATIVE DEFENSE NO. 13

        11           To the extent any person suffered any detriment, such was unavoidable.

        12                                    AFFIRMATIVE DEFENSE NO. 14

        13           There is no liability for any injury or damages, if any there were, resulting from an exercise

        14 ·   of discretion vested in a public employee, whether or not such discretion be abused. (Cal. Gov.

        15     Code§§ 815.2, 820.2.)

        16                                    AFFIRMATIVE DEFENSE NO. 15

        17           There is no liability in that the acts alleged in the Complaint, if done at all, were done in the

        18     execution and enforcement of the law while exercising due care. (Cal. Gov. Code§§ 815.2,

        19     820.4.)

        20                                       AFFIRMATIVE DEFENSE NO. 16

        21           The alleged detention of Decedent was not wrongful because there existed a reasonable

        22     suspicion creating a right to detain Decedent for questioning or other limited investigation.

        23                                       AFFIRMATIVE DEFENSE N0.17

        24           There is no liability in that the acts alleged in the Complaint, if done at all, were done while

        25     acting in the defense of others, based upon reasonable belief that Decedent would harm third

        26     parties, and the amount of force used was reasonably necessary to protect said third parties.

        27     /II
        28     III
                                                                 4
                                                                          Defendant's Answer to Complaint (RIC1906137)




                                                      Ex. 16
                                                       191
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 192 of 201 Page ID #:192




                  WHEREFORE, Defendants pray that:

        2          1. J udgrnent be rendered in favor of Defendant and against Plaintiffs;

        3         2. Plaintiffs take nothing by the Complaint;

        4         3. Defendant be awarded costs of suit incurred herein; and

        5         4. Defendant be awarded such other and further relief as the Court may deem necessary

        6   and proper.

        7
            Dated: March 27, 2020                                 Respectfully Submitted,
        8
                                                                  XAVIER BECERRA
        9                                                         Attorney General of California
                                                                  RICHARD F. WOLFE
       10                                                         Supervising Deputy Attorney General
       11

       12
       13                                                         TIM J.   VAND EN HEUVEL
                                                                  Deputy Attorney General
       14                                                         Attorneys for Defendant State of California
                                                                  by and through the California Highway
       15                                                         Patrol
       16   SD2020700119
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       17

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                                                                     Defendant's Answer to Complaint (RIC 190613 7)




                                                   Ex. 16
                                                    192
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 193 of 201 Page ID #:193




                               DECLARATION OF SERVICE BY U.S. MAIL

       Case Name:      Devonte Stephenson, et al. v. State of California, et al.
       Case No.:       RIC1906137

       I declare:

       I am employed in the Office of the Attorney General, which is the office of a member of the
       California State Bar, at which member's direction this service is made. I am 18 years of age or
       older and not a party to this matter. I am familiar with the business practice at the Office of the
       Attorney General for collection and processing of conespondence for mailing with the United
       States Postal Service. In accordance with that practice, con-espondence placed in the internal
       mail collection system at the Office of the Attorney General is deposited with the United States
       Postal Service with postage thereon fully prepaid that same day in the ordinary course of
       business.

       On March 27, 2020, I served the attached

           DEFENDANT STATE OF CALIFORNIA BY AND THROUGH THE CALIFORNIA
                HIGHWAY PATROL'S ANSWER TO PLAINTIFFS' COMPLAINT

       by placing a true copy thereof enclosed in a sealed envelope in the internal mail collection
       system at the Office of the Attorney General at 600 West Broadway, Suite 1800, P.O. Box
       85266, San Diego, CA 92186-5266, addressed as follows:

        Steven A. Lerman, Esq.                            Gregory Peacock, Esq.
        Nicholas Lerman, Esq.                             Law Office of Gregory Peacock
        Steven A. Lerman & Associates, Inc.               4425 Jamboree Road, Ste. 130
        6033 West Century Blvd., Ste. 740                 Newport Beach, CA 92660
        Los Angeles, CA 90045
                                                          Attorney for Plaintifft
        Attorneys for Plaintifft

       I declare under penalty of perjury under the laws of the State of California the foregoing is true
       and con-ect and that this declaration was executed on March 27, 2020, at San Diego, California.



                        C. Bashaw
                        Declarant                                             Signature

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       72213451.docx




                                                     Ex. 16
                                                      193
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 194 of 201 Page ID #:194




                                EXHIBIT 17



                                     Ex. 17
                                      194
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 195 of 201 Page ID #:195



                        't --·   I
                                                                                                    1/11/2021


     1
         STEVEN A. LERMAN & ASSOCIATES, INC.
         Steven A. Lennan (SBN 055839)
                                                                                            IFillb@:©
                                                                                      SUPERIOR COURT OF CALIFORNIA
                                                                                          COUNTY OF RIVERSIDE
         Nicholas Lennan, Esq. (SBN 292656)
     2   Email: slennanlaw@.yahoo.com; nlennanesq@injurylawadvocates.com                     FEB O2 202\
         6033 West Century Boulevard, Suite 740
     3
         Los Angeles, California 90045                                                         C Cosio               LMt
         Telephone: (310) 659-8166
     4
         Fax: (310) 285-0779
     5
         Gregory Peacock, Esq. (SBN 277669)
     6   LAW OFFICE OF GREGORY PEACOCK
         4425 Jamboree Road, Suite 130
     7
         Newport Beach, CA 92660
     a   Telephone: (949) 292-7478
         Email: gregorypeacockesg@gmail.com
     9
    LO   Attorneys for Plaintiffs DEVONTE STEPHENSON, individually and as successor in interest to Decedent
         LEROY STEPHENSON; LINDEN STEPHENSON,_individually and as successor in interest to Decedent
    u    LEROY STEPHENSON; KEANDRE STEPHENSON, individually and as successor in interest to
         Decedent LEROY STEPHENSON.
    L2

    l3
                                     SUPERIOR COURT FOR THE STATE OF CALIFORNIA
    L4
                                                COUNTY OF RIVERSIDE
    LS   DEVONTE STEPHENSON, individually and as)          Case No. RIC1906137
    t6   successor in interest to Decedent LEROY     )     STIPULATION AND [PltOPOSEBi ORDER
         ~~HENSON; LINDEN S1:f~HENSON,               )     FOR LEAVE TO FILE FIRST AMENDED
    L1   mdmdually and as successor m mterest to     )     COMPLAINT
         Decedent LEROY STEPHENSON; KEANDRE )
    ta   STEPHENSON, individually and as successor in)     c      l · t filed· 12/18/2019
         interest to Decedent LEROY STEPHENSON. )              omp am        ·
    19
                                                       )
    20         Plaintiffs,                             )
                                                       )
    21                                                 )
               vs.
    22
                                                       )
         STATE OF CALIFORNIA; and DOES 1               )
    23   through 100, inclusive;                       )
                                                       )
    24
              Defendants.
    25

    26

    27

    28
                             STIPULATION AND [PROPOSED] ORDER FOR LEAVE TO FILE
                                          FIRST AMENDED COMPLAINT             -
                                                               1



                                                    Ex. 17
                                                     195
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 196 of 201 Page ID #:196




                     '•


      1

     2           Plaintiffs DEVONTE STEPHENSON, LINDEN STEPHENSON, and KEANDRE

      3   STEPHENSON (collectively ''Plaintiffs") and Defendants STATE OF CALIFORNIA and DOES 1
     4
          through 100 (collectively "Defendants"), by and through their respective counsel of record, hereby enter
      5
          stipulate and agree to the following:
      6
                 WHEREAS, the parties have agreed to amend the complaint to add causes of action for
      7

      8   Unreasonable Search and Seizure- Excessive Force (42 U.S.C. § 1983), Due Process - Interference with
      9   Familial Relationship (42 U.S.C. § 1983), Due Process-Deprivation of Life Without Duo Process (42
     LO
          U.S.C. § 1983), and-Municipal Liability- Inadeqµate Training (42 U.S;C. § 1983), (collectively,
     t1
          "Amended Claims"), (attached hereto as Exhibit 1 is the "First Amended Complaint'');
     l2

     L3
                 WHEREAS, the parties have agreed to amend the complaint to add names of Defendants DANE

     l4   NOREM, JEFFFREY MCKEE and MATT BORDEN;
     LS          WHEREAS, the parties have agreed to amend the complaint to include the "Amended Claims"
     l6
          and Defendant party names;
     l7
                 WHEREAS, California allows for the amendment of pleadings "in the furtherance ofjustice" up
     18

    19    to the time of trial. C.C.P. §§ 473(a)(I) and 576;

    20           WHEREAS, amendments that state a new cause of action are generally pennitted if based on the
    21
          same general set of facts. Godfreyv. Steinpress (1982) 128 Cal.App.3d 154, 174;
    22
                 WHEREAS, the liberal policy of allowing amendments prevails when the delay in seeking
    23
          amendment has not misled or prejudiced the other party. Mesler v. Bragg Management Co. (1985) 39
    24

    25    Cal.3d 290,297,306; Higgins v. Del Faro (1981) 123 Cal.App.3d 558,564;

    26

    27

    28
                            STIPULATION AND [PROPOSED] ORDER FOR LEAVE TO FILE
                                        FIRST AMENDED COMPLAINT
                                                               2




                                                      Ex. 17
                                                       196
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 197 of 201 Page ID #:197



                        '   ..



                    WHEREAS, the Amended Claims were 1he subject of extensive discovery, Defendants have not

        2    been prejudiced by the addition of such claims;
        3           IT IS HEREBY STIPULATED AND AGREED by and b~een the parties hereto, through their
        IJ
             attomeys of record, that for atl the foregoing reasons, ~ood cause exists to amend the complaint to
        5
             include causes of action for Unreasonable Search and Seizure - Excessive Force (42 U.S.C. § 1983),
        6
             Due Process - Interference with Familial Relationship (42 U.S.C. § 1983), Due Process-Deprivation o
        7

        a    Life Without Due Process (42 U.S.C. § 1983), and Municipal Liability-Inadequate Training (42 U.S.C.
        9    § 1983) and to add names of Defendants DANE NOREM, JEFFFREY MCKEE and MATT BORDEN.
       LO

       ll

       12
             DATED: Jan. 7, 2021
       l3

       l4                                          S     A. LERMAN, ESQJNICHOLAS LERMAN, ESQ.
       LS                                          GREGORY PEACOCK, ESQ.
                                                   AITORNEYS FOR PLAINTJFFS
       L6
                                 ll,p,i~(,
       t?    DATED: Jan. U, 2021                   ATTORNEY GENERAL OFFICE FOR STATE OF CA

       l8

       19
                                                                N HEUVEL, ESQ./DOUGLAS BAXTER, ESQ.
       20
                                                               YS FOR DEFENDANTS STATE OF CALJFORNIA
       21

       22

       23

       24

       25

       26

       27

       28
                                  STIPULATION AND [PROPOSED] ORDER FOR LEAVE TO FILE
                                              FIRST AMENDED COMPLAINT          .
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                                                        Ex. 17
                                                         197
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 198 of 201 Page ID #:198



                          I
                              t   •




         l
                                                         [~ORDER

         2    .      Based on the written stipulation of the parties and good cause appearing in support thereof,
             within five court days Plaintiffs may file aa--ameaded eefflf)lftiat i:e. the form efthe First Amended
         3   Complaint attached te their stipulation (&thibiHr,
         4        Jb~~~~ ~~A                                                                          ;}4/-2-/     ~
        5    /J#IU'4-t;;;t"            ~ ~'4:P~~u!,5-~~ ~                                             ,(p~M
        6    #~A/~dfat ~                              ~c:>2-~     ~ z;.-,?8~
        7           IT IS so O R D E R E D . . ·                               A. -
        B           Date<}:-.~                    21 ;2-~ 2   (           ~':JI"'+..,,,_     -,,,,_;:-..,,._,,7(,/~-~
                                                                                     .........


        9
                         V                   (}                                           LE CRAIG RIEMER
                                                                                       OF THE SUPERIOR COURT
    to

    L1

    L2


    L3


    l4

    15

    L6

    l7

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                                      STIPULATION AND [PROPOSED] ORDER FOR LEAVE TO FILE
                                                  FIRST AMENDED COMPLAINT
                                                                   4



                                                              Ex. 17
                                                               198
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 199 of 201 Page ID #:199



                        ...
                         ,




                                                 PROOF OF SERVICE
     2
                              STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
     3
                                                  C.C.P. §l013(A)(3)
     4
                I am employed in the County of Los Angeles, State of California. I am over the age of 18
     5
         and not a party to the within action; my·business address is 6033 W. Century Bl. #740, Los
     6   Angeles, CA 90045.

     7           On Jan. 11, 2021, I served the foregoing STIPULATION AND PROPOSED ORDER
         FOR LEAVE TO FILE FIRST AMENDED COMPLAINT on all interested parties in this
     8
         action by placing (x) the original () a true copy thereof enclosed in sealed envelopes addressed as
     9   follow:
    lO
         Richard Wolfe, Supervising DAG
    11   Tim Van Heudel, DAG
    12   State of California
         600 W. Broadway, Suite 1800
    13   San Diego, CA 92101
         PO Box 85266
    14   San Diego, CA 92186-5266
    15   Phone: (619) 738-9095
         Fax: (619) 645-2581
    16   Attys for Defendant State of California, by and through the CA Highway Patrol
    17
         (X) By Regular U.S. Mail
    18
         (X) By email: douglas.baxter@doj.ca.gov; tim.vandenheuvel@doj.ca.gov
         (X) By Fax: above fax number                            ·
    19
         (  ) I deposited such envelope in the mail at Los Angeles, California.· The envelope was mailed
    20
         with postage thereon fully prepaid.
    21
         (X} As follows: I am "readily familiar" with the :finn's practice of collection and processing
    22   correspondence for mailing. Under that practice it would be deposited with U.S. postal service
         on that same day with postage thereon fully prepaid at Los Angeles, California in the ordinary
    23
         course of business. I am aware that on motion of the party served, service is presumed invalid if
    24   postal cancellation date or postage meter is more than one day after date of deposit for mailing in
         affidavit.
    25
                 Executed on Jan. 11, 2021 in Los Angeles, California.
    26


    ::   m-andc=rt.                                                tJA!U·
                 I declare under penalty of perjury under the laws of the State of California that .the above



                                                                Cherry Cochrell




                                                       Ex. 17
                                                        199
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 200 of 201 Page ID #:200




           DECLARATION OF SERVICE BY OVERNIGHT COURIER

  Case Name: Devonte Stephenson, et al. v. State of California, et al.

  Case No.:     _______________

  I declare:

  I am employed in the Office of the Attorney General, which is the office of a
  member of the California State Bar, at which member’s direction this service is
  made. I am 18 years of age or older and not a party to this matter; my business
  address is: 600 West Broadway, Suite 1800, P.O. Box 85266, San Diego, CA
  92186-5266.

  On March 24, 2021, I served the attached
                                  CIVIL COVER SHEET
           CERTIFICATE AND NOTICE OF INTERESTED PARTIES
       NOTICE OF REMOVAL BY DEFENDANTS DANE NOREM AND
       JEFFREY MCKEE PURSUANT TO 28 U.S.C. § 1441(a) (FEDERAL
             QUESTION) AND DEMAND FOR JURY TRIAL
  by placing a true copy thereof enclosed in a sealed envelope with the FedEx Express, addressed
  as follows:

   Steven A. Lerman, Esq.                         Nicholas Lerman, Esq.
   Steven A. Lerman & Associates, Inc.            Steven A. Lerman & Associates, Inc.
   6033 West Century Boulevard, Suite             6033 West Century Boulevard, Suite
   740                                            740
   Los Angeles, CA 90045                          Los Angeles, CA 90045
   Attorney for Plaintiffs                        Attorney for Plaintiffs

   Gregory Paul Peacock, Esq.
   Law Office of Gregory Peacock
   4425 Jamboree Road, Suite 130
   Newport Beach, CA 92660
   Attorney for Plaintiffs
Case 5:21-cv-00526-JAK-KK Document 1 Filed 03/24/21 Page 201 of 201 Page ID #:201




  I declare under penalty of perjury under the laws of the State of California and the
  United States of America the foregoing is true and correct and that this declaration
  was executed on March 24, 2021, at San Diego, California.




                         A. J. Lopez

                          Declarant                         Signature
  SD2020700119
  82793346.docx82793346.DOCX
